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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN

                                                            1:19-cv-11376
                                                      No. ____________________
 CHANDRY ABNEY, et. al.

                                                      JURY TRIAL DEMANDED




                                    Plaintiffs,

 v.

 GENERAL MOTORS LLC, a Delaware
 Limited Liability Company, ROBERT
 BOSCH GMBH, a corporation organized
 under the laws of Germany, and ROBERT
 BOSCH LLC, a Delaware Limited Liability
 Company,



                                  Defendants.



                ORIGINAL COMPLAINT AND JURY TRIAL DEMAND
       Plaintiffs listed and set forth herein below file this Original Complaint and Jury Trial

Demand complaining of Defendants General Motors LLC, Robert Bosch GmbH, and Robert

Bosch LLC, and for cause of action would show:

                                     INTRODUCTION

       1.     This is what General Motors (“GM”) promised when selling its popular Silverado

and Sierra HD Vehicles—that its Duramax engines turned “heavy diesel fuel into a fine mist,”

delivering “low emissions” that were a “whopping reduction” compared to the prior model and at



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the same time produced a vehicle with “great power.” GM claimed its engineers had accomplished

a “remarkable reduction of diesel emissions.”

       2.      As explained in detail below, this is not what GM delivered in the estimated

705,000 or more 2011-2016 Silverado and Sierra 2500 and 3500 diesels on the road. In contrast to

GM’s promises, scientifically valid emissions testing conducted by engineering experts who were

retained by Class Counsel in In re Duramax Diesel Litigation, Case No. 2:17-cv-11661 (E.D.

Mich.) (the “Duramax Class Action”) has revealed that the Silverado and Sierra 2500 and 3500

models emit levels of NOx many times higher than (i) their gasoline counterparts, (ii) what a

reasonable consumer would expect, (iii) what GM had advertised, (iv) the Environmental

Protection Agency’s maximum standards, and (v) the levels set for the vehicles to obtain a

certificate of compliance that allows them to be sold in the United States. Further, the vehicles’

promised power, fuel economy, and efficiency is obtained only by turning off or turning down

emissions controls when the software in these vehicles senses they are not in an emissions testing

environment.

       3.      In the last two years, there have been major scandals involving diesel vehicles made

by Volkswagen, Audi, Porsche, Mercedes, and FCA. Volkswagen pled guilty to criminal

violations of the Clean Air Act, Mercedes is under investigation by the Department of Justice, and

FCA has been sued by the EPA for violating the Clean Air Act for improper emissions in thousands

of 2014-2016 Dodge Ram 1500 EcoDiesels and 2014-2016 Jeep Grand Cherokee EcoDiesels. The

diesel vehicles made by these manufacturers evade emissions standards with the help of certain

software that turns off or down emissions controls when the vehicles sense they are not in a test

environment.




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       4.      Testing conducted by experts retained by Class Counsel in the Duramax Class

Action indicates that GM is no different. Its top selling Silverado and Sierra 2500HD and 3500HD

vehicles emit far more pollution on the road than in the emission certification testing environment.

These vehicles exceed federal and state emission standards and employ at least three different

“defeat devices” to turn down the emissions controls when the vehicle senses that it is not in the

certification test cycle. A defeat device means an auxiliary emissions control device that reduces

the effectiveness of the emission control system under conditions which may reasonably be

expected to be encountered in normal vehicle operation and use.

       5.      GM Defeat Device No. 1 reduces or derates the emissions system when

temperatures are above the emissions certification test range (86°F). GM Defeat Device No. 2

operates to reduce emissions control when temperatures are below the emissions certification low

temperature range (68°F). Testing reveals that at temperatures below 68°F (the lower limit of the

certification test temperature), stop and go emissions are 2.1 times the emissions standard at 428

mg/mile (the standard is 200 mg/mile). At temperatures above 86°F, stop and go emissions are an

average of 2.4 times the standard with some emissions as high as 5.8 times the standard. Based on

temperatures in the top 30 metropolitan areas, these vehicles are operating with the emissions

systems derated a material amount of their vehicle miles travelled. But the emission scheme is a

step more nefarious: enter GM Defeat Device No. 3, which reduces the level of emissions controls

after 200-500 seconds of steady speed operation in all temperature windows, causing emissions to

increase on average of a factor of 4.5. Based on a study of temperatures in 30 major metropolitan

areas as well as the demographics of Silverado and Sierra sales, experts retained by Class Counsel

in the Duramax Class Action estimate that due to just the temperature-triggered defeat devices, the




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vehicles operate at 65-70% of their miles driven with emissions that are 2.1 to 5.8 times the

standard.

        6.      Increased sales and thus increased profits drove GM to use at least these three defeat

devices in its Duramax diesel engines. By reversing the traditional order of the exhaust treatment

components and putting the Selective Catalytic Reduction (SCR) in front of the Diesel Particulate

Filter (DPF), GM could obtain and market higher power and fuel efficiency from its engines while

still passing the cold-start emissions certification tests. This made GM’s trucks more appealing

and competitive in the marketplace, driving up sales and profits. But the reordering would have

also drastically increased the need to employ Active Regeneration (burning off collected soot at a

high temperature) and other power- and efficiency-sapping exhaust treatment measures, reversing

the very advantage gained. GM’s solution, with the participation of defendants Robert Bosch

GmbH and Robert Bosch LLC, was to install defeat devices to purposefully reduce SCR dosing,

increase NOx emissions, and thus decrease Active Regeneration. The defeat devices allowed GM

to have its cake and it eat too. It could gain the advantage of hot exhaust going into the SCR system

needed to pass cold-start tests, while avoiding the fuel- and power-robbing Active Regeneration

procedure that the    DPF filter requires when the SCR treatment comes first. GM turned a blind

eye to the twofold to fivefold increase in deadly NOx emissions its scheme caused—all to drive

up its sales and profits.

        7.      Diesel engines pose a difficult challenge to the environment because they have an

inherent trade-off between power, fuel efficiency, and emissions. Compared to gasoline engines,

diesel engines generally produce greater torque, low-end power, better drivability, and much

higher fuel efficiency. But these benefits come at the cost of much dirtier and more harmful

emissions.



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       8.      One by-product of diesel combustion is NOx, which generally describes several

compounds comprised of nitrogen and oxygen atoms. These compounds are formed in the cylinder

of the engine during the high temperature combustion process. NOx pollution contributes to

nitrogen dioxide, particulate matter in the air, and reacts with sunlight in the atmosphere to form

ozone. Exposure to these pollutants has been linked with serious health dangers, including serious

respiratory illnesses and premature death due to respiratory-related or cardiovascular-related

effects. The United States Government, through the Environmental Protection Agency (EPA), has

passed and enforced laws designed to protect United States citizens from these pollutants and

certain chemicals and agents known to cause disease in humans. Automobile manufacturers must

abide by these U.S. laws and must adhere to EPA rules and regulations. This case is not based on

these laws but on deception aimed at consumers.

       9.      Seeing a major opportunity for growth, almost all of the major automobile

manufacturers rushed to develop “clean diesel” and promoted new diesel vehicles as

environmentally friendly and clean. Volkswagen, Mercedes, GM, FCA, and other manufacturers

began selling diesel cars and trucks as more powerful, yet also as an environmentally friendly

alternative to gasoline vehicles. And the marketing worked, as over a million diesel vehicles were

purchased between 2007 and 2016 in the United States and over ten million in Europe.

       10.     The green bubble with respect to diesel vehicles popped on September 18, 2015,

when the EPA issued a Notice of Violation of the Clean Air Act (the “First NOV”) to Volkswagen

Group of America, Audi AG, and Volkswagen America for installing illegal “defeat devices” in

2009-2015 Volkswagen and Audi diesel cars equipped with 2.0-liter diesel engines. A defeat

device, as defined by the EPA, is any apparatus that unduly reduces the effectiveness of emissions

control systems under conditions a vehicle may reasonably be expected to experience. The EPA



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found that the Volkswagen/Audi defeat device allowed the vehicles to pass emissions testing while

in the real world these vehicles polluted far in excess of emissions standards. The California Air

Resources Board also announced that it had initiated an enforcement investigation of Volkswagen

pertaining to the vehicles at issue in the First NOV.

        11.     On September 22, 2015, Volkswagen announced that 11 million diesel cars

worldwide were installed with the same defeat device software that had evaded emissions testing

by U.S. regulators. Volkswagen pled guilty to criminal charges and settled civil class actions for

over ten billion dollars. 1

        12.     Volkswagen wasn’t alone—soon, government agencies began to reveal that many

manufacturers both in the U.S. and in Europe had produced dozens of models that were exceeding

emissions standards. On December 2, 2016, a class action was filed alleging that FCA’s Dodge

Ram and Jeep Grand Cherokee were exceeding emissions standards that a reasonable consumer

would expect to be produced by “Eco” vehicles. On January 12, 2017, the EPA issued a Notice of

Violation to FCA because it had cheated on its emissions certificates with respect to its Dodge

Ram and Jeep Grand Cherokee vehicles, and on May 23, 2017, the United States filed a civil suit

in the Eastern District of Michigan alleging violations of the Clean Air Act (E.D. Mich. No. 17-

cv-11633).

        13.     GM is no different. To appeal to environmentally conscious consumers, and to

compete with its rival and top selling Ford trucks, and to comply with new emissions regulations

effective in 2011, GM markets its Silverado 2500 and 3500 and Sierra 2500 and 3500 Duramax

vehicles as having low emissions, high fuel economy, and powerful torque and towing capacity.


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  See Exhibit 1 to the First Amended Complaint in In re Duramax, Case No. 1:17-cv-110661 (E.D. Mich.)
(the “Duramax Class Complaint”), Dkt 18-2, Nathan Bomey, Volkswagen Emission Scandal Widens: 11
Million Cars Polluting, USA Today (Sept. 22, 2015), http://www.usatoday.com/
story/money/cars/2015/09/22/volkswagen-emissions-scandal/72605874/.

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GM charges a premium of approximately $9,000 for diesel-equipped vehicles over comparable

gas Silverados or Sierras.

       14.     GM’s representations are deceptive and false, and GM sold these vehicles while

omitting information that would be material to a reasonable consumer, namely that GM has

programmed its Silverado 2500 and 3500 and Sierra 2500 and 3500 Duramax vehicles to

significantly reduce the effectiveness of the NOx reduction systems during real-world driving

conditions.

       15.     On-road testing by experts retained by Class Counsel in the Duramax Class Action

has confirmed that GM’s Silverado 2500 and 3500 and Sierra 2500 and 3500 vehicles with a

Duramax engine produce NOx emissions that are not “reduced” or “low” but in fact exceed

emission standards, and that GM has programmed the vehicles so that in a wide range of

conditions, the emissions systems are powered down, producing NOx in excess of emissions

standards. This testing indicates that GM and Bosch have programmed the software to detect a

possible emission testing environment and to comply with emissions requirements in that

circumstance, but to turn off the emissions controls when a testing environment is not detected. A

reasonable consumer would not expect their Silverado or Sierra vehicle to spew unmitigated NOx

in this fashion while driving in the city or on the highway, nor would a reasonable consumer expect

that fuel economy was achieved in part by turning off or derating the emission systems, nor would

a reasonable consumer expect that if the emissions were as promised the advertised fuel economy

and performance could not be achieved.

       16.     Plaintiffs allege that the following GM models powered by Duramax engines are

affected by the unlawful, unfair, deceptive, and otherwise defective emission controls utilized by




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GM: model year 2011-2016 GM Sierra 2500HD and 3500HD trucks and GM Silverado 2500HD

and 3500HD trucks (the “Fraudulent Vehicles”).

       17.     In addition, GM markets the Fraudulent Vehicles as fuel efficient. Without

manipulating its software to turn off the emissions controls, GM could not achieve the fuel

economy and range it promises.

       18.     GM did not previously disclose to Plaintiffs that in real-world driving conditions,

the Fraudulent Vehicles can only achieve high fuel economy, power, and durability by reducing

emissions controls in order to spew NOx into the air.

       19.     GM never disclosed to consumers that the Fraudulent Vehicles may be “clean”

diesels in very limited circumstances but are “dirty” diesels under most driving conditions. GM

never disclosed to consumers that it programs its emissions systems to work only under certain

conditions. GM never disclosed that it prioritizes engine power and profits over the environment.

GM never disclosed that the Fraudulent Vehicles’ emissions materially exceed the emissions from

gasoline-powered vehicles, that the emissions exceed what a reasonable consumer would expect

from a “low emissions” vehicle, and that the emissions materially exceed applicable emissions

limits in real-world driving conditions.

       20.     GM did not act alone. At the heart of the diesel scandal in the United States and

Europe are Robert Bosch GmbH (“Bosch GmbH”) and Robert Bosch LLC (“Bosch LLC”)

(sometimes referred together as “Bosch”). Bosch GmbH and Bosch LLC were active and knowing

participants in the scheme to evade U.S. emissions requirements. Bosch GmbH and Bosch LLC

developed, manufactured, and tested the electronic diesel control (EDC) that allowed GM to

implement the defeat device. The Bosch EDC17 is a good enabler for manufacturers to employ

“defeat devices” as it enables the software to detect conditions when emissions controls can be



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derated—i.e., conditions outside of the emissions test cycle. Almost all of the vehicles found or

alleged to have been manipulating emissions in the United States (Mercedes, FCA, Volkswagen,

Audi, Porsche, Chevy Cruze) use a Bosch EDC17 device.

                                         JURISDICTION

       21.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

because Plaintiffs’ claims arise under the RICO Act, 18 U.S.C. § 1962. The Court also has

diversity jurisdiction because Plaintiffs and Defendants reside in different states. The Court has

supplemental jurisdiction over Plaintiffs’ state law claims under 28 U.S.C. § 1367.

       22.     This Court also has original jurisdiction over this lawsuit pursuant to 28 U.S.C. §

1332(a)(1), as modified by the Class Action Fairness Act of 2005, because some Plaintiffs are

citizens of different states than any Defendant; there are more than 100 Plaintiffs; the aggregate

amount in controversy exceeds $5 million, exclusive of attorneys’ fees, interest, and costs; and

Plaintiffs reside across the United States. The citizenship of each party is described further below

in the “Parties” section.

       23.     This Court has personal jurisdiction over each Defendant pursuant to 18 U.S.C. §

1965(b) & (d). This Court has personal jurisdiction over Defendants because they have minimum

contacts with the United States, this judicial district, and this State, and they intentionally availed

themselves of the laws of the United States and this state by conducting a substantial amount of

business throughout the state, including the design, manufacture, distribution, testing, sale, lease,

and/or warranty of GM vehicles in this State and District. At least in part because of Defendants’

misconduct as alleged in this lawsuit, the Fraudulent Vehicles ended up on this state’s roads and

in dozens of franchise dealerships.




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                                               VENUE

       24.     Venue is proper in this Court under 28 U.S.C. § 1391 because: (i) Defendants

conduct substantial business in this District and have intentionally availed themselves of the laws

and markets of the United States and this District; and/or (ii) many of the acts and transactions

giving rise to this action occurred in this District, including, inter alia, GM’s promotion,

marketing, distribution, and sale of the Fraudulent Vehicles to Plaintiffs in this District. Defendant

GM sells a substantial number of automobiles in this District, has dealerships located throughout

this District, and the misconduct occurred in part in this District. Venue is also proper under 18

U.S.C. § 1965(a) because Defendants are subject to personal jurisdiction in this District, as alleged

in the preceding paragraph, and Defendants have agents located in this District.

                                    JURY TRIAL DEMAND

       25.     Plaintiffs request a jury trial of this matter.

                                              PARTIES

A.     Plaintiffs

                                           OKLAHOMA

       26.     Plaintiff Chandry Abney (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly



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disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        27.     Plaintiffs Rodney Bailey and Candice Bailey (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2016 GMC 2500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,



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during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.



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       28.     Plaintiff Frank Baker (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional



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fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        29.     Plaintiff Mark Banik (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2012 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions



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and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        30.     Plaintiff Darren Bartosovsky (for the purpose of this paragraph, “Plaintiff”) is a

citizen of the State of Oklahoma who acquired a 2016 GMC 3500 in the State of Oklahoma.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further



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saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       31.     Plaintiff Jeff Brandon (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2014 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied



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with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        32.     Plaintiff Kevin Burch (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2014 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the



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time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        33.     Plaintiff Brad Burris (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2011 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and



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performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of




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the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        34.     Plaintiff Kimberly Clark (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of New Mexico who acquired a 2016 Chevrolet 3500 in the State of Oklahoma.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the



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Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       35.     Plaintiffs Scotty Cox and Mary Cox (for the purpose of this paragraph, “Plaintiffs”)

are citizens of the State of Oklahoma who acquired a 2015 Chevrolet 3500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that



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the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       36.     Plaintiff Gary Coyle (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2014 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired



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the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        37.     Plaintiff Calvin Cureington (for the purpose of this paragraph, “Plaintiff”) is a

citizen of the State of Louisiana who acquired a 2016 GMC 2500 in the State of Oklahoma.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did



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not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       38.     Plaintiff Adam Davidson (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Kansas who acquired a 2015 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.




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       39.     Plaintiff Marshall DeJear (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2015 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional



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fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        40.     Plaintiffs Donavan Dudley and Denessa Dudley (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2014 Chevrolet 2500 in the State

of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result



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of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       41.     Plaintiff Bruce Duncan (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2015 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on



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additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        42.     Plaintiff Monty Ervin (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied



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with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        43.     Plaintiff Chad Estes (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2013 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the



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time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        44.     Plaintiff Mike Estes (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2013 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and



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performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of




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the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        45.     Plaintiff David Finch (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2016 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine



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compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        46.     Plaintiff Joseph Foster (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2016 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually



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emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        47.     Plaintiffs Garyl Henderson and Gayle Henderson (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2013 GMC 2500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs



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selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       48.     Plaintiff Rocky Hinchey (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not



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disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        49.     Plaintiff Charlie Horning (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Texas who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.




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       50.     Plaintiff Clark Hughes (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2012 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional



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fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        51.     Plaintiff Brad Humphries (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2011 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions



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and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        52.     Plaintiff Larry Jackson (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on



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additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        53.     Plaintiff Charles Jewell (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied



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with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        54.     Plaintiff Ted Johnson (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma and Plaintiff Foothill Consulting, LLC is a business in the State of

Oklahoma, who acquired a 2012 GMC 2500 in the State of Oklahoma. Unknown to Plaintiffs at

the time the vehicle was acquired, it only achieved its promised fuel economy and performance

because it was equipped with an emissions system that, during normal driving conditions,

exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive

conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper



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emission controls has caused Plaintiffs out-of-pocket loss in the form of overpayment at the time

of acquisition, and diminished value of the vehicle. GM knew about, or recklessly disregarded, the

inadequate emission controls during normal driving conditions, but did not disclose such facts or

their effects to Plaintiffs, so Plaintiffs acquired the vehicle on the reasonable but mistaken belief

that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

standards, was properly EPA-certified, and would retain all of its promised fuel economy and

performance throughout its useful life. Plaintiffs selected and ultimately acquired the vehicle, in

part, because of the diesel system, as represented through advertisements and representations made

by GM. Before acquiring the vehicle, Plaintiffs further saw and relied on additional information

and marketing by GM touting the efficiency, fuel economy, and power and performance of the

engine. Had GM disclosed this design or the fact that the vehicle actually emitted unlawfully high

levels of pollutants, Plaintiffs would not have acquired the vehicle or would have paid less for it.

Plaintiffs have suffered an ascertainable loss as a result of GM’s omissions and/or

misrepresentations and Defendants’ operation of a RICO enterprise associated with the Duramax

engine system, including but not limited to a high premium for the Duramax engine compared to

what they would have paid for a gas-powered engine, out-of-pocket losses by overpaying for the

vehicles at the time of purchase, and future attempted repairs, future additional fuel costs,

decreased performance of the vehicles, and diminished value of the vehicles. Neither GM nor any

of its agents, dealers, or other representatives informed Plaintiffs of the existence of the unlawfully

high emissions and/or defective nature of the diesel engine system of the vehicle prior to

acquisition.

       55.     Plaintiffs Duane Keeler and Tammy Keeler (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2016 Chevrolet 3500 in the State



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of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the



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existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       56.     Plaintiff Henry Killion (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2012 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine



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compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        57.     Plaintiff Cody Koch (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Texas who acquired a 2011 Chevrolet 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually



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emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        58.     Plaintiff Matt Ladd (for the purpose of this paragraph, “Plaintiff”) is a citizen of the

State of Missouri who acquired a 2012 Chevrolet 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired



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the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        59.     Plaintiff Darlene Lehman (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2013 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not



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disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        60.     Plaintiff Chris Lemer (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2014 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.




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       61.     Plaintiff Todd Mankin (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Texas who acquired a 2015 Chevrolet 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional



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fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        62.     Plaintiff John Marsh (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2014 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions



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and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        63.     Plaintiff Charles McFall (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on



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additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        64.     Plaintiffs Rick Meason and Lacey Meason (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Arizona who acquired a 2011 GMC 3500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low



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emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       65.     Plaintiffs Billy Meier and Kona Meier (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2016 GMC 3500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the



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form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       66.     Plaintiff Timothy Melton (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2015 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and



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performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of




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the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        67.     Plaintiff Forrest Mize (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Texas who acquired a 2016 Chevrolet 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine



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compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        68.     Plaintiff Robert Morrow (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2011 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually



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emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        69.     Plaintiff Heath Newland (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2012 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired



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the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        70.     Plaintiff Jim Olivas (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2012 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not



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disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        71.     Plaintiff Brian Pfeiff (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.




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       72.     Plaintiffs Gary Richardson and Wilma Richardson (for the purpose of this

paragraph, “Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2011 Chevrolet 3500

in the State of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only

achieved its promised fuel economy and performance because it was equipped with an emissions

system that, during normal driving conditions, exceeded the allowed level of pollutants such as

NOx. GM’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

selling, and leasing the vehicle without proper emission controls has caused Plaintiffs out-of-

pocket loss in the form of overpayment at the time of acquisition, and diminished value of the

vehicle. GM knew about, or recklessly disregarded, the inadequate emission controls during

normal driving conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs

acquired the vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel”

and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

certified, and would retain all of its promised fuel economy and performance throughout its useful

life. Plaintiffs selected and ultimately acquired the vehicle, in part, because of the diesel system,

as represented through advertisements and representations made by GM. Before acquiring the

vehicle, Plaintiffs further saw and relied on additional information and marketing by GM touting

the efficiency, fuel economy, and power and performance of the engine. Had GM disclosed this

design or the fact that the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs

would not have acquired the vehicle or would have paid less for it. Plaintiffs have suffered an

ascertainable loss as a result of GM’s omissions and/or misrepresentations and Defendants’

operation of a RICO enterprise associated with the Duramax engine system, including but not

limited to a high premium for the Duramax engine compared to what they would have paid for a

gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase,



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and future attempted repairs, future additional fuel costs, decreased performance of the vehicles,

and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or other

representatives informed Plaintiffs of the existence of the unlawfully high emissions and/or

defective nature of the diesel engine system of the vehicle prior to acquisition.

       73.     Plaintiff Brandon Ristau (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2016 Chevrolet 3500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions



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and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        74.     Plaintiff Jan Schumann Russell (for the purpose of this paragraph, “Plaintiff”) is a

citizen of the State of Oklahoma who acquired a 2013 GMC 2500 in the State of Oklahoma.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further



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saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       75.     Plaintiff Billy Savoie (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2011 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied



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with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        76.     Plaintiff Richard Shadduck (for the purpose of this paragraph, “Plaintiff”) is a

citizen of the State of Kansas who acquired a 2011 Chevrolet 3500 in the State of Oklahoma.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of



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overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       77.     Plaintiff Robert Sharp (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and



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performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of




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the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        78.     Plaintiff Clayton Simon (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2011 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine



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compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        79.     Plaintiffs Harry Simpson and L. Elaine Simpson (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2015 Chevrolet 2500 in the State

of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that



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the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       80.     Plaintiff Robert Specht (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2012 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired



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the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        81.     Plaintiff Frank Speed (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not



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disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        82.     Plaintiff Jay Standifer (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2012 Chevrolet 2500 in the State of Oklahoma. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.




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       83.     Plaintiff Steve Stockton (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional



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fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        84.     Plaintiff Scott Taunton (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Oklahoma who acquired a 2015 GMC 3500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions



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and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        85.     Plaintiff Kevin Thacker (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Arkansas and Plaintiff Landon Thacker (for the purpose of this paragraph,

“Plaintiff”) is a citizen of the State of Oklahoma, who acquired a 2011 Chevrolet 2500 in the State

of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented



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through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       86.     Plaintiff Erick Walker (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable



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but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        87.     Plaintiffs Randall Ward and Melinda Ward (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2015 Chevrolet 2500 in the State

of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and



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leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       88.     Plaintiff Daniel Weskamp (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Missouri who acquired a 2016 GMC 2500 in the State of Oklahoma. Unknown to



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Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of



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the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        89.     Plaintiff EJ Williams (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Oklahoma who acquired a 2015 GMC 3500 and a 2016 Chevrolet 3500 in the State of

Oklahoma. Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised

fuel economy and performance because it was equipped with an emissions system that, during

normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the



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Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       90.     Plaintiffs Terry Wilson and Bonnie Wilson (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Oklahoma who acquired a 2015 Chevrolet 2500 in the State

of Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that



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the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       91.     Plaintiff Jerome Yeargain (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of Missouri who acquired a 2011 GMC 2500 in the State of Oklahoma. Unknown to

Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving

conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired



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the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.

        92.     Plaintiffs Royce Zybach and DeLois Zybach (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Texas who acquired a 2016 Chevrolet 3500 in the State of

Oklahoma. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving



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conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

                                        RHODE ISLAND

       93.     Plaintiff Eric Morrow (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Massachusetts who acquired a 2016 GMC 3500 in the State of Rhode Island. Unknown

to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

performance because it was equipped with an emissions system that, during normal driving


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conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

disregarded, the inadequate emission controls during normal driving conditions, but did not

disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

the vehicle, in part, because of the diesel system, as represented through advertisements and

representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

additional information and marketing by GM touting the efficiency, fuel economy, and power and

performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

Duramax engine system, including but not limited to a high premium for the Duramax engine

compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

prior to acquisition.



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       94.     Plaintiff David Sutton (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of Rhode Island who acquired a 2013 Chevrolet 3500 in the State of Rhode Island.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future



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additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

                                       SOUTH CAROLINA

        95.     Plaintiff David Akins (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of South Carolina who acquired a 2011 Chevrolet 2500, a 2013 Chevrolet 2500, a 2014

Chevrolet 2500 and a 2015 Chevrolet 2500 in the State of South Carolina. Unknown to Plaintiff

at the time the vehicle was acquired, it only achieved its promised fuel economy and performance

because it was equipped with an emissions system that, during normal driving conditions,

exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive

conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the time

of acquisition, and diminished value of the vehicle. GM knew about, or recklessly disregarded, the

inadequate emission controls during normal driving conditions, but did not disclose such facts or

their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable but mistaken belief that

the vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

standards, was properly EPA-certified, and would retain all of its promised fuel economy and

performance throughout its useful life. Plaintiff selected and ultimately acquired the vehicle, in

part, because of the diesel system, as represented through advertisements and representations made

by GM. Before acquiring the vehicle, Plaintiff further saw and relied on additional information

and marketing by GM touting the efficiency, fuel economy, and power and performance of the

engine. Had GM disclosed this design or the fact that the vehicle actually emitted unlawfully high


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levels of pollutants, Plaintiff would not have acquired the vehicle or would have paid less for it.

Plaintiff has suffered an ascertainable loss as a result of GM’s omissions and/or misrepresentations

and Defendants’ operation of a RICO enterprise associated with the Duramax engine system,

including but not limited to a high premium for the Duramax engine compared to what they would

have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the

time of purchase, and future attempted repairs, future additional fuel costs, decreased performance

of the vehicles, and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

other representatives informed Plaintiff of the existence of the unlawfully high emissions and/or

defective nature of the diesel engine system of the vehicle prior to acquisition.

       96.     Plaintiff Mike Bell (for the purpose of this paragraph, “Plaintiff”) is a citizen of the

State of South Carolina who acquired a 2014 Chevrolet 2500 in the State of South Carolina.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through



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advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       97.     Plaintiff Chris Brock (for the purpose of this paragraph, “Plaintiff”) is a citizen of

the State of South Carolina who acquired a 2015 Chevrolet 3500 in the State of South Carolina.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the



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reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       98.     Plaintiff Preston Burnett (for the purpose of this paragraph, “Plaintiff”) is a citizen

of the State of South Carolina who acquired a 2016 Chevrolet 2500 in the State of South Carolina.

Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

economy and performance because it was equipped with an emissions system that, during normal

driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle



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without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the

Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       99.     Plaintiffs Denny Conley and Cody Walters (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of South Carolina who acquired a 2012 GMC 3500 in the



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State of South Carolina. Unknown to Plaintiffs at the time the vehicle was acquired, it only

achieved its promised fuel economy and performance because it was equipped with an emissions

system that, during normal driving conditions, exceeded the allowed level of pollutants such as

NOx. GM’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

selling, and leasing the vehicle without proper emission controls has caused Plaintiffs out-of-

pocket loss in the form of overpayment at the time of acquisition, and diminished value of the

vehicle. GM knew about, or recklessly disregarded, the inadequate emission controls during

normal driving conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs

acquired the vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel”

and/or a “low emission diesel,” complied with U.S. emissions standards, was properly EPA-

certified, and would retain all of its promised fuel economy and performance throughout its useful

life. Plaintiffs selected and ultimately acquired the vehicle, in part, because of the diesel system,

as represented through advertisements and representations made by GM. Before acquiring the

vehicle, Plaintiffs further saw and relied on additional information and marketing by GM touting

the efficiency, fuel economy, and power and performance of the engine. Had GM disclosed this

design or the fact that the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs

would not have acquired the vehicle or would have paid less for it. Plaintiffs have suffered an

ascertainable loss as a result of GM’s omissions and/or misrepresentations and Defendants’

operation of a RICO enterprise associated with the Duramax engine system, including but not

limited to a high premium for the Duramax engine compared to what they would have paid for a

gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the time of purchase,

and future attempted repairs, future additional fuel costs, decreased performance of the vehicles,

and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or other



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representatives informed Plaintiffs of the existence of the unlawfully high emissions and/or

defective nature of the diesel engine system of the vehicle prior to acquisition.

       100.    Plaintiffs Janelle Couch and Josh Rex (for the purpose of this paragraph,

“Plaintiffs”) are citizens of the State of Georgia who acquired a 2015 GMC 2500 in the State of

South Carolina. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its

promised fuel economy and performance because it was equipped with an emissions system that,

during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

about, or recklessly disregarded, the inadequate emission controls during normal driving

conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

further saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that

the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

associated with the Duramax engine system, including but not limited to a high premium for the



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Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the

existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

the vehicle prior to acquisition.

       101.    Plaintiff Alexander Curlington (for the purpose of this paragraph, “Plaintiff”) is a

citizen of the State of South Carolina who acquired a 2016 GMC 2500 in the State of South

Carolina. Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised

fuel economy and performance because it was equipped with an emissions system that, during

normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

promised fuel economy and performance throughout its useful life. Plaintiff selected and

ultimately acquired the vehicle, in part, because of the diesel system, as represented through

advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

saw and relied on additional information and marketing by GM touting the efficiency, fuel

economy, and power and performance of the engine. Had GM disclosed this design or the fact that



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 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        102.    Plaintiff John Evans (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of Michigan who acquired a 2014 Chevrolet 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and



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 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        103.    Plaintiff Roy Floyd (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of South Carolina who acquired a 2013 Chevrolet 2500 and 2015 Chevrolet 2500 in the

 State of South Carolina. Unknown to Plaintiff at the time the vehicle was acquired, it only achieved

 its promised fuel economy and performance because it was equipped with an emissions system

 that, during normal driving conditions, exceeded the allowed level of pollutants such as NOx.

 GM’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling,

 and leasing the vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in

 the form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

 about, or recklessly disregarded, the inadequate emission controls during normal driving



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 conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the

 vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

 retain all of its promised fuel economy and performance throughout its useful life. Plaintiff selected

 and ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        104.    Plaintiff Terry Garvin (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of South Carolina who acquired a 2013 Chevrolet 3500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,



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 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.




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        105.    Plaintiff Kyle Hamilton (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of South Carolina who acquired a 2015 Chevrolet 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future



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 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        106.    Plaintiff Kendra Hammons (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of the State of South Carolina who acquired a 2016 Chevrolet 2500 in the State of South

 Carolina. Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised

 fuel economy and performance because it was equipped with an emissions system that, during

 normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

 vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of



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 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        107.    Plaintiff Samuel Harrelson (for the purpose of this paragraph, “Plaintiff”) is a

 citizen of the State of South Carolina who acquired a 2014 Chevrolet 2500 in the State of South

 Carolina. Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised

 fuel economy and performance because it was equipped with an emissions system that, during

 normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair,

 unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the

 vehicle without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further



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 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        108.    Plaintiff Dean Hensley (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of South Carolina who acquired a 2016 Chevrolet 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”



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 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        109.    Plaintiff Craig Kaplenski (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of South Carolina who acquired a 2011 Chevrolet 3500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of



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 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        110.    Plaintiffs Barry Kimmons and Janna Kimmons (for the purpose of this paragraph,

 “Plaintiffs”) are citizens of the State of Georgia who acquired a 2012 Chevrolet 3500 in the State

 of South Carolina. Unknown to Plaintiffs at the time the vehicle was acquired, it only achieved its



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 promised fuel economy and performance because it was equipped with an emissions system that,

 during normal driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s

 unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing, selling, and

 leasing the vehicle without proper emission controls has caused Plaintiffs out-of-pocket loss in the

 form of overpayment at the time of acquisition, and diminished value of the vehicle. GM knew

 about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Plaintiffs, so Plaintiffs acquired the

 vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

 retain all of its promised fuel economy and performance throughout its useful life. Plaintiffs

 selected and ultimately acquired the vehicle, in part, because of the diesel system, as represented

 through advertisements and representations made by GM. Before acquiring the vehicle, Plaintiffs

 further saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiffs would not have acquired

 the vehicle or would have paid less for it. Plaintiffs have suffered an ascertainable loss as a result

 of GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiffs of the




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 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        111.    Plaintiff Greg Leviner (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of South Carolina who acquired a 2011 GMC 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the



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 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        112.    Plaintiff Mark Mack (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of South Carolina who acquired a 2013 GMC 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that



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 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        113.    Plaintiff Tom McCombs (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of Pennsylvania who acquired a 2011 Chevrolet 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and



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 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        114.    Plaintiff Jason McKay (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of South Carolina who acquired a 2011 GMC 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,

 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did



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 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

        115.    Plaintiff David Milliken (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of North Carolina who acquired a 2015 Chevrolet 2500 in the State of South Carolina.

 Unknown to Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel

 economy and performance because it was equipped with an emissions system that, during normal

 driving conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful,



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 and deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle

 without proper emission controls has caused Plaintiff out-of-pocket loss in the form of

 overpayment at the time of acquisition, and diminished value of the vehicle. GM knew about, or

 recklessly disregarded, the inadequate emission controls during normal driving conditions, but did

 not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the

 reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,”

 complied with U.S. emissions standards, was properly EPA-certified, and would retain all of its

 promised fuel economy and performance throughout its useful life. Plaintiff selected and

 ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future

 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.




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        116.    Plaintiff Tonya Nesbitt (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of South Carolina who acquired a 2015 Chevrolet 3500 and a 2016 Chevrolet 3500 in

 the State of South Carolina. Unknown to Plaintiff at the time the vehicle was acquired, it only

 achieved its promised fuel economy and performance because it was equipped with an emissions

 system that, during normal driving conditions, exceeded the allowed level of pollutants such as

 NOx. GM’s unfair, unlawful, and deceptive conduct in designing, manufacturing, marketing,

 selling, and leasing the vehicle without proper emission controls has caused Plaintiff out-of-pocket

 loss in the form of overpayment at the time of acquisition, and diminished value of the vehicle.

 GM knew about, or recklessly disregarded, the inadequate emission controls during normal driving

 conditions, but did not disclose such facts or their effects to Plaintiff, so Plaintiff acquired the

 vehicle on the reasonable but mistaken belief that the vehicle was a “clean diesel” and/or a “low

 emission diesel,” complied with U.S. emissions standards, was properly EPA-certified, and would

 retain all of its promised fuel economy and performance throughout its useful life. Plaintiff selected

 and ultimately acquired the vehicle, in part, because of the diesel system, as represented through

 advertisements and representations made by GM. Before acquiring the vehicle, Plaintiff further

 saw and relied on additional information and marketing by GM touting the efficiency, fuel

 economy, and power and performance of the engine. Had GM disclosed this design or the fact that

 the vehicle actually emitted unlawfully high levels of pollutants, Plaintiff would not have acquired

 the vehicle or would have paid less for it. Plaintiff has suffered an ascertainable loss as a result of

 GM’s omissions and/or misrepresentations and Defendants’ operation of a RICO enterprise

 associated with the Duramax engine system, including but not limited to a high premium for the

 Duramax engine compared to what they would have paid for a gas-powered engine, out-of-pocket

 losses by overpaying for the vehicles at the time of purchase, and future attempted repairs, future



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 additional fuel costs, decreased performance of the vehicles, and diminished value of the vehicles.

 Neither GM nor any of its agents, dealers, or other representatives informed Plaintiff of the

 existence of the unlawfully high emissions and/or defective nature of the diesel engine system of

 the vehicle prior to acquisition.

                                                TEXAS

         117.    Plaintiff Joe Russell (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of Texas who acquired a 2014 GMC 2500 in the State of Texas. Unknown to Plaintiff at

 the time the vehicle was acquired, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the time

 of acquisition, and diminished value of the vehicle. GM knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable but mistaken belief that

 the vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Plaintiff selected and ultimately acquired the vehicle, in

 part, because of the diesel system, as represented through advertisements and representations made

 by GM. Before acquiring the vehicle, Plaintiff further saw and relied on additional information

 and marketing by GM touting the efficiency, fuel economy, and power and performance of the

 engine. Had GM disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Plaintiff would not have acquired the vehicle or would have paid less for it.

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 Plaintiff has suffered an ascertainable loss as a result of GM’s omissions and/or misrepresentations

 and Defendants’ operation of a RICO enterprise associated with the Duramax engine system,

 including but not limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the

 time of purchase, and future attempted repairs, future additional fuel costs, decreased performance

 of the vehicles, and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the vehicle prior to acquisition.

        118.    Plaintiff Scott Saathoff (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of Texas who acquired a 2013 Chevrolet 2500 in the State of Texas. Unknown to

 Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and

 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

 time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

 disregarded, the inadequate emission controls during normal driving conditions, but did not

 disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

 but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

 with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

 fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

 the vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on



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 additional information and marketing by GM touting the efficiency, fuel economy, and power and

 performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

 emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

 and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

 Duramax engine system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

 overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

 fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

 GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

 the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

 prior to acquisition.

         119.    Plaintiff John Sackett (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of Texas who acquired a 2013 Chevrolet 3500 in the State of Texas. Unknown to Plaintiff

 at the time the vehicle was acquired, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the time

 of acquisition, and diminished value of the vehicle. GM knew about, or recklessly disregarded, the

 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable but mistaken belief that

 the vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions



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 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Plaintiff selected and ultimately acquired the vehicle, in

 part, because of the diesel system, as represented through advertisements and representations made

 by GM. Before acquiring the vehicle, Plaintiff further saw and relied on additional information

 and marketing by GM touting the efficiency, fuel economy, and power and performance of the

 engine. Had GM disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Plaintiff would not have acquired the vehicle or would have paid less for it.

 Plaintiff has suffered an ascertainable loss as a result of GM’s omissions and/or misrepresentations

 and Defendants’ operation of a RICO enterprise associated with the Duramax engine system,

 including but not limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the

 time of purchase, and future attempted repairs, future additional fuel costs, decreased performance

 of the vehicles, and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the vehicle prior to acquisition.

        120.    Plaintiff Justin Sain (for the purpose of this paragraph, “Plaintiff”) is a citizen of

 the State of Texas who acquired a 2015 GMC 2500 in the State of Texas. Unknown to Plaintiff at

 the time the vehicle was acquired, it only achieved its promised fuel economy and performance

 because it was equipped with an emissions system that, during normal driving conditions,

 exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and deceptive

 conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without proper

 emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the time

 of acquisition, and diminished value of the vehicle. GM knew about, or recklessly disregarded, the



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 inadequate emission controls during normal driving conditions, but did not disclose such facts or

 their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable but mistaken belief that

 the vehicle was a “clean diesel” and/or a “low emission diesel,” complied with U.S. emissions

 standards, was properly EPA-certified, and would retain all of its promised fuel economy and

 performance throughout its useful life. Plaintiff selected and ultimately acquired the vehicle, in

 part, because of the diesel system, as represented through advertisements and representations made

 by GM. Before acquiring the vehicle, Plaintiff further saw and relied on additional information

 and marketing by GM touting the efficiency, fuel economy, and power and performance of the

 engine. Had GM disclosed this design or the fact that the vehicle actually emitted unlawfully high

 levels of pollutants, Plaintiff would not have acquired the vehicle or would have paid less for it.

 Plaintiff has suffered an ascertainable loss as a result of GM’s omissions and/or misrepresentations

 and Defendants’ operation of a RICO enterprise associated with the Duramax engine system,

 including but not limited to a high premium for the Duramax engine compared to what they would

 have paid for a gas-powered engine, out-of-pocket losses by overpaying for the vehicles at the

 time of purchase, and future attempted repairs, future additional fuel costs, decreased performance

 of the vehicles, and diminished value of the vehicles. Neither GM nor any of its agents, dealers, or

 other representatives informed Plaintiff of the existence of the unlawfully high emissions and/or

 defective nature of the diesel engine system of the vehicle prior to acquisition.

         121.    Plaintiff Carlos Sanchez (for the purpose of this paragraph, “Plaintiff”) is a citizen

 of the State of California who acquired a 2015 Chevrolet 2500 in the State of Texas. Unknown to

 Plaintiff at the time the vehicle was acquired, it only achieved its promised fuel economy and

 performance because it was equipped with an emissions system that, during normal driving

 conditions, exceeded the allowed level of pollutants such as NOx. GM’s unfair, unlawful, and



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 deceptive conduct in designing, manufacturing, marketing, selling, and leasing the vehicle without

 proper emission controls has caused Plaintiff out-of-pocket loss in the form of overpayment at the

 time of acquisition, and diminished value of the vehicle. GM knew about, or recklessly

 disregarded, the inadequate emission controls during normal driving conditions, but did not

 disclose such facts or their effects to Plaintiff, so Plaintiff acquired the vehicle on the reasonable

 but mistaken belief that the vehicle was a “clean diesel” and/or a “low emission diesel,” complied

 with U.S. emissions standards, was properly EPA-certified, and would retain all of its promised

 fuel economy and performance throughout its useful life. Plaintiff selected and ultimately acquired

 the vehicle, in part, because of the diesel system, as represented through advertisements and

 representations made by GM. Before acquiring the vehicle, Plaintiff further saw and relied on

 additional information and marketing by GM touting the efficiency, fuel economy, and power and

 performance of the engine. Had GM disclosed this design or the fact that the vehicle actually

 emitted unlawfully high levels of pollutants, Plaintiff would not have acquired the vehicle or would

 have paid less for it. Plaintiff has suffered an ascertainable loss as a result of GM’s omissions

 and/or misrepresentations and Defendants’ operation of a RICO enterprise associated with the

 Duramax engine system, including but not limited to a high premium for the Duramax engine

 compared to what they would have paid for a gas-powered engine, out-of-pocket losses by

 overpaying for the vehicles at the time of purchase, and future attempted repairs, future additional

 fuel costs, decreased performance of the vehicles, and diminished value of the vehicles. Neither

 GM nor any of its agents, dealers, or other representatives informed Plaintiff of the existence of

 the unlawfully high emissions and/or defective nature of the diesel engine system of the vehicle

 prior to acquisition.

 B.      Defendants


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        1.      General Motors

        122.    Defendant General Motors LLC (GM) is a Delaware limited liability company with

 its principal place of business located at 300 Renaissance Center, Detroit, Michigan, and is a citizen

 of the States of Delaware and Michigan. The sole member and owner of General Motors LLC is

 General Motors Holdings LLC. General Motors Holdings LLC is a Delaware limited liability

 company with its principal place of business in the State of Michigan.

        123.    GM, through its various entities, including Chevrolet and GMC, designs,

 manufactures, markets, distributes, and sells GM automobiles in this District and multiple other

 locations in the United States and worldwide. GM and/or its agents designed, manufactured, and

 installed the GM engine systems in the Silverado and Sierra vehicles. GM also developed and

 disseminated the owner’s manuals and warranty booklets, brochures, advertisements, and other

 promotional materials relating to the Fraudulent Vehicles.

        2.      The Bosch Defendants

        124.    From at least 2005 to 2015, Robert Bosch GmbH, Robert Bosch LLC, and currently

 unnamed Bosch employees (together, “Bosch”) were knowing and active participants in the

 creation, development, marketing, and sale of illegal defeat devices specifically designed to evade

 U.S. emissions requirements in vehicles sold solely in the United States and Europe. These

 vehicles include the GM vehicles in this case and the Dodge Ram 1500 EcoDiesel and Jeep Grand

 Cherokee EcoDiesel, as well as numerous models made by Volkswagen, Audi, Porsche, and

 Mercedes.

        125.    The following is a list, excluding the GM vehicles in this case, of all diesel models

 in the United States with Bosch-supplied software whose emissions exceed federal and California




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 emission standards and whose emissions are beyond what a reasonable consumer would expect

 from cars marketed as “clean” or “low emission”:




        126.    Bosch participated not just in the development of the defeat device, but also in the

 scheme to prevent U.S. regulators from uncovering the device’s true functionality. Moreover,

 Bosch’s participation was not limited to engineering the defeat device (in a collaboration described

 as unusually close). Rather, Bosch GmbH and Bosch LLC marketed “clean diesel” in the United

 States and lobbied U.S. regulators to approve “clean diesel,” another highly unusual activity for a

 mere supplier. These lobbying efforts, taken together with evidence of Bosch’s actual knowledge

 that its software could be operated as a defeat device and participation in concealing the true

 functionality of the device from U.S. regulators, can be interpreted only one way under U.S. law:

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 Bosch was a knowing and active participant in a massive, decade-long conspiracy with

 Volkswagen, Audi, Mercedes, GM, and others to defraud U.S. consumers, regulators, and diesel

 car purchasers or lessees. Bosch GmbH and Bosch LLC have enabled over 1.3 million vehicles to

 be on the road in the United States polluting at levels that exceed emissions standards and which

 use software that manipulate emissions controls in a manner not expected by a reasonable

 consumer.

         127.     Robert Bosch GmbH is a German multinational engineering and electronics

 company headquartered in Gerlingen, Germany. Robert Bosch GmbH is the parent company of

 Robert Bosch LLC. Robert Bosch GmbH, directly and/or through its North American subsidiary

 Robert Bosch LLC, at all material times, designed, manufactured, and supplied elements of the

 defeat device to GM for use in the Fraudulent Vehicles. Bosch GmbH is subject to the personal

 jurisdiction of this Court because it has availed itself of the laws of the United States through its

 management and control over Bosch LLC and over the design, development, manufacture,

 distribution, testing, and sale of hundreds of thousands of the defeat devices installed in the

 Fraudulent Vehicles sold or leased in the U.S. Employees of Bosch GmbH and Bosch LLC have

 collaborated in the emissions scheme with GM in this judicial district and have been present in

 this district.

         128.     Robert Bosch LLC is a Delaware limited liability company with its principal place

 of business located at 38000 Hills Tech Drive, Farmington Hills, Michigan. Robert Bosch LLC is

 a wholly owned subsidiary of Robert Bosch GmbH. Robert Bosch LLC, directly and/or in

 conjunction with its parent Robert Bosch GmbH, at all material times, designed, manufactured,

 and supplied elements of the defeat device to GM for use in the Fraudulent Vehicles.




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        129.    Both Bosch GmbH and Bosch LLC (together, “Bosch”) operate under the umbrella

 of the Bosch Group, which encompasses some 340 subsidiaries and companies. The “Bosch

 Group” is divided into four business sectors: Mobility Solutions (formerly Automotive

 Technology), Industrial Technology, Consumer Goods, and Energy and Building Technology. The

 Mobility Solutions sector, which supplies parts to the automotive industry, and its Diesel Systems

 division, which develops, manufacturers and applies diesel systems, are particularly at issue here

 and include the relevant individuals at both Bosch GmbH and Bosch LLC. Bosch’s sectors and

 divisions are grouped not by location, but by subject matter. Mobility Solutions includes the

 individuals involved in the RICO enterprise and conspiracy at both Bosch GmbH and Bosch LLC.

 Some individuals worked at both Bosch LLC and Bosch GmbH during the course of the RICO

 conspiracy. The acts of individuals described in this Complaint have been associated with Bosch

 GmbH and Bosch LLC whenever possible. Regardless of whether an individual works for Bosch

 LLC in the U.S. or Bosch GmbH in Germany, the individuals often hold themselves out as working

 for “Bosch.” This collective identity is captured by Bosch’s mission statement: “We are Bosch,”

 a unifying principle that links each entity and person within the Bosch Group. 2 Bosch documents

 and press releases often refer to the source of the document as “Bosch” without identifying any

 particular Bosch entity. Thus, the identity of which Bosch defendant was the author of such

 documents and press releases cannot be ascertained with certainty until Bosch GmbH and Bosch

 LLC respond to discovery requests in this matter.

        130.    Bosch holds itself out to the world as one entity: “the Bosch Group.” The Diesel

 Systems division, which developed the EDC17, is described as part of the Bosch Group. In the




 2
  Exhibit 2 to the Duramax Class Complaint, Dkt 18-3, Bosch 2014 Annual Report, available at
 http://www.bosch.com/en/com/bosch_group/bosch_figures/publications/archive/archive-cg12.php

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 case of the Mobility Solutions sector, which oversees the Diesel Systems Group, the Bosch Group

 competes with other large automotive suppliers. 3

        131.    The Bosch publication Bosch in North America represents that “Bosch supplies . .

 . clean-diesel fuel technology for cars and trucks.” Throughout the document describing its North

 American operations, the company refers to itself as “Bosch” or “the Bosch Group.” 4

        132.    The Bosch in North America document proclaims that Automotive Technology is

 “Bosch’s largest business sector in North America.” In this publication, Bosch never describes the

 actions of any separate Bosch legal entity, like Bosch LLC, when describing its business, but

 always holds itself out as “the Bosch Group.” 5

        133.    German authorities are now investigating Bosch GmbH and are focusing on certain

 Bosch employees: 6

                Three Bosch Managers Targeted as German Diesel Probe
                Expands

                A German probe into whether Robert Bosch GmbH helped
                Volkswagen AG cheat on emissions tests intensified as Stuttgart
                prosecutors said they were focusing on three managers at the car-
                parts maker.

                While Stuttgart prosecutors didn’t identify the employees, the step
                indicates that investigators may have found specific evidence in the
                probe. Previously, prosecutors have said they were looking into the
                role “unidentified” Bosch employees may have played in providing
                software that was used to cheat on emission tests.


 3
  See, e.g., Exhibit 3 to the Duramax Class Complaint, Dkt 18-4, Bosch’s 2016 Annual Report, available
 at https://assets.bosch.com/media/global/bosch_group/our_figures/pdf/bosch-annual- report-2016.pdf, at
 23.
 4
   Exhibit 4 to the Duramax Class Complaint, Dkt 18-5, Bosch in North America (May 2007), available at
 http://www.bosch.us/content/language1/downloads/BINA07.pdf, at 2.
 5
   Id. at 5.
 6
   Exhibit 5 to the Duramax Class Complaint, Dkt 18-6, Three Bosch Managers Targeted as German
 Diesel Probe Expands, Bloomberg (June 29, 2007), https://www.bloomberg.com/news/articles/2017-06-
 29/three-bosch-managers-targeted-as-german-diesel-probe-expands.

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                “We have opened a probe against all three on suspicions they aided
                fraud in connection to possible manipulation in emissions treatments
                in VW cars,” Jan Holzner, a spokesman for the agency, said in an
                emailed statement. “All of them are managers with the highest in
                middle management.”

                Bosch, which is also being investigated by the U.S. Department of
                Justice, has been caught up in the VW diesel scandal that emerged
                in 2015 over allegations its employees may have helped rig software
                that helped the carmaker to cheat emission tests. Earlier this year,
                Stuttgart prosecutors opened a similar probe into Bosch’s role in
                connection with emission tests of Daimler cars.

                A spokesman for Bosch said that while he can’t comment on
                individual employees, the company “takes the overall allegations in
                diesel cases seriously and has been cooperating fully from the
                beginning of the probes.”

                The Stuttgart probe is running parallel to the central criminal
                investigation in Braunschweig, closer to VW’s headquarters. That
                investigation is targeting nearly 40 people on fraud allegations
                related to diesel-emission software, including former VW Chief
                Executive Officer Martin Winterkorn.

                Prosecutors’ interest extends to multiple units in the VW family --
                including luxury brands Audi and Porsche. In addition, Stuttgart
                prosecutors are also reviewing a third case related to Bosch’s
                cooperation with Fiat Chrysler Automobiles NV on software for
                diesel engines.

        134.    Recently researchers from Rohr-Universität in Bochum, Germany, and University

 of California-San Diego uncovered Bosch’s role in connection with the manipulation of emission

 controls in certain Volkswagen and FCA vehicles. The researchers found no evidence that

 Volkswagen and FCA wrote the code that allowed the operation of defeat devices. All the code

 they analyzed was found in documents copyrighted by Robert Bosch GmbH. These researchers

 found that in the “function sheets” copyrighted by Robert Bosch GmbH, the code to cheat the

 emissions test was labeled as modifying the “acoustic condition” of the engine, a label that helped

 the cheat fly under the radar. Given that GM cars have a Bosch EDC17 as did the cheating



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 Volkswagen and FCA cars, and given testing by Class Counsel experts described below that

 reveals defeat devices in GM cars, it is plausible to allege that Bosch was a participant in the

 scheme to hide the true emissions of Silverados and Sierras, and supplied a similar “function sheet”

 to GM to enable a similar emission deception.

                                   FACTUAL ALLEGATIONS

 A.     The Environmental Challenges Posed by Diesel Engines and the U.S. Regulatory
        Response Thereto

        135.    The United States government, through the Environmental Protection Agency, has

 passed and enforced laws designed to protect United States citizens from pollution and, in

 particular, certain chemicals and agents known to cause disease in humans. Automobile

 manufacturers must abide by these laws and must adhere to EPA rules and regulations.

        136.    The U.S. Clean Air Act has strict emissions standards for vehicles, and it requires

 vehicle manufacturers to certify to the EPA that the vehicles sold in the U.S. meet applicable

 federal emissions standards to control air pollution. Every vehicle sold in the U.S. must be covered

 by an EPA-issued certificate of conformity.

        137.    There is a very good reason that these laws and regulations exist, particularly in

 regards to vehicles with diesel engines: in 2012, the World Health Organization declared diesel

 vehicle emissions to be carcinogenic and about as dangerous as asbestos.

        138.    Diesel engines pose a particularly difficult challenge to the environment because

 they have an inherent trade-off between power, fuel efficiency, and emissions: the greater the

 power and fuel efficiency, the dirtier and more harmful the emissions.

        139.    Instead of using a spark plug to combust highly refined fuel with short hydrocarbon

 chains, as gasoline engines do, diesel engines compress a mist of liquid fuel and air to very high




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 temperatures and pressures, which causes the diesel to spontaneously combust. This causes a more

 powerful compression of the pistons, which produces greater engine torque (that is, more power).

        140.     The diesel engine is able to do this both because it operates at a higher compression

 ratio than a gasoline engine and because diesel fuel contains more energy than gasoline.

        141.     But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier

 and more dangerous emissions. One byproduct of diesel combustion is oxides of nitrogen (NOx),

 which includes a variety of nitrogen and oxygen chemical compounds that only form at high

 temperatures.

        142.     NOx pollution contributes to nitrogen dioxide, particulate matter in the air, and

 reacts with sunlight in the atmosphere to form ozone. Exposure to these pollutants has been linked

 with serious health dangers, including asthma attacks and other respiratory illnesses serious

 enough to send people to the hospital. Ozone and particulate matter exposure have been associated

 with premature death due to respiratory-related or cardiovascular-related effects. Children, the

 elderly, and people with pre-existing respiratory illness are at acute risk of health effects from

 these pollutants. As a ground level pollutant, NO2, a common byproduct of NOx reduction systems

 using an oxidation catalyst, is highly toxic in comparison to nitric oxide (NO). If overall NOx

 levels are not sufficiently controlled, then concentrations of NO2 levels at ground level can be

 quite high, where they have adverse acute health effects.

        143.     Though more efficient, diesel engines come with their own set of challenges, as

 emissions from diesel engines can include higher levels of NOx and particulate matter (PM) or

 soot than emissions from gasoline engines due to the different ways the different fuels combust

 and the different ways the resulting emissions are treated following combustion. Another way NOx

 emissions can be reduced is through exhaust gas recirculation or “EGR,” whereby exhaust gases



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 are routed back into the intake of the engine and mixed with fresh incoming air. Exhaust gas

 recirculation lowers NOx by reducing the available oxygen increasing the heat capacity of the

 exhaust gas mixture and by reducing maximum combustion temperatures; however, EGR can also

 lead to an increase in PM as well. Another way NOx and PM emissions can be reduced is through

 expensive exhaust gas after-treatment devices, primarily, catalytic converters, which use a series

 of chemical reactions to transform the chemical composition of a vehicle’s NOx emissions into

 less harmful, relatively inert, and nitrogen gas (N2), water (H2O) and carbon dioxide (CO2).

        144.    Diesel engines thus operate according to this trade-off between price, NOx, and

 PM, and for the EPA to designate a diesel car as a “clean” vehicle, it must produce both low PM

 and low NOx. In 2000, the EPA announced stricter emission standards requiring all diesel models

 starting in 2007 to produce drastically less NOx and PM than years prior. Before introducing a

 Fraudulent Vehicle into the U.S. stream of commerce (or causing the same), GM was required to

 first apply for, and obtain, an EPA-administered COC certifying that the vehicle comported with

 the emission standards for pollutants enumerated in 40 C.F.R. §§ 86.1811-04, 86.1811-09, &

 86.1811-10. The CAA expressly prohibits automakers, like GM, from introducing a new vehicle

 into the stream of commerce without a valid EPA COC. Moreover, vehicles must be accurately

 described in the COC application “in all material respects” to be deemed covered by a valid COC.

 California’s emission standards are even more stringent than those of the EPA. California’s

 regulator, CARB, requires a similar application from automakers to obtain an Executive Order,

 confirming compliance with California’s emission regulations, before allowing the vehicle onto

 California’s roads.

 B.     Both the Silverado and Sierra Share a Common Duramax Engine




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         145.    To meet the EPA emissions requirements applicable to 2011 vehicles GM

 introduced a new Duramax V8 diesel engine in both the Silverado and Sierra.

         146.    For the purposes of this complaint, the following terms are used to describe the

 Duramax engine found in all Silverado and Sierra vehicles at issue in this case. These two models

 share the same engine test group and are considered by EPA and ARB to have identical engines.

         147.    Common critical components of the Duramax engine are:

         1.      HCI – Hydrocarbon Injector

         148.    The hydrocarbon injector (HCI) is located in the turbocharger downpipe. It is

 simply a fuel injector used to inject diesel fuel into the exhaust stream during active regeneration

 (cleaning of the diesel particulate filter). This active regeneration strategy is unique as the previous

 version allowed fuel to be injected into the cylinder during the exhaust stroke instead of utilizing

 a separate injector.

         2.      DOC – Diesel Oxidation Catalyst

         149.    The diesel oxidation catalyst (DOC) converts hydrocarbons and carbon monoxide

 into water and carbon dioxide through an oxidization reaction. The DOC also converts nitric oxide

 to nitrogen dioxide to generate favorable conditions for the reduction of NOx in the SCR system

 downstream of the DOC. Finally, the DOC oxidizes fuel injected from the HCI to generate the

 temperatures required for active regeneration.

         3.      Diesel Exhaust Fluid Injector

         150.    The diesel exhaust fluid (DEF) is injected downstream of the DOC. DEF is

 composed of 32.5% urea (its active ingredient), distilled water, and a very small amount of

 additives. Because of its urea content, some people call the process “urea injection.” DEF is




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 required for the selective catalytic reduction process to occur. The heat of the exhaust converts the

 DEF into carbon dioxide and ammonia.

        4.      SCR – Selective Catalytic Reduction

        151.    Once DEF is added to the exhaust, it travels through the selective catalytic

 reduction (SCR) catalyst. Here, oxides of nitrogen (NOx) are converted to nitrogen gas (N2) and

 water (H2O) by means of a reduction reaction. The SCR system significantly reduces NOx

 emissions, reducing the frequency of active regeneration cycles and allowing for more freedom in

 the calibration of the engine. The drawback of SCR is its increased complexity and the need to

 carry and replenish the urea fluid (also known by its trademark name AdBlue).

        5.      DPF – Diesel Particulate Filter

        152.    Once the exhaust stream has been treated by the DOC and SCR, it travels through

 the diesel particulate filter (DPF), where particulate matter (soot) is trapped and stored. The DPF

 is cleaned through a process known as regeneration, which is divided into two strategies. Passive

 regeneration occurs at any time the vehicle is being operated and the exhaust gas temperature is

 high enough to burn the particulate matter trapped by the filter. It is a continuously occurring

 process, meaning that it naturally occurs whenever the conditions are met under normal operation.

 Active regeneration occurs only when the engine senses that the DPF needs to be cleaned as the

 DPF is approaching maximum capacity and generating too much exhaust backpressure. When

 active regeneration occurs, fuel is injected into the exhaust stream via the HCI to increase the

 exhaust gas temperature so that the particulate matter can be burned off at carbon’s non-catalytic

 oxidation temperature. Active regeneration dramatically reduces fuel economy since fuel is being

 used for purposes other than moving the vehicle. The exhaust system features a specifically

 designed air-cooled exhaust tip to reduce the heat of the exhaust gases as they are expelled. While



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 the DPF is highly effective at trapping particulates, as the amount of particulates accumulates, the

 resistance to air flow increases also, increasing the load of the engine. To purge the DPF of

 accumulated deposits, it must undergo a regeneration cycle approximately every 500 km, lasting

 about 30 minutes. DPF regeneration requires high exhaust temperatures of approximately 600°C

 that are almost never achieved under normal engine operating conditions. Unfortunately, these

 conditions may not arise in normal urban driving, requiring the ECU to perform active

 regeneration. In this mode, the ECU adjusts engine operation to increase exhaust temperature to

 regenerate the DPF; however, if the vehicle is only driven for short distances, such a temperature

 may never be reached. At sufficiently high soot load, the vehicle will illuminate a special warning

 lamp, prompting the driver to drive the vehicle at increased speed to allow active regeneration to

 take place. Thus, while the DPF is highly effective at reducing particulate emissions, it imposes a

 performance penalty and can become a hassle for owners who drive their vehicle for short

 distances.

        6.      EGR – Exhaust Gas Recirculation

        153.    Exhaust gas recirculation (EGR) is used to reduce NOx emissions. Since oxides of

 nitrogen form in oxygen rich, high temperature environments, introducing exhaust gases back into

 the intake air charge reduces the amount of these compounds that form. Exhaust gas recirculation

 is not a new technology and has been regularly used on diesel engines for many years.

        154.    The following is a depiction of these components:




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 C.     Emission Test Cycles and Emission Standards

        155.    An emissions test cycle defines a protocol that enables repeatable and comparable

 measurements of exhaust emissions to evaluate compliance. The protocol specifies all conditions

 under which the engine is tested, including lab temperature and vehicle conditions. Most

 importantly, the test cycle defines the speed and load over time that is used to simulate a typical

 driving scenario. An example of a driving cycle is shown in Figure A. This graph represents the

 FTP-75 (Federal Test Procedure) cycle that has been created by the EPA and is used for emission

 certification and fuel economy testing of light-duty vehicles in the U.S. The cycle simulates an

 urban route with frequent stops, combined with both a cold and a hot start transient phase. The

 cycle lasts 1,877 seconds (about 31 minutes) and covers a distance of 11.04 miles (17.77 km) at

 an average speed of 21.2 mph (34.12 km/h).

                                                 Figure A




        156.    Besides urban test cycles such as FTP-75, there are also cycles that simulate driving

 patterns under different conditions. To assess conformance, several of these tests are carried out

 on a chassis dynamometer, a fixture that holds a car in place while allowing its drive wheel to turn

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 with varying resistance. Emissions are measured during the test and compared to an emissions

 standard that defines the maximum pollutant levels that can be released during such a test. In the

 U.S., emissions standards are managed on a national level by the EPA. In addition, California has

 its own emissions standards that are defined and enforced by the California Air Resources Board

 (CARB). California standards are also used by a number of other states (“Section 177” states).

 Together with California, these states cover a significant fraction of the U.S. market, making them

 a de facto second national standard. In Europe, the emissions standards are called Euro 1 through

 Euro 6, where Euro 6 is the most recent standard—in effect since September 2014.

        157.    The FTP-75 is the primary dynamometer cycle used to certify the light- and

 medium-duty passenger cars/trucks. This cycle is primarily a dynamic cycle, with rapid changes

 in speed and acceleration meant to reflect city driving along with some steadier higher speed

 sections meant to account for some highway driving.

        158.    One critically important thing to understand about the FTP-75 is that it’s a “cold

 start” cycle. That means the vehicle starts the cycle with the engine having been off for at least

 eight hours and in a completely cold state. The “cold start” portion of the test is challenging for

 diesel engines like the Duramax employing SCR because catalysts meant to control emissions are

 not yet at temperatures where they work (i.e., above their “light-off” temperature).

 D.     GM Profited from Using Multiple Defeat Devices in Its Duramax Diesel Powertrains

        159.    As noted, the Duramax exhaust treatment system consists of four components: the

 Exhaust Gas Recirculation System (EGR); the Diesel Oxidation Catalyst (DOC); the Selective

 Catalytic Reduction (SCR); and the Diesel Particulate Filter (DPF). The DPF traps particulate

 pollutants (like soot) but has to regenerate regularly in order to maintain low exhaust backpressure.

 There are two ways the DPF can regenerate: passively through catalysts built into the components



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 (Passive Regeneration) that use NO2 (nitrogen dioxide) as the primary oxidizer, and actively,

 where the engine and HCI generate temperatures high enough to oxidize trapped carbon via direct

 (i.e., non-catalytic) oxidation (Active Regeneration). Active Regenerations generally, though not

 always, require the vehicle to be driven at highway speeds for a continuous period. Active

 Regeneration reduces fuel economy, decreasing miles per gallon and engine efficiency. Thus,

 manufacturers like GM seek to minimize Active Regeneration cycles. Active Regeneration also

 leads to excessive NOx and reduces the life span of the SCR catalyst as the high temperatures drive

 hydrothermal aging and deactivation of the SCR catalyst.

        160.    Passive regeneration relies on the presence of NOx (specifically NO2) to

 catalytically oxidize captured soot. The catalyst oxidizes nitric oxide to nitrogen dioxide, which

 then reacts at relatively low temperatures to oxidize and remove captured soot. That is, it works

 best when the exhaust passing through the DPF still contains high levels of NOx pollutants that

 trigger the catalyst to regenerate the filter. As a result, most diesel engine manufacturers put the

 DOC upstream of the SCR system where NOx concentrations are still relatively high and the DPF

 is more likely to regenerate via the passive regeneration mechanism. 7




        161.    While the SCR is very effective at reducing NOx emissions, it requires hot exhaust

 for the urea catalyst to function properly. Thus, when it is placed downstream of the DPF, so as to


 7
  Exhibit 6 to the Duramax Class Complaint, Dkt 18-7,Hannu Jääskeläinen et al., Heavy-Duty Diesel
 Engines with Aftertreatment, DieselNet (Dec. 2016), https://www.dieselnet.com/tech/engine_ heavy-
 duty_aftertreatment.php.

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 increase Passive Regeneration and decrease the need for Active Regeneration, the system takes

 some time to warm up and does not work well when the engine system is cold. The DPF absorbs

 much of the heat during exhaust warmup and delays the time for the SCR catalyst to reach its light-

 off temperature.

        162.    But emissions testing to allow trucks such as those at issue here to be sold in the

 United States requires a “cold start” emissions measurement. That is, trucks must emit low levels

 of NOx even when they have just started and are not yet operating at high exhaust temperatures.

 GM did not want to increase Engine Gas Recirculation (EGR) or use other inefficient methods to

 reduce “cold start” emissions, so it departed from the DOC–DPF–SCR order that other

 manufacturers use and designed its Duramax engines with the SCR system closer to the engine

 than the DPF. In the Duramax, the order is as follows:




        163.    This configuration allows the SCR system to warm up sooner, thus allowing

 sufficiently reduced NOx emissions to pass the cold start test required for certification. But there

 is a catch. Because the NOx is reduced before the exhaust reaches the DPF filter, there is little

 Passive Regeneration in the DPF. Without relatively high NOx levels going into the DPF, more

 active regenerations would be required, resulting in reduced fuel economy, reduced lifetime of the

 SCR catalysts, and a significant increase in overall NOx emissions.



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         164.   GM was unwilling to leave the lucrative diesel market to other manufacturers.

 Unknown to GM other manufacturers, like FCA, also were unable to meet the new emission

 requirements. So, unwilling to be left behind, GM plunged ahead.

         165.   GM’s solution to its problem was to use at least three separate “defeat devices” to

 increase engine power and efficiency, increase NOx levels into the DPF, and decrease the need for

 Active Regeneration. These defeat devices are explained in detail below. GM could not meet the

 new and tougher emissions requirements effective in 2011 without these devices. GM cared not

 that these defeat devices caused the Duramax engine to emit 1.5 to 5.5 times the permissible limit

 for deadly NOx pollutants during real-world driving.

         166.   The defeat devices solved GM’s problem by decreasing the dosing of urea used by

 the SCR system and reducing the overall EGR rate: above (Defeat Device 1) and below (Defeat

 Device 2) the narrow temperature band in which certification testing is performed (68-86°F); and

 decreasing the dose of the SCR system and rate of EGR (Defeat Device 3) after 5-8 minutes of

 relatively constant engine speed (which never happens during an emissions test). By decreasing

 the dosing of urea, the SCR allows more NOx to pass through to the DPF, thus increasing Passive

 Regeneration in the DPF and decreasing the need for Active Regenerations, which reduce fuel

 economy, reduce the lifetime of the SCR catalysts, and result in significant increases in overall

 NOx emissions. Reduced urea dosing has the added advantage of lower urea consumption, which

 means lower operating costs and longer service intervals between having to fill the urea catalyst

 tank.

         167.   Thus, by putting the SCR in front of the DPF and employing the defeat devices,

 GM was able to market and sell Duramax-equipped trucks with power and efficiency

 characteristics that made them very appealing but also caused illegal levels of deadly NOx



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 pollution. If GM had not employed illegal defeat devices, then its trucks would have been less

 efficient and less powerful, meaning that GM would not have sold as many and would not have

 been able to charge a premium for them.

 E.     GM Promoted the Silverado and Sierra Duramax as Low Emission Vehicles Because
        It Knew the Environment Is Material to a Reasonable Consumer

        168.    GM understood that a vehicle’s pollution footprint is a factor in a reasonable

 consumer’s decision to purchase a vehicle. GM, in press releases, owner’s manuals, and brochures

 that it intended to reach the eyes of consumers, promoted the Duramax engine as delivering “low

 emissions” or having “reduced NOx emissions.” GM was acutely aware of this due to the public

 perception that diesels are “dirty.”

        169.    Here is an example of GM promoting clean diesel: 8




        170.    The following are examples of GM advertising promoting lower emissions, power,

 and fuel economy.




 8
  Exhibit 7 to the Duramax Class Complaint, Dkt 18-8, Five Diesel Myths Debunked, GM, available at
 http://www.torquenews.com/sites/default/files/image-119/%5Btitle-raw%5D/ dieselmyths_v2.jpg (last
 accessed May 24, 2017).

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        1.      Silverado advertising promises “a remarkable reduction” in emissions and
                fuel economy.

        171.    GM’s brochure for the Sierra Duramax engine promised “low emissions” and

 “great power”: 9

                DIRECT INJECTION TECHNOLOGY

                For fast starts in cold weather, quiet operation and maximum
                efficiency, the direct injection system helps Sierra HD with the
                available DURAMAX diesel engine start in as little as 3 seconds at
                -40°C and operates at nearly 30,000 psi to turn heavy diesel fuel into
                a fine mist, delivering low emissions and great power….

        172.    A 2011 Silverado GM publication promised a 63% reduction in emissions over the

 previous model and more horsepower and torque: 10

                New system reduces tailpipe NOx emissions

                The enhanced, legendary Duramax 6.6L Turbo-Diesel is the most
                powerful Duramax ever built-generating more horsepower and
                torque than any competitor. This proven powerplant gets the job
                done while being friendlier to the environment.

                The improved Duramax uses the latest emission control technology,
                reducing Nitrogen Oxide (NOx) emissions by a whopping 63%,
                when compared to the 2010 model. GM engineers determined the
                best way to accomplish this remarkable reduction of diesel
                emissions was to employ a Selective Catalytic Reduction (SCR)
                system that uses Diesel Exhaust Fluid (DEF).

                Diesel exhaust fluid (DEF)

                Diesel Exhaust Fluid (DEF) is a non-flammable fluid comprised of
                33% ammonia-based urea and 67% purified water. DEF is used with
                diesel engine exhaust systems to reduce the amount of emissions
                produced by turning Nitrogen Oxide (NOx) into nitrogen and water


 9
   Exhibit 8, to the Duramax Class Complaint, Dkt 18-9, 2016 Sierra 2500, GMC,
 http://www.gmc.com/previous-year/ sierra-2500hd-pickup-truck.html (last accessed May 24, 2017)
 (emphasis added). Nearly identical representations were made in the brochures for the 2011-2015 Sierra
 2500’s,
 10
    Exhibit 9 to the Duramax Class Complaint, Dkt 18-10, Using Diesel Exhaust Fluid with the Duramax
 6.6L Turbo-Diesel, Chevrolet (emphasis added).

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                   vapor. DEF technology has a proven track record since it has been
                   used in Europe for years.

            173.   The GM 2011 publication represented that the Duramax “runs cleaner.” 11




            174.   The publication went into detail concerning emissions reduction: 12




 11
      Id.
 12
      Id.

                                                   143
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        175.   The 2011 document contained additional information on reducing emissions: 13




        176.   A 2011 advertisement for the Duramax engine stated: 14


 13
   Id.
 14
   Exhibit 10 to the Duramax Class Complaint, Dkt 18-11, 6.6L Duramax LML, Duramax Hub,
 http://www.duramaxhub.com/lml.html (last accessed May 24, 2017) (emphasis added).

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                  6.6L Duramax LML
                  Duramax LML SPECS & INFO

                  The LML Duramax was released for 2011 model General Motors &
                  Chevrolet HD trucks. The latest version of the 6.6L Duramax
                  requires advanced emissions equipment, including the use of diesel
                  exhaust fluid injection, to reduce nitrogen oxide emission levels by
                  63 percent over LMM powered trucks.

        177.      Elsewhere, this document promises a reduction in NOx: 15

                  LML Duramax DEF

                  The LML Duramax is equipped with a SCR system that requires the
                  use of DEF (diesel exhaust fluid). DEF is injected into the exhaust
                  stream where a chemical reaction occurs that reduces NOx
                  emissions. The DEF tank is approximately 5 gallons (18.9 liters).
                  On pickup trucks, the DEF tank fill nozzle is located on the
                  passenger side, under the hood and is sealed by a blue cap. On vans,
                  the DEF tank fill nozzle is located in the fuel fill door, and is also
                  sealed by a blue cap. The DEF system will illuminate a warning
                  indicator in the instrument panel when the DEF fluid levels range is
                  estimated to be 1,000 miles. Subsequent warnings will follow.


        178.      A press release for the 2013 Silverado 2500 and 3500 indicates that “Highlights of

 the Duramax diesel include . . . greater fuel efficiency, improved performance and reduced

 emissions.” 16

        179.      A brochure for the 2014 Silverado promised fuel efficiency and lower emissions: 17

                  FUEL EFFICIENCY

                  On the Vortec 6.0L V8 engine, Variable Valve Timing (VVT)
                  adjusts airflow in and out of the combustion chamber under all
                  engine speeds, which helps lower emissions and improve fuel
                  economy.


 15
    Id.
 16
    Exhibit 11 to the Duramax Class Complaint, Dkt 18-12, GM Press Release, Chevrolet Silverado
 2500HD and 3500HD, available at https://media.gm.com/content/media/us/en/chevrolet/vehicles/
 silveradohd/2013/_jcr_content/iconrow/textfile/file.res/13_PG_Chevrolet_SilveradoHD.pdf (last accessed
 Aug. 3, 2017)
 17
    Exhibit 12 to the Duramax Class Complaint, Dkt 18-13, 2014 Silverado HD brochure, at 5.

                                                   145
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        2.        Sierra advertising promises emissions and fuel economy.

        180.      The Sierra 2500 and 3500 was introduced in 2011. GMC promised that the

 Duramax Diesel “delivers 11 percent better highway fuel economy than previous models.” GMC

 also promised that the engine turned the diesel by-product into a fine mist that results in “lower

 emissions”: 18




 18
   Exhibit 13 to the Duramax Class Complaint, Dkt 18-14, 2011 GMC Sierra Heavy Duty brochure,
 available at
 https://www.gmc.com/content/dam/GMC/global/master/nscwebsite/en/home/Tools/Download_A_Brochu
 re/01_Images/2011-sierra-2500-and-3500-brochure.pdf (last accessed Aug. 3, 2017).

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        181.       GM’s advertising for the Sierra consistently featured claims of “low emissions” and

 great power: 19

                   2016 Sierra 2500HD

                   DIRECT INJECTION TECHNOLOGY

                   For fast starts in cold weather, quiet operation and maximum
                   efficiency, the direct injection system helps Sierra HD with the
                   available Duramax diesel engine start in as little as 3 seconds at -
                   40°C and operates at nearly 30,000 psi to turn heavy diesel fuel into
                   a fine mist, delivering low emissions and great power.

        182.       An owner’s manual for the 2011 Duramax vehicles promised a “whopping

 reduction” in emissions: 20

                   NEW SYSTEM REDUCES TAILPIPE NOx EMISSIONS

                   The enhanced, legendary Duramax 6.6L Turbo-Diesel is the most
                   powerful Duramax ever built-generating more horsepower and
                   torque than any competitor. This proven powerplant gets the job
                   done while being friendlier to the environment.

                   The improved Duramax uses the latest emission control technology,
                   reducing Nitrogen Oxide (NOx) emissions by a whopping 63%,
                   when compared to the 2010 model. GM engineers determined the
                   best way to accomplish this remarkable reduction of diesel
                   emissions was to employ a Selective Catalytic Reduction (SCR)
                   system that uses Diesel Exhaust Fluid (DEF).

        183.       A 2011 GM press release promised more power and lower emissions: 21




 19
    Exhibit 8 to the Duramax Class Complaint, Dkt 18-9, 2016 Sierra 2500, GMC,
 http://www.gmc.com/previous-year/ sierra-2500hd-pickup-truck.html (last accessed May 24, 2017)
 (emphasis added)
 20
    Exhibit 9 to the Duramax Class Complaint, Dkt 18-10, Using Diesel Exhaust Fluid with the Duramax
 6.6L Turbo-Diesel, Chevrolet (emphasis added)
 21
    Exhibit 14 to the Duramax Class Complaint, Dkt 18-15, 2011 GMC Sierra 2500HD Denali 2500HD
 highlights and information, GMC Pressroom, http://media.gmc.com/media/us/en/gmc/vehicles/
 sierra_hd/2011.brand_gmc.html (last accessed May 24, 2017)

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                  New 6.6L Duramax diesel delivering more power, up to 11-percent
                  greater highway fuel economy up to 63- percent lower emissions,
                  B20 biodiesel capability and quicker acceleration

        184.      Another example, from the 2015 GMC Sierra 2500HD brochure, promises “lower

 emissions”: 22

                  FOR FASTER STARTS IN COLD WEATHER, QUIETER
                  OPERATION AND MAXIMUM EFFICIENCY, DIRECT
                  INJECTION HELPS THE AVAILABLE DURAMAX DIESEL
                  START IN AS LITTLE AS 3.0 SECONDS AT -40QF AND
                  OPERATE AT NEARLY 30,000 PSI TO TURN HEAVY DIESEL
                  FUEL INTO A FINE MIST, BURNING CLEANER AND
                  FASTER WITH LOWER EMISSIONS AND GREATER POWER
                  THAN THE PREVIOUS MODEL.

        185.      An advertisement for the 2014 GMC Sierra 2500HD promises “lower emissions”: 23

                  Duramax HIGH-PRESSURE DIRECT INJECTION For fast starts
                  in cold weather, quieter operation and maximum efficiency, the
                  direct-injection system operates at nearly 30,000 psi to turn heavy
                  diesel fuel into a fine mist, burning clean and fast with lower
                  emissions.

        186.      An advertisement for the 2013 GMC Sierra 2500HD promises “reduced emissions

 and a better fuel budget”: 24

                  Duramax B20 BIODIESEL CAPABILITY To reduce carbon
                  dioxide emissions and stretch your fuel budget, the Duramax 6.6L
                  can operate on B20 biodiesel a mix of 20 percent biodiesel from
                  domestic, renewable resources, and 80 percent petroleum diesel.




 22
    Exhibit 15 to the Duramax Class Complaint, Dkt 18-16, 2015 GMC Sierra 2500HD brochure, available
 at http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20SierraHD_ 2015-2.pdf (last
 accessed May 24, 2017) (emphasis added).
 23
    Exhibit 16 to the Duramax Class Complaint, Dkt 18-17, 2014 GMC Sierra 2500HD brochure, available
 at http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20SierraHD_ 2014.pdf (last accessed
 May 24, 2017) (emphasis added)
 24
    Exhibit 17 to the Duramax Class Complaint, Dkt 18-18, 2013 GMC Sierra 2500HD brochure, available
 at http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20Sierra_2013.pdf (last accessed May
 24, 2017).

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        187.      An advertisement for the 2012 GMC Sierra 2500HD promises “clean and lower

 emissions”: 25

                  Duramax HIGH-PRESSURE DIRECT INJECTION For fast starts
                  in cold weather, quieter operation and maximum efficiency, the
                  direct injection system operates at nearly 30,000 psi to turn heavy
                  diesel fuel into a fine mist, burning clean and fast with lower
                  emissions and greater power than the previous model.

        188.      A brochure for the 2011 Silverado promises that, “The new, available Duramax

 runs cleaner too, with a 60% reduction in NOx emissions from our previous model.”

        189.      A brochure for the 2013 Sierra promotes “cleaner” emissions:

                  DURAMAX HIGH-PRESSURE DIRECT INJECTION

                  For fast starts in cold weather, quieter operation and maximum
                  efficiency, the direct injection system operates at nearly 30,000 psi
                  to turn heavy diesel fuel into a fine mist, burning cleaner and faster
                  with lower emissions and greater power than the previous model.

        190.      A brochure for the 2014 Sierra promises to have been “born of a strict adherence to

 engineering excellence,” and lower emissions:

                  DURAMAX HIGH-PRESSURE DIRECT INJECTION

                  For fast starts in cold weather, quieter operation and maximum
                  efficiency, the direct-injection system operates at nearly 30,000 psi
                  to turn heavy diesel fuel into a fine mist, burning clean and fast with
                  lower emissions.


 F.     The Deception

        1.        The 2013 Silverado 2500 diesel test setup.




 25
   Exhibit 18 to the Duramax Class Complaint, Dkt 18-19, 2012 GMC Sierra 2500HD brochure, available
 at http://www.auto-brochures.com/makes/GMC/Sierra/GMC_US%20Sierra_2012.pdf (last accessed May
 24, 2017).

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        191.    Experts for Class Counsel in the Duramax Class Action have extensively tested a

 2013 Silverado 2500 diesel using a Portable Emissions Measurement System (PEMS). Below is

 a description of the testing and the results they reported.

        192.    The vehicle was representative of the class of Duramax diesel engines present in

 both the Chevrolet Silverado and GMC Sierra model years 2011 to 2016. The population of both

 the 2500 series and 3500 is large, though the population will most certainly be dominated by the

 2500 series. For this reason, a 2500 series was chosen.

        193.    The vehicle as acquired had approximately 51,000 miles. It was therefore less than

 mid-way through its full useful life and was still covered under the emissions warranty.

 Furthermore, the vehicle was factory certified at the time of purchase.

        194.    The vehicle went through a rigorous check-in process. The vehicle was placed on

 a hydraulic rack, the underbody cowlings were removed, and the emission control system was

 examined to confirm the configuration was as expected and that parts were intact and free from

 damage. The emissions tag was analyzed and compared to the expected emission control group to

 ensure beyond a shadow of a doubt that the right engine was present and is being compared to the

 right certified emission standard.

        195.    The vehicle was also checked for engine faults and maintenance to ensure the

 maintenance records are clean and that there are no fault codes related to the emission control

 system. In this case, the vehicle purchased was factory certified, as previously mentioned.

        196.    The tire pressure and vehicle weight were checked, and the vehicle was loaded to

 the weight for the test configuration, in this case 9,500 lbs, so that the configuration is equivalent

 to the certification configuration.

        2.      Initial results indicate higher than expected emissions.



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        197.    The testing confirmed that the vehicle complied with emissions standards at the

 temperature windows where the emissions test is performed for certification. But the NOx

 emissions increase significantly when the temperature is below 68ºF or above 86ºF. This means

 that GM, using software supplied by Bosch, employs a “defeat device” that allows the vehicle to

 meet emissions standards in the test temperature range. At all other times, NOx was allowed to be

 emitted in a much greater amount.

        198.    The experts created a special program that is specific to each vehicle to allow

 communication with the vehicle’s computer (ECM) in order to extract important operational

 information like exhaust temperatures, EGR rates, NOx concentrations upstream of the SCR

 catalysts, and other information the vehicle’s computer might collect.

        199.    The Silverado was certified at 100 mg/mile for the highway fuel economy standard

 test (HWFET), where the standard is 400 mg/mile. Initial testing at steady 60 mph speeds indicated

 emissions of 533 mg/mile on flat roads or 1.3 times the standard. The Silverado’s emission on flat

 roads for the stop and go standard was 538 mg/mile or 2.7 times the standard of 200 mg/mile.

        200.    Further testing was done by Class Counsel experts in stop-and-go conditions with

 average speeds and relative positive acceleration values that correlate well with the FTP-75

 emissions cycle. The blue dots show data where the defeat device below 68°F was active; the green

 dots represent conditions within the certification temperature window (68°F-86°F); the red dots

 represent data where the defeat device above 86°F was active. The vertical blue lines represent the

 temperature limits of the test standard for the test cycle, while the horizontal red line represents

 the emission standard.




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        201.    One important point must be emphasized in analyzing this data. The PEMS

 temperature sensor, which collects ambient temperature data, is mounted on top of the vehicle (i.e.,

 at roof level), shielded from the sun by horizontal white metal fins, and well ventilated. This is the

 ideal setup to collect the true ambient temperature of the surroundings without complication from

 the sun’s radiant heat or stagnant heating because of poor flow.

        202.    The vehicle’s ambient temperature sensor, by contrast, is usually mounted in front

 of the radiator close to the road. These sensors are not necessarily shielded from the sun and are

 highly susceptible to false readings at high ambient temperatures from heat generated by hot black

 top.




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        203.    When it comes to a defeat device based on ambient temperature, obviously the

 vehicle will be using its own sensors to trigger the defeat. There are several temperature sensors

 in the intake manifold for the engine, any combination of which could be used to trigger a defeat

 device (in addition to the possible use of the ambient temperature sensor). The temperature sensors

 may not directly measure ambient temperature but are certainly related to ambient temperature.

 Therefore, the cutoff temperatures, as measured by the PEMS ambient temperature sensor, are not

 necessarily exactly 68°F or 86°F.

        204.    It should be noted that the effect of ambient temperature on the inlet NOx

 concentrations, the inlet temperature to the SCR catalyst, and outlet temperature of the SCR

 catalyst were studied to rule out the possibility of delayed light-off because of low ambient

 temperature. When compared to cold start conditions within the certification temperature window,

 the cold start temperatures into and out of the SCR catalyst as well as the NOx concentrations into

 the SCR catalyst were found to be the same. Thus, the effect of ambient temperature on its own

 was ruled out as the cause of the high cold start emissions at cold temperature. Clearly, the engine

 was programmed to produce higher emissions at temperatures below 68°F.

        205.    The points labeled with a “C” are cold start tests, with distances, RPAs (relative

 positive accelerations), average speeds, and overall distance that represent very well the

 characteristics of the FTP-75 certification cycle. In the case of temperatures below 68°F, cold start

 emissions exceed the standard by a factor of 2.1 at 428 mg/mile of NOx with a maximum of 483

 mg/mile. During active regenerations, emissions are 1,402 mg/mile on average, or 7 times the

 emission standard. In the certification temperature window, cold start emissions are 178 mg/mile,

 which is close to the certification emissions of 200 mg/mile and below the standard of 200

 mg/mile. At temperatures above 86°F, cold start emissions were not examined in great detail



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 because hot start emissions were so far in excess of the standard. On average, emissions above

 86°F are 479 mg/mile (2.4 times the standard), with excursions as high 1,153 mg/mile (5.8 times

 the standard).

        206.      It should be noted, significantly, that the same high temperature behavior was

 observed in the Chevrolet Cruze and is part of that vehicle’s defeat strategy. Given that the

 Silverado is a Chevrolet product, it is not surprising that the same defeat strategy was employed.

        207.      Based on a study of temperatures in 30 major metropolitan areas as well as the

 demographics of Silverado sales, Class Counsel experts estimated that the high temperature defeat

 device is active 30-35% of the total population vehicle miles traveled (VMT). Similar estimates

 show that the cold temperature defeat device is active approximately 35% of the VMT. In total,

 these two defeat devices are active 65-70% of VMT with emissions that are 2.1 to 5.8 times the

 standard.

        208.      This type of emissions performance is not what a reasonable consumer would

 expect from a vehicle that “turns NOx into nitrogen and water vapor,” or “into a fine mist,” or

 “reduces emissions by a whopping amount.”

        3.        Further testing by Class Counsel experts demonstrates that GM—enabled by
                  Bosch’s EDC17—employs three defeat devices.

        209.      Further testing by experts for the Class Counsel for the Duramax Class Action was

 conducted so that the vehicle was tested for over 3,500 miles and over a wide range of conditions.

        210.      The testing confirmed the existence of three “defeat devices.” The three cheats, or

 defeat devices, are:

                  Defeat Device One:

                  The vehicles produce emissions above the certification tests at temperatures above
                  the certification range (86ºF).



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                Defeat Device Two:

                The vehicles produce higher emissions when temperatures are below the
                certification test range (68ºF).

                Defeat Device Three:

                Higher emissions occur after the vehicle has been run for 200-500 seconds of steady
                speed operation on average by a factor of 4.5 in all temperature windows.

                a.     Defeat Devices One and Two: the Temperature Defeat Devices

        211.    The test results for Defeat Device One, in stop and go testing with temperatures

 above 86ºF, were 2.4 times the emissions standard, with maximum measured emissions of 1,153

 mg/mile or 5.8 times the standard.

        212.    The test results for Defeat Device Two, in stop-and-go testing at temperatures

 below 68ºF, were 2.1 times the emissions standard.

        213.    Further testing at temperatures below 68ºF revealed that the vehicle had several

 active regenerations. Such regenerations were on average 7 times the emissions standard.

                b.     Defeat Device Three: the Steady Speed Time-Out Defeat

        214.    In controlled track testing at steady speed, following at steady speeds of 40, 50, and

 60 mph, the following observations were made. The blue line represents the NOx emissions in

 mg/mile, while the orange line shows vehicle speed in km/hour. What is clear is that NOx

 emissions increased over time and markedly about 500 seconds after the steady speed is achieved

 (40 mph in this case). This is counterintuitive as, if anything, emissions performance should

 improve as the catalyst warms ups. It should be noted, importantly, that this data was taken at

 ambient temperatures in the certification test window.




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        215.    In this case, the emissions increase by about a factor of 4, while the EGR rate and

 SCR reduction are significantly reduced. Note that CO2 emissions go down, which would be

 reflected in better fuel economy.

        216.    The motivation for such a defeat is simple. It increases the NOx going into the DPF,

 thereby ensuring better passive regeneration performance and, perhaps just as important, better

 fuel economy. Furthermore, decreasing the effectiveness of the SCR system economizes urea

 usage, which leads to improved customer satisfaction. Lower EGR rates and higher NOx mode are

 generally associated with better fuel economy.

        217.    An example of this timing defeat device is depicted below:

                                      40 mph Steady Operation




        218.    The same behavior is observed in the 50 mph test. Again, a large increase in

 emissions (factor of 2.2) with a drop in EGR rate, a small decrease in SCR rate, and a decrease in

 CO2 emissions (i.e., better fuel economy).




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        219.   At 60 mph, the same phenomenon was observed. Emissions double, while EGR

 rate and SCR reduction go down.




        220.   After observing this behavior on the test track, the experts reviewed previous over-

 the-road test data in a variety of steady speed conditions (mostly at approximately 60 mph) and

 found at least 22 instances where the same time phenomenon occurred.

        221.   The following table summarizes the events observed and measured by the experts:



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                                        Pre         After
                 Ambient              timeout     timeout                 Increase in NOx
                  Temp.                 NOx         NOx       Factor    (mg/mile) from pre-
  Condition        (°F)    Event #   (mg/mile)   (mg/mile)   Increase    timeout condition
  Downhill
  0.7%              55.5         1        200         422         2.1                  222
  Downhill
  0.4%              77.3         2        274         360         1.3                   86
  Flat                47         3        344         512         1.5                  168
  Uphill
  0.7%              63.6         4         62         197         3.2                  135
  Mild Hills          63         5        442         531         1.2                   89
  Downhill
  0.7%              52.5         6         17         276        16.2                  259
  Flat              47.6         7         21         191         9.1                  170
  Downhill
  0.4%              48.3         8         94         372         4.0                  278
  Downhill
  0.6%              53.3         9         47         265         5.6                  218
  Downhill
  0.5%              62.9        10        149         408         2.7                  259
  Flat              78.8        11        152         273         1.8                  121
  Downhill
  1.3%                70        12        152         596         3.9                  444
  Uphill
  1.3%              64.9        13        177       1428          8.1                 1251
  Slight hills      68.8        14        129        286          2.2                  157
  Downhill
  0.5%              62.6        15         37         203         5.5                  166
  Downhill
  0.4%                73        16         72         393         5.5                  321
  Flat              75.3        17         27         168         6.2                  141


                                        Pre         After
                 Ambient              timeout     timeout                 Increase in NOx
                  Temp.                 NOx         NOx       Factor    (mg/mile) from pre-
  Condition        (°F)    Event #   (mg/mile)   (mg/mile)   Increase    timeout condition
  Downhill
  0.7%              90.1        18         28         309        11.0                  281
  Downhill
  0.3%              87.9        19         61         164         2.7                  103
  Downhill
  0.2%              88.4        20         94         231         2.5                  137

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   Downhill
   1.4%                 67.3           21         475          778          1.6                    303
   Downhill
   0.3%               102.5            22         291          442          1.5                    151
                                                         Average            4.5                    248


        222.    The key conclusion here is that this defeat device appears to be active at all

 temperatures. In general, the “timeout” defeat device results in a factor of 4.5 increase in NOx

 once activated. The exact time for the defeat device to activate varies, but is generally 200-500

 seconds. At steady speed, the average increase in NOx once the defeat device kicks in is 248

 mg/mile.

        223.    On average, there is a reduction in the EGR rate (from 18.9% to 17.9% pre- and

 post-timer) and SCR effectiveness (from 90% to 74% pre- and post-timer). The de-rated use of the

 SCR system would result in significant savings in urea and would also ensure better operation of

 the downstream DPF.

                4.     The vehicles pollute heavily when driven on hills.

        224.    Hills are not part of the testing protocol for certification of new vehicles. However,

 it would be a material fact to a reasonable consumer to know that the GM vehicles were polluting

 during hill driving of levels above what a reasonable consumer would expect to be produced by

 “Eco” vehicles. Testing shows that hills are challenging for GM’s “clean diesels.”

        225.    The testing done on the Silverado indicates that in stop-and-go conditions on a hill

 with a grade of less than 1.5 percent, average emissions are 300 mg/mile with some excursions

 reading as high as 715 mg/mile. Note that road grades below 1.5 percent would be considered quite

 mild and are often encountered in areas that would be described as “flat.” Again, there appears to

 be a significant increase in emissions at ambient temperatures below the certification test window.



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        226.   When operating on grades above 1.5 percent, average emissions were 350 mg/mile

 with excursions up to 704 mg/mile.




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            227.   Some may assume that higher emissions uphill are offset by low emissions

 downhill when less power is needed. Not so. When testing on a downhill mild grade at

 temperatures below 68ºF average, emissions were 425 mg/mile, which is higher than the same

 grades uphill. At temperatures above 86ºF, average emissions were 760 mg/mile, with excursions

 up to 3,843 mg/mile. In the second plot, the 3,843 mg/mile data point is omitted so that data points

 closer to the standard can be easily viewed. Downhill grades steeper than 1.5% show similar

 results.




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        228.   When tested using highway speeds on grades less than 1.5 percent, average

 emissions are 340, 322, and 308 mg/mile for cold, mild, and high temperatures, with excursions

 as high as 1,794 mg/mile. Although higher exhaust temperatures are generated under the slightly

 higher load generated while traveling uphill, which should result in better SCR performance, it

 appears the Silverado produces emissions well above the standard across all temperature ranges.




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        229.   When tested using highway speeds on grades above 1.5 percent, EGR rates are

 reduced to maintain power and average emissions increase to 1,095 mg/mile, 833 mg/mile, and

 783 mg/mile for cold, mild, and high temperatures. Road grades were tested ranged between 1.8%

 and 4.4%. These road grades produce NOx emissions far in excess of the standard. Excursions as

 high as 2,621 mg/mile were observed.




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        230.   The same behavior is observed in mild downhill highway driving as observed with

 stop and go driving. These downhill emissions, which are generated under very low engine load,

 do not offset the extreme uphill NOx emissions. Although the vehicle is under significantly lower

 load than flat or uphill grades, NOx emissions are well above the standard with average emission

 rates of 420, 425, and 301 mg/mile for cold, mild, and high temperatures. Excursions as high as

 826 mg/mile are observed, and most data points tested fall well above the standard.




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        231.    Downhill grades steeper than 1.5% exhibit similar performance, though none of the

 data points tested fell below the standard. On average, emissions were 494, 565, and 398 mg/mile

 for cold, mild, and high temperatures. Excursions as high as 650 mg/mile are observed. In all cases,

 these emission rates are well in excess of the standard.




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        232.    In general, contrary to what a reasonable consumer would expect, the Silverados

 and Sierras pollute at high levels going both uphill and downhill.

                5.     The test vehicle is representative of all Sierra and Silverado vehicles.

        233.    Plaintiffs allege that the following GM models are affected by the unlawful, unfair,

 deceptive, and otherwise defective emission controls: 2011-2016 Silverado 2500HD/3500HD

 trucks and Sierra 2500HD/3500HD trucks.

        234.    Class Counsel experts did not test each model to derive plausible allegations that

 each Polluting Vehicle violates U.S. and CARB emissions standards and produces emissions

 beyond those a reasonable consumer would have expected when he or she purchased their vehicles.

 Class Counsel did not need to. As set forth in more detail below, all of the models share either

 identical or very similar engines and emissions systems, allowing experts to plausibly conclude



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 that all Fraudulent Vehicles violate U.S. and CARB standards and the expectations of a reasonable

 consumer.

           235.   GM itself grouped the engine used for both the Silverado and Sierra into the same

 application and test group. CARB and EPA certified the engines in the test group which means,

 from an emissions standpoint, the engines are considered identical.

           236.   All variants of the Silverado and Sierra sold in the U.S. are well represented by both

 the Plaintiffs’ list of vehicles and the test vehicles since GM did not change the engine in any

 significant way between 2011 and 2016; all vehicles employ the same generation of Duramax

 engine.

           237.   Experts for Class Counsel also conducted additional research into the technical

 literature to understand the various configurations of Duramax engines sold between 2011 and

 2016. The literature provides some insight into the architecture of the variants of the engines. In

 all cases, the engines are shown to have much more commonality than not, leading those experts

 to conclude that there is a strong basis for sufficient similarity or “sameness” to warrant inclusion

 on the list of Fraudulent Vehicles. The vehicles are either equivalent from an emissions standpoint

 to the test vehicles or use the same core technologies and engine platforms as the test vehicles.

 G.        This Is Not the Only GM Model to Employ This Deception

           238.   GM’s deceptive emissions practice are also found in the GM Chevy Cruze, giving

 rise to the inference that its emissions manipulation strategy occurred here and is part of an overall

 diesel strategy employed by GM and facilitated by Bosch.

           239.   This is what GM promised for the Chevy Cruze:




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        240.    Class Counsel for the Duramax Class Action has also tested the Cruze using a

 Portable Emissions Measurement System (PEMS). Testing revealed that the Cruze fails to meet

 U.S. emissions standards as promised. The U.S. standard on the HWFET test is 70 mg/mile. In

 steady highway driving at 60 mph, the Cruze averaged 128 mg/mile with a high of 557 mg/mile.

 In stop and go driving, the average was 182 mg/mile with a maximum of 689 mg/mile, or 3.6 to

 13.8 times the federal standard. When tested at temperatures below 50ºF, the NOx was 689

 mg/mile and it appears the emissions control system stops working. The same is true at

 temperatures over 85ºF, where NOx rates were tested and ran at 450 to 550 mg/mile. The Cruze

 thus has a defeat device similar to the devices in the Silverado and Sierras.

 H.     The Bosch EDC17

        241.    All modern engines are integrated with sophisticated computer components to

 manage the vehicle’s operation, such as an electronic diesel control. Bosch GmbH tested,

 manufactured, and sold the EDC system used by Volkswagen, FCA, Mercedes, and GM. This




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 system is more formally referred to as the Electronic Diesel Control Unit 17 (“EDC Unit 17” or

 “ED17”). Upon its introduction, EDC Unit 17 was publicly touted by Bosch as follows: 26

                EDC17 . . . controls every parameter that is important for effective,
                low-emission combustion.

                Because the computing power and functional scope of the new
                EDC17 can be adapted to match particular requirements, it can be
                used very flexibly in any vehicle segment on all the world’s markets.
                In addition to controlling the precise timing and quantity of
                injection, exhaust gas recirculation, and manifold pressure
                regulation, it also offers a large number of options such as the
                control of particulate filters or systems for reducing nitrogen oxides.
                The Bosch EDC17 determines the injection parameters for each
                cylinder, making specific adaptations if necessary. This improves
                the precision of injection throughout the vehicle’s entire service life.
                The system therefore makes an important contribution to observing
                future exhaust gas emission limits.

        242.    Bosch worked with each vehicle manufacturer that utilized EDC Unit 17 to create

 a unique set of specifications and software code to manage the vehicles’ engine operation.

        243.    Bosch’s EDC Unit 17 controls emissions by periodically reading sensor values,

 evaluating a control function, and controlling actuators based on the control signal. 27 Sensor

 readings include crankshaft position, air pressure, air temperature, air mass, fuel temperature, oil

 temperature, coolant temperature, vehicle speed, exhaust oxygen content, as well as driver inputs

 such as accelerator pedal position, brake pedal position, cruise control setting, and selected gear.

 Based on sensor input, EDC17 controls and influences the fuel combustion process including, in

 particular, fuel injection timing, which affects engine power, fuel consumption, and the

 composition of the exhaust gas. 28


 26
    See Exhibit 19 to the Duramax Class Complaint, Dkt 18-20, Bosch Press Release, The brain of diesel
 injection: New Bosch EDC17 engine management system (Feb. 28, 2006), http://www.bosch-
 presse.de/presseforum/details.htm?txtID=2603&locale=en.
 27
    Moritz Contag et al., How They Did It: An Analysis of Emission Defeat Devices in Modern
 Automobiles, p.4 (2017).
 28
    Id.

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         244.    All Bosch ECUs, including the EDC17, run on complex, highly proprietary engine

 management software over which Bosch exerts near-total control. In fact, the software is typically

 locked to prevent customers, like GM, from making significant changes on their own. Accordingly,

 both the design and implementation are interactive processes, requiring Bosch’s close

 collaboration with the automaker from beginning to end.

         245.    With respect to the Fraudulent Vehicles, the EDC 17 was used surreptitiously to

 evade emissions regulations. Bosch and GM worked together to develop and implement a specific

 set of software algorithms for implementation in the Fraudulent Vehicles, including algorithms to

 adjust fuel levels, exhaust gas recirculation, air pressure levels, and urea injection rates in vehicles

 equipped with SCR systems.

         246.    Bosch and GM worked together to develop and implement a specific set of software

 algorithms for implementation in the Fraudulent Vehicles, which enabled GM to adjust fuel levels,

 exhaust gas recirculation, air pressure levels, and even urea injection rates (for applicable

 vehicles). 29 When carmakers test their vehicles against EPA emission standards, they place their

 cars on dynamometers (large rollers) and then perform a series of specific maneuvers prescribed

 by federal regulations. Bosch’s EDC Unit 17 gave Volkswagen, GM, and other manufacturers the

 power to detect test scenarios by monitoring vehicle speed, acceleration, engine operation, air

 pressure, and even the position of the steering wheel. When the EDC Unit 17’s detection algorithm

 detected that the vehicle was on a dynamometer (and undergoing an emission test), additional

 software code within the EDC Unit 17 downgraded the engine’s power and performance and

 upgraded the emissions control systems’ performance by switching to a “dyno calibration” to cause


 29
   See, e.g., Exhibit 20 to the Duramax Class Complaint, Dkt 18-21, Engine management, Bosch Auto
 Parts, http://de.bosch-
 automotive.com/en/parts_and_accessories/motor_and_sytems/diesel/engine_management_2/engine_contr
 ol_unit_1 (last accessed May 24, 2017).

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 a subsequent reduction in emissions to legal levels. Once the EDC Unit 17 detected that the

 emission test was complete, the EDC Unit would then enable a different “road calibration” that

 caused the engine to return to full power while reducing the emissions control systems’

 performance, and consequently caused the vehicle to spew the full amount of illegal NOx

 emissions out on the road. 30 This process is illustrated in the following diagram, applicable to GM

 as well:




 30
   Exhibit 21 to the Duramax Class Complaint, Dkt 18-20, Russell Hotten, Volkswagen: The scandal
 explained, BBC (Dec. 10, 2015), http://www.bbc.com/news/business-34324772.

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        247.    This workaround was illegal. The Clean Air Act expressly prohibits defeat devices,

 defined as any auxiliary emission control device “that reduces the effectiveness of the emission

 control system under conditions which may reasonably be expected to be encountered in normal

 vehicle operation and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No new light-duty

 vehicle, light-duty truck, medium-duty passenger vehicle, or complete heavy-duty vehicle shall be

 equipped with a defeat device.”). Moreover, the Clean Air Act prohibits the sale of components

 used as defeat devices “where the person knows or should know that such part or component is

 being offered for sale or installed for such use or put to such use.” 42 U.S.C. § 7522(a)(3). Finally,

 in order to obtain a certificate of compliance (COC), automakers must submit an application that

 lists all auxiliary emission control devices installed in the vehicle, a justification for each, and an

 explanation of why the control device is not a defeat device.

        248.    Thus, in order to obtain the COCs necessary to sell their vehicles, GM did not

 disclose, and affirmatively concealed from government regulators, the presence of the test-

 detecting and performance-altering software code that it developed with Bosch, thus making that

 software an illegal defeat device. In other words, GM, working closely with Bosch, lied to the

 government, its customers, its dealers, and the public at large.

        249.    Because the COCs were fraudulently obtained, and because the Fraudulent

 Vehicles did not conform “in all material respects” to the specifications provided in the COC

 applications, the Fraudulent Vehicles were never covered by a valid COC, and thus were never

 legal for sale, nor were they EPA- and/or CARB- compliant as represented. GM and Bosch hid

 these facts from the EPA, CARB and other regulators, its dealers, and consumers, and it continued

 to sell and lease the Fraudulent Vehicles to the driving public despite their illegality and with the

 complicity of Bosch.



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        250.    GM’s illegal workaround was enabled by its close partnership with Bosch, which

 enjoyed a sizable portion of its annual revenue from manufacturing parts used in GM’s and other

 manufacturers’ diesel vehicles. 31 Bosch was well aware that GM was using its emissions control

 components as a defeat device and, in fact, worked with GM to develop the software algorithm

 specifically tailored for the Fraudulent Vehicles.

        251.    Because the COCs were fraudulently obtained, the Fraudulent Vehicles were never

 covered by valid COCs and thus were never offered legally for sale. GM hid these facts from the

 EPA, CARB and other state regulators, and consumers, and it continued to sell and lease the

 Fraudulent Vehicles despite their illegality and with the complicity of Bosch.

 I.     Bosch Played a Critical Role in the Defeat Device Scheme in Many Diesel Vehicles in
        the U.S., Giving Rise to a Strong Inference That Bosch Played a Key Role in
        Implementing the GM Emission Strategy

        252.    Although this case is not about Volkswagen, Bosch’s history with Volkswagen

 provides background and support for its participation in the RICO enterprise alleged herein, of

 which Bosch and GM were participants. On information and belief, Plaintiffs allege that the same

 level of coordination between Bosch and Volkswagen also occurred between Bosch and GM.

        1.      Volkswagen and Bosch conspire to develop the illegal defeat device.

        253.    Bosch tightly controlled development of the control units in the Fraudulent

 Vehicles and actively participated in the development of the defeat device.

        254.    As discussed above, Bosch introduced a new generation of diesel ECUs for

 Volkswagen.


 31
   Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology operations
 branch of Bosch, and Volkswagen was the biggest diesel manufacturer in the world. See Exhibit 22 to the
 Duramax Class Complaint, Dkt 18-21, Bosch probes whether its staff helped VW’s emissions rigging,
 Automotive News (Jan. 27, 2016),
 http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes- whether-its-staff-helped-
 vws-emissions-rigging

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        255.     A February 28, 2006 Bosch press release introduced the “New Bosch EDC17

 engine management system” as the “brain of diesel injection” which “controls every parameter

 that is important for effective, low-emission combustion.” The EDC17 offered “[e]ffective control

 of combustion” and a “[c]oncept tailored for all vehicle classes and markets.” In the press release,

 Bosch touted the EDC17 as follows: 32

                 EDC17: Ready for future demands

                 Because the computing power and functional scope of the new
                 EDC17 can be adapted to match particular requirements, it can be
                 used very flexibly in any vehicle segment on all the world’s markets.
                 In addition to controlling the precise timing and quantity of
                 injection, exhaust gas recirculation, and manifold pressure
                 regulation, it also offers a large number of options such as the
                 control of particulate filters or systems for reducing nitrogen oxides.
                 The Bosch EDC17 determines the injection parameters for each
                 cylinder, making specific adaptations if necessary. This improves
                 the precision of injection throughout the vehicle’s entire service life.
                 The system therefore makes an important contribution to observing
                 future exhaust gas emission limits.

        256.     Bosch and Volkswagen worked together closely to modify the software and to

 create specifications for each Volkswagen vehicle model. Indeed, customizing a road-ready ECU

 is an intensive three- to five-year endeavor involving a full-time Bosch presence at an automaker’s

 facility. Such was the case with GM as well.

        257.     All Bosch ECUs, including the EDC17, run on complex, highly proprietary engine

 management software over which Bosch exerts nearly total control. In fact, the software is

 typically locked to prevent customers, like Volkswagen and GM, from making significant changes

 on their own.




 32
   See Exhibit 19 to the Duramax Class Complaint, Dkt 18-20, Bosch press release, The brain of diesel
 injection: New Bosch EDC17 engine management system (Feb. 28, 2006), http://www.bosch-presse.de/
 presseforum/details.htm?txtID=2603&locale=en.

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        258.    Bosch’s security measures further confirm that its customers cannot make

 significant changes to Bosch software without Bosch involvement. Bosch boasts that its security

 modules protect vehicle systems against unauthorized access in every operating phase, meaning

 that no alteration could have been made without either a breach of that security—and no such

 claims have been advanced— or Bosch’s knowing participation. 33

        259.    Unsurprisingly, then, at least one car company engineer has confirmed that Bosch

 maintains absolute control over its software as part of its regular business practices: 34

                I’ve had many arguments with Bosch, and they certainly own the
                dataset software and let their customers tune the curves. Before each
                dataset is released it goes back to Bosch for its own validation.

                Bosch is involved in all the development we ever do. They insist on
                being present at all our physical tests and they log all their own data,
                so someone somewhere at Bosch will have known what was going
                on.

                All software routines have to go through the software verification of
                Bosch, and they have hundreds of milestones of verification, that’s
                the structure . . . .

                The car company is never entitled by Bosch to do something on their
                own.

        260.    Thus, Bosch GmbH and Bosch LLC cannot convincingly argue that the

 development of the Volkswagen defeat device was the work of a small group of rogue engineers.

        261.    In fact, Volkswagen’s and Bosch’s work on the EDC17 reflected a highly unusual

 degree of coordination. It was a massive project that required the work of numerous Bosch coders




 33
    Exhibit 23 to the Duramax Class Complaint, Dkt 18-22, Reliable Protection for ECUs, ESCRYPT
 (May 12, 2016), https://www.escrypt.com/en/news-events/protection-for-ecus.
 34
    Exhibit 24 to the Duramax Class Complaint, Dkt 18-23, Michael Taylor, EPA Investigating Bosch over
 VW Diesel Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/ epa-
 investigating-bosch-over-vw-diesel-cheater-software/.

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 for a period of more than ten years, or perhaps more. 35 Although Bosch publicly introduced the

 EDC17 in 2006, it had started to develop the engine management system years before. 36

         262.    In fact, Bosch was in on the secret and knew that Volkswagen was using Bosch’s

 software algorithm as an “on/off” switch for emission controls when the vehicles were undergoing

 testing. As noted above, it has been said the decision to cheat was an “open secret” at

 Volkswagen. 37 It was an “open secret” at Bosch as well.

         263.    Volkswagen and Bosch personnel employed code language for the defeat device,

 referring to it as the “acoustic function” (in German, “akustikfunktion”). As described above, the

 roots of the “akustikfunktion”—and likely the cheating—can be traced back to the late 1990s when

 Audi devised software called the “akustikfunktion” that could switch off certain functions when

 the vehicle was in a test mode. 38 The “akustik” term is derived from the function’s ability to modify

 the noise and vibration produced by the engine. News articles report that, in 2006, Volkswagen

 further developed this “akustikfunktion” for the affected vehicles. 39


 35
    Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology operations
 branch of Bosch, and Volkswagen was the biggest diesel manufacturer in the world. See Exhibit 22 to the
 Duramax Class Complaint, Dkt 18-23, Bosch Probes Whether Its Staff Helped VW’s Emissions Rigging,
 Automotive News (Jan. 27, 2016),
 http://www.autonews.com/article/20160127/COPY01/301279955/bosch-probes- whether-its-staff-helped-
 vws-emissions-rigging
 36
    Exhibit 19 to the Duramax Class Complaint, Dkt 18-20, Bosch press release, The brain of diesel
 injection: New Bosch EDC17 engine management system (Feb. 28, 2006), http://www.bosch-presse.de/
 presseforum/details.htm?txtID=2603&locale=en.
 37
    Exhibit 25 to the Duramax Class Complaint, Dkt 18-26, Georgina Prodham, Volkswagen probe finds
 manipulation was open secret in department, Reuters (Jan. 23, 2016), http://www.reuters.com/article/ us-
 volkswagen-emissions-investigation-idUSKCN0V02E7. See also Exhibit 26 to the Duramax Class
 Complaint, Dkt 18-27, Jay Ramey, VW chairman Poetsch: Company ‘tolerated breaches of rules’,
 Autoweek (Dec. 10, 2015), http://autoweek.com/article/vw-diesel-scandal/vw- chairman-poetsch-
 company-tolerated-breaches-rules (it was necessary for the “EA 189 engine to pass U.S. diesel emissions
 limits within the budget and time frame allotted”)
 38
    Exhibit 27 to the Duramax Class Complaint, Dkt 18-28, Martin Murphy, Dieselgate’s Roots Stretch
 Back to Audi, Handelsblatt Global (Apr. 19, 2016), https://global.handelsblatt.com/edition/413/
 ressort/companies-markets/article/dieselgates-roots-stretch-back-to-audi?ref=MTI 5ODU1.
 39
    Exhibit 25 to the Duramax Class Complaint, Dkt 18-26, Georgina Prodham, Volkswagen probe finds
 manipulation was open secret in department, Reuters (Jan. 23, 2016), http://www.reuters.com/ article/us-

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        264.    In sum, Bosch GmbH worked hand-in-glove with Volkswagen to develop and

 maintain the akustikfunktion/defeat device. On information and belief, it did so with GM as well.

        2.      Volkswagen and Bosch conspire to conceal the illegal “akustikfunktion.”

        265.    By 2007, and likely earlier, Bosch GmbH was critical not only in developing the

 “akustikfunktion” but also in concealing it.

        266.    Bosch GmbH was concerned about getting caught participating in the defeat device

 fraud. As reported in a German newspaper, Bild am Sonntag, and a French publication, a

 Volkswagen internal inquiry found that in 2007, Bosch GmbH warned Volkswagen by letter that

 using the emissions-altering software in production vehicles would constitute an “offense.” 40

        3.      Volkswagen and Bosch conspire in the U.S. and Germany to elude U.S.
                regulators who regulated not just Volkswagen diesels but all diesels.

        267.    The purpose of the defeat device was to evade stringent U.S. emissions standards.

 Once Bosch GmbH, Bosch LLC, and Volkswagen perfected the defeat device, therefore, their

 attention turned to deceiving U.S. regulators not just for the benefit of Volkswagen but also for the

 benefit of GM, Mercedes, and FCA.




 volkswagen-emissions-investigation-idUSKCN0V02E7. Volkswagen Group Chairman Hans Dieter
 Poetsch explained that a small group of engineers and managers was involved in the creation of the
 manipulating software. See Exhibit 26 to the Duramax Class Complaint, Dkt 18-27, Jay Ramey, VW
 chairman Poetsch: Company ‘tolerated breaches of rules’, Autoweek (Dec. 10, 2015),
 http://autoweek.com/article/vw-diesel-scandal/ vw-chairman-poetsch-company-tolerated-breaches-rules.
 See also Exhibit 21 to the Duramax Class Complaint, Dkt 18-22, Russell Hotten, Volkswagen: The
 scandal explained, BBC (Dec. 10, 2015), http://www.bbc.com/news/business-34324772; Exhibit 28 to
 the Duramax Class Complaint, Dkt 18-29, Matt Burt, VW emissions scandal: how Volkswagen’s ‘defeat
 device’ works, Autocar (Sept. 23, 2015), http://www.autocar.co.uk/car-news/industry/vw-emissions-
 scandal-how- volkswagens-defeat-device-works.
 40
    Exhibit 29 to the Duramax Class Complaint, Dkt 18-30, Bosch warned VW about illegal software use in
 diesel cars, report says, Automotive News (Sept. 27, 2015), http://www.autonews.com/
 article/20150927/COPY01/309279989/bosch-warned-vw-about-illegal-software- use-in-diesel-cars-
 report-says; Exhibit 30 to the Duramax Class Complaint, Dkt 18-31, VW Scandal: Company Warned over
 Test Cheating Years Ago, BBC (Sept. 27, 2015), http://www.bbc.com/news/ business-34373637.

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        268.    Bosch’s North American subsidiary, defendant Robert Bosch LLC, was also part

 of and essential to the fraud. Bosch LLC worked closely with Bosch GmbH and Volkswagen in

 the United States and in Germany to ensure that the non-compliant affected vehicles passed U.S.

 emissions tests. Bosch LLC employees frequently communicated with U.S. regulators and actively

 worked to ensure the affected vehicles were approved by regulators.

        269.    Employees of Bosch LLC, Bosch GmbH, and IAV provided specific information

 to U.S. regulators about how Volkswagen’s vehicles functioned and unambiguously stated that the

 vehicles met emissions standards. Bosch LLC regularly communicated to its colleagues and clients

 in Germany about ways to deflect and diffuse questions from U.S. regulators about the affected

 vehicles— particularly CARB.

        4.      Bosch keeps Volkswagen’s secret safe and pushes “clean” diesel in the U.S. as
                a concept applicable to all diesel car manufacturers.

        270.    Bosch not only kept Volkswagen’s dirty secret safe, it went a step further and

 actively lobbied lawmakers to push “clean diesel” in the U.S., including making affected vehicles

 available for regulators to drive.

        271.    As early as 2004, Bosch announced a push to convince U.S. automakers that its

 diesel technology could meet tougher 2007 U.S. emission standards. 41 Its efforts ended up being a

 multi-year, multi-million dollar effort involving key players from both Robert Bosch GmbH in

 Germany and Bosch LLC in the U.S.




 41
   Exhibit 31 to the Duramax Class Complaint, Dkt 18-32, Edmund Chew, Bosch boosts US diesel
 lobbying, Autonews (Mar. 8, 2004), http://www.autonews.com/article/20040308/SUB/403080876/ bosch-
 boosts-us-diesel-lobbying.

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         272.    Bosch’s promotion of diesel technology specifically targeted the U.S. For example,

 Bosch put on “California Diesel Days” 42 and “SAE World Congress in Detroit.” 43 In 2008, Bosch

 LLC and Volkswagen America co-sponsored the “Future Motion Made in Germany-Second

 Symposium on Modern Drive Technologies” at the German Embassy in Washington, D.C., with

 the aim of providing a venue for “stakeholders to gain insight into the latest technology trends and

 engage in a vital dialogue with industry leaders and policymakers.” 44

         273.    Bosch LLC hosted multi-day conferences open to many regulators and legislators

 and held private meetings with regulators in which it proclaimed extensive knowledge of the

 specifics of Volkswagen technology, including calibrations necessary for the affected vehicles to

 comply with emissions regulations.

         274.    In April 2009, Bosch LLC organized and hosted a two-day “California Diesel

 Days” event in Sacramento, California. Bosch invited a roster of lawmakers, journalists,

 executives, regulators, and NGOs 45 with the aim of changing perceptions of diesel from “dirty” to

 “clean.” The event featured affected vehicles as ambassadors of “clean diesel” technology,

 including a 2009 Volkswagen Jetta “green car.” The stated goals were to “build support for light-



 42
    Exhibit 32 to the Duramax Class Complaint, Dkt 18-33, Bosch drives clean diesel in California, Bosch,
 http://www.bosch.us/content/language1/html/734_4066.htm?section=
 28799C0E86C147799E02226E942307F2 (last accessed May 24, 2017).
 43
    See, e.g., Exhibit 33 to the Duramax Class Complaint, Dkt 18-34, Bosch Brings Innovation, Green
 Technology to SAE 2009 World Congress, Bosch,
 http://www.bosch.us/content/language1/html/734_7432.htm?section=CDAF31A468D9483198ED857706
 0384B3 (last accessed May 24, 2017)
 44
    Exhibit 34 to the Duramax Class Complaint, Dkt 18-35,Bosch: Clean Diesel is Key Part of Future
 Technology Mix, Bosch, http://us.bosch-press.com/tbwebdb/bosch-usa/en-US/PressText.cfm?
 CFID=60452038&CFTOKEN=9c778a2564be2c9b-56CC21B6-96AB-5F79-
 32445B13EC121DBE&nh=00&Search=0&id=364 (last accessed May 24, 2017)
 45
    Exhibit 32 to the Duramax Class Complaint, Dkt 18-33,Bosch drives clean diesel in California, Bosch,
 http://www.bosch.us/content/language1/html/734_4066.htm?section=28799C0E
 86C147799E02226E942307F2 (last accessed May 24, 2017); see also Exhibit 35 to the Duramax Class
 Complaint, Dkt 18-36,California Diesel Days, The U.S. Coalition for Advanced Diesel Cars,
 http://www.californiadieseldays.com/ (last accessed May 24, 2017)

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 duty diesel as a viable solution for achieving California’s petroleum and emission reduction

 objectives.”

        275.      In 2009, Bosch also became a founding member of the U.S. Coalition for Advanced

 Diesel Cars. 46 One of this advocacy group’s purposes included “promoting the energy efficiency

 and environmental benefits of advanced clean diesel technology for passenger vehicles in the U.S.

 marketplace.” 47 This group lobbies Congress, U.S. regulators, and the California Air Resources

 Board in connection with rules affecting “clean diesel” technology. 48

        276.      In 2010, Bosch sponsored the Virginia International Raceway with the support of

 the 2010 Volkswagen Jetta TDI Cup Series. This event included TDI vehicles featuring Bosch

 technology. 49

        277.      In 2012, Audi, BMW, Bosch, Daimler, Porsche, and Volkswagen joined to form

 The Clearly Better Diesel initiative. 50 The initiative was announced in Berlin by the German

 Association of the Automotive Industry. Its stated goal was to promote the sale of clean diesel

 vehicles in the U.S. The initiative’s slogan was “Clean Diesel. Clearly Better.”




 46
    Exhibit 36 to the Duramax Class Complaint, Dkt 18-37, Chrissie Thompson, New Coalition Aims To
 Promote Diesel Cars, Automotive News (Feb. 2, 2009), http://www.autonews.com/article/
 20090202/OEM06/302029728/new-coalition-aims-to-promote-diesel-cars.
 47
    Exhibit 37 to the Duramax Class Complaint, Dkt 18-38, About the Coalition, The U.S. Coalition for
 Advanced Diesel Cars, http://cleandieseldelivers.com/about/ (last accessed May 24, 2017).
 48
    Id. See also, e.g., Exhibit 38, Dkt 18-39, Letter to Chairman Mary Nichols and CARB concerning a
 statement made about diesel technology (Jan. 8, 2016), available at
 http://cleandieseldelivers.com/media/Mary-Nichols-Letter-01082016.pdf.
 49
    Exhibit 39 to the Duramax Class Complaint, Dkt 18-40, Volkswagen Jetta TDI Cup Drivers Take to the
 Track for the First Time in 2010 at VIR, Volkswagen of America, Inc. (April 23, 2010), available at
 http://www.prnewswire.com/news-releases/volkswagen-jetta-tdi-cup-drivers-take- to-the-track-for-the-
 first-time-in-2010-at-vir-91985604.html.
 50
    Exhibit 40 to the Duramax Class Complaint, Dkt 18-41, “Clean Diesel Clearly Better” Campaign for
 Clean Diesel Cars Welcomed, Diesel Technology Forum (Dec. 12, 2012), available at
 http://www.prnewswire.com/news-releases/clean-diesel-clearly-better-campaign- for-clean-diesel-cars-
 welcomed-183261432.html.

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        278.    In its efforts to promote “clean diesel,” including the affected vehicles, Bosch

 GmbH acted on behalf of its global group.

        5.      Bosch also made the EDC17 found in FCA vehicles that pollute excessively.

        279.    To appeal to environmentally conscious consumers, FCA vigorously markets its

 “EcoDiesel” vehicles as “clean diesel” with ultra-low emissions, high fuel economy, and powerful

 torque and towing capacity. FCA calls its EcoDiesel “ultra clean,” “emissions compliant,” and

 claims that “no NOx” exits the tailpipe. FCA charges a premium for EcoDiesel-equipped vehicles.

 For example, selecting the 3.0-liter EcoDiesel engine for the 2016 Dodge Ram 1500 Laramie adds

 $4,770 to the purchase price. And the 2016 Jeep Grand Cherokee Overland EcoDiesel costs $4,500

 more than its gasoline counterpart.

        280.    These representations are deceptive and false. FCA programmed its EcoDiesel

 vehicles to significantly reduce the effectiveness of the NOx reduction systems during real-world

 driving conditions. The EPA has determined that the affected vehicles contain defeat devices. On

 January 12, 2017, the EPA issued a Notice of Violation against FCA because FCA “failed to

 disclose Auxiliary Emission Control Devices (AECDs)” in the affected vehicles. 51 The EPA

 identified eight specific devices that cause the vehicle to perform effectively when being tested for

 compliance and then reduce the effectiveness of the emissions control system during normal

 operation and use




 51
   Exhibit 41 to the Duramax Class Complaint, Dkt 18-42,EPA’s January 12, 2017 Notice of Violation to
 FCA, available at https://www.epa.gov/sites/production/files/2017-01/documents/fca-caa-nov-2017- 01-
 12.pdf.

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         281.    “Once again,” said CARB Chair Mary D. Nichols about FCA’s cheating, “a major

 automaker made the business decision to skirt the rules and got caught.” 52

         282.    The same experts that tested the Silverado’s performance did on-road testing of the

 FCA vehicles and confirmed that FCA’s so-called EcoDiesel cars produced NOx emissions at an

 average of 222 mg/mile in city driving (four times the FTP standard of 50 mg/mile) and 353

 mg/mile in highway driving (five times higher than the U.S. highway standard of 70 mg/mile). In

 many instances, NOx values were in excess of 1,600 mg/mile, more than 20 times the standards.

 This testing occurred before the EPA announcement.

         283.    Bosch made the EDC17 for the polluting FCA vehicles.

         6.      Bosch GmbH also made the EDC17 found in polluting Mercedes diesels.

         284.    Experts tested the Mercedes diesel vehicles and made the first public disclosure of

 Mercedes’ unlawful conduct through certain of the counsel in this case in a civil suit filed in the

 District of New Jersey. Reportedly as a result of that lawsuit, Mercedes is under investigation by

 DOJ and German authorities with respect to its BlueTEC diesel vehicles. Over 14 Mercedes diesel

 models are alleged to produce emissions 8.1 to 19.7 times relevant standards. Bosch GmbH

 supplied the EDC17 in the polluting Mercedes vehicles.

 J.      The Damage from Excessive NOx

         285.    NOx contributes to ground-level ozone and fine particulate matter. According to

 the EPA, “Exposure to these pollutants has been linked with a range of serious health effects,

 including increased asthma attacks and other respiratory illnesses that can be serious enough to

 send people to the hospital. Exposure to ozone and particulate matter have also been associated



 52
   Exhibit 42 to the Duramax Class Complaint, Dkt 18-43,EPA News Release, EPA Notifies Fiat Chrysler
 of Clean Air Act Violations (Jan.12, 2017), available at https://www.epa.gov/newsreleases/epa- notifies-
 fiat-chrysler-clean-air-act-violations.

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 with premature death due to respiratory-related or cardiovascular-related effects. Children, the

 elderly, and people with pre-existing respiratory disease are particularly at risk for health effects

 of these pollutants.”

        286.    The EPA describes the danger of NOx as follows:




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        287.    A recent study published in NATURE estimates that there are 38,000 deaths

 worldwide due to excess NOx emissions.

        288.    GM and Bosch will not be able to make the Fraudulent Vehicles comply with

 emissions standards without substantially degrading their performance characteristics, including

 their horsepower and their fuel efficiency. As a result, even if GM and Bosch are able to make the

 Fraudulent Vehicles EPA-compliant, Plaintiffs will nonetheless suffer actual harm and damages

 because their vehicles will no longer perform as they did when purchased and as advertised. This

 will necessarily result in a diminution in value of every Polluting Vehicle and it will cause owners




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 of Fraudulent Vehicles to pay more for fuel while using their Fraudulent Vehicles; and it results

 in Plaintiffs overpaying for their vehicles at the time of acquisition.

        289.    Plaintiffs paid a premium of nearly $9,000, as GM charged more for its Duramax

 engine than a comparable gas car. For example, here is an advertisement for a 2016 Sierra 2500

 indicating the Duramax costs an additional $8,595: 53




 53
   Exhibit 43 to the Duramax Class Complaint, Dkt 18-44, 2016 Sierra 2500HD Build Your Own Vehicle
 webpage, http://www.gmfleet.com/previous-model-year/gmc/sierra-2500hd-heavy-duty- truck/build-
 your-own.html.

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        290.    As a result of GM’s unfair, deceptive, and/or fraudulent business practices, and its

 failure to disclose that under normal operating conditions the Fraudulent Vehicles are not “clean”

 diesels, emit more pollutants than do gasoline- powered vehicles, and emit more pollutants than

 permitted under federal and state laws, owners and/or lessees of the Fraudulent Vehicles have

 suffered losses in money and/or property. Had Plaintiffs known of the higher emissions at the time

 they purchased or leased their Fraudulent Vehicles, they would not have purchased or leased those

 vehicles, or would have paid substantially less for the vehicles than they did. Moreover, when and

 if GM recalls the Fraudulent Vehicles and degrades the GM Clean Diesel engine performance and

 fuel efficiency in order to make the Fraudulent Vehicles compliant with EPA standards, Plaintiffs

 will be required to spend additional sums on fuel and will not obtain the performance

 characteristics of their vehicles when purchased. Moreover, the Fraudulent Vehicles will

 necessarily be worth less in the marketplace because of their decrease in performance and

 efficiency and increased wear on their cars’ engines.

        291.    Without cheating emissions, GM could not achieve the fuel economy and range

 that it promises. Moreover, when and if GM recalls the Fraudulent Vehicles and degrades the

 Duramax engine performance in order to make the Fraudulent Vehicles compliant with EPA

 standards, Plaintiffs will be required to spend additional sums on fuel and will not obtain the

 performance characteristics of their vehicles as promised when purchased. And Fraudulent

 Vehicles will necessarily be worth less in the marketplace because of their decrease in performance

 and efficiency and increased wear on their vehicles’ engines and this results in an overpayment by

 Plaintiffs at the time of purchase.

 K.     The GM Scheme Is Just the Latest in a Worldwide Diesel Emissions Cheating Scandal
        That Adds Plausibility to the Allegations as Virtually All Diesel Manufacturers Are
        Falsely Advertising Their Vehicles.



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         292.    As noted, the world was shocked to learn that Volkswagen had manufactured over

 11 million cars that were on the road in violation of European emissions standards, and over

 480,000 vehicles were operating in the U.S. in violation of EPA and state standards. But

 Volkswagen was not the only manufacturer of vehicles that exceeded emissions standards.

         293.    In the wake of the major scandal involving Volkswagen and Audi diesel vehicles

 evading emissions standards with the help of certain software that manipulates emissions controls

 (called “defeat devices”), 54 scientific literature and reports and testing indicate that most of the

 diesel vehicle manufactures of so- called “clean diesel” vehicles emit far more pollution on the

 road than in lab tests. The EPA has widened its probe of auto emissions to include, for example,

 the Mercedes E250 BlueTEC.

         294.    In May 2015, a study conducted on behalf of the Dutch Ministry of Infrastructure

 and the Environment found that all sixteen vehicles made by a variety of manufacturers, when

 tested, emitted significantly more NOx on real- world trips while they passed laboratory tests. The

 report concluded that “[i]n most circumstances arising in normal situations on the road, the system

 scarcely succeeded in any effective reduction of NOx emissions.” 55

         295.    The report further remarked: 56

                 It is remarkable that the NOx emission under real-world conditions
                 exceeds the type approval value by [so much]. It demonstrates that

 54
    Exhibit 44 to the Duramax Class Complaint, Dkt 18-45,EPA’s Sept. 18, 2015 Notice of Violation to
 Volkswagen Group of America, Inc., available at https://www.epa.gov/sites/production/files/2015-
 10/documents/vw-nov-caa-09-18-15.pdf. As detailed in the NOV, software in Volkswagen and Audi
 diesel vehicles detects when the vehicle is undergoing official emissions testing and turns full emissions
 controls on only during the test. But otherwise, while the vehicle is running, the emissions controls are
 suppressed. This results in cars that meet emissions standards in the laboratory or at the state testing
 station, but during normal operation they emit NOx at up to 40 times the standard allowed under U.S.
 laws and regulations. Volkswagen has admitted to installing a defeat device in its diesel vehicles.
 55
    Exhibit 45 to the Duramax Class Complaint, Dkt 18-46,Detailed investigations and real-world emission
 performance of Euro 6 diesel passenger cars, TNO (May 18, 2015), http://publications.tno.nl/
 publication/34616868/a1Ug1a/TNO-2015-R10702.pdf.
 56
    Id. at 6 (emphasis added).

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                 the settings of the engine, the EGR and the SCR during a real-world
                 test trip are such that they do not result in low NOx emissions in
                 practice. In other words: In most circumstances arising in normal
                 situations on the road, the systems scarcely succeed in any
                 effective reduction of NOx emissions.

 The lack of any “effective reduction of NOx emissions” is a complete contradiction of GM’s claim

 that its vehicles are clean.

         296.    Other organizations are beginning to take notice of the emissions deception. The

 Transportation and Environment (T&E) organization, a European group aimed at promoting

 sustainable transportation, compiled data from “respected testing authorities around Europe.” T&E

 stated in September 2015 that real-world emissions testing showed drastic differences from

 laboratory tests such that models tested emitted more pollutants on the road than in their laboratory

 tests. “For virtually every new model that comes onto the market the gap between test and real-

 world performance leaps,” the report asserts. 57

         297.    In a summary report, T&E graphically depicted the widespread failure of most

 manufacturers: 58




 57
    Exhibit 46 to the Duramax Class Complaint, Dkt 18-47, VW’s cheating is just the tip of the iceberg,
 Transport & Environment (Sept. 21, 2015), http://www.transportenvironment.org/publications/
 vw%E2%80%99s-cheating-just-tip-iceberg.
 58
    Exhibit 47 to the Duramax Class Complaint, Dkt 18-48, Five facts about diesel the car industry would
 rather not tell you, Transport & Environment (Sept. 2015),
 http://www.transportenvironment.org/sites/te/files/publications/2015_09_Five_facts_about_diesel_FINA
 L.pdf.

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        298.    The T&E report found that the current system for testing cars in a laboratory

 produces “meaningless results.” 59

        299.    Emissions Analytics is a U.K. company which says that it was formed to “overcome

 the challenge of finding accurate fuel consumption and emissions figures for road vehicles.” With

 regard to its recent on-road emissions testing, the company explains: 60



 59
   Id.
 60
   Exhibit 48 to the Duramax Class Complaint, Dkt 18-49,Emissions Analytics Press Release (Sept. 28,
 2015), available at http://www.abvwc.com/home/emissions-analytics.

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                [I]n the European market, we have found that real-world emissions
                of the regulated nitrogen oxides are four times above the official
                level, determined in the laboratory. Real-world emissions of carbon
                dioxide are almost one- third above that suggested by official
                figures. For car buyers, this means that fuel economy on average is
                one quarter worse than advertised. This matters, even if no illegal
                activity is found.

                     TOLLING OF THE STATUTE OF LIMITATIONS

 A.     Discovery Rule Tolling

        300.    Plaintiffs had no way of knowing about GM’s deception with respect to the

 comparatively and unlawfully high emissions of its GM Clean Diesel engine system in the

 Fraudulent Vehicles. To be sure, GM continues to market the Fraudulent Vehicles as “clean”

 diesels that have lower emissions than gasoline vehicles and also continues to claim that the

 Fraudulent Vehicles comply with EPA emissions standards.

        301.    Within the period of any applicable statutes of limitation, Plaintiffs could not have

 discovered through the exercise of reasonable diligence that GM was concealing the conduct

 complained of herein and misrepresenting the Company’s true position with respect to the

 emission qualities of the Fraudulent Vehicles.

        302.    Plaintiffs did not discover, and did not know of, facts that would have caused a

 reasonable person to suspect that GM did not report information within its knowledge to federal

 and state authorities, its dealerships, or consumers; nor would a reasonable and diligent

 investigation have disclosed that GM had concealed information about the true emissions of the

 Fraudulent Vehicles, which was discovered by Plaintiffs only shortly before this action was filed.

 Nor in any event would such an investigation on the part of Plaintiffs have disclosed that GM

 valued profits over truthful marketing and compliance with the law.




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            303.   For these reasons, all applicable statutes of limitation have been tolled by operation

 of the discovery rule with respect to claims as to the Fraudulent Vehicles.

 B.         Fraudulent Concealment Tolling

            304.   All applicable statutes of limitation have also been tolled by GM’s knowing and

 active fraudulent concealment and denial of the facts alleged herein throughout the period relevant

 to this action.

            305.   Instead of disclosing its emissions scheme, or that the quality and quantity of

 emissions from the Fraudulent Vehicles were far worse than represented, and of its disregard of

 the law, GM falsely represented that the Fraudulent Vehicles had emissions cleaner than their

 gasoline-powered counterparts, complied with federal and state emissions standards, that the diesel

 engines were “clean,” and that it was a reputable manufacturer whose representations could be

 trusted.

 C.         Estoppel

            306.   GM was under a continuous duty to disclose to Plaintiffs the true character, quality,

 and nature of emissions from the Fraudulent Vehicles and of those vehicles’ emissions systems.

            307.   GM knowingly, affirmatively, and actively concealed or recklessly disregarded the

 true nature, quality, and character of the emissions systems, and the emissions, of the Fraudulent

 Vehicles.

            308.   Based on the foregoing, GM is estopped from relying on any statutes of limitations

 in this action.




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                                      CLAIMS FOR RELIEF

                                       FEDERAL CLAIMS

                            FEDERAL COUNT 1
         FEDERAL COUNT VIOLATIONS OF RACKETEER INFLUENCED AND
                   CORRUPT ORGANIZATIONS ACT (RICO)
                    VIOLATION OF 18 U.S.C. § 1962(C), (D)
                          (On behalf of all Plaintiffs)

        309.    Plaintiffs incorporate by reference each preceding and succeeding paragraph as

 though fully set forth herein.

        310.    Plaintiffs bring this Count against Defendants GM, Robert Bosch GmbH, and

 Robert Bosch LLC (collectively, the “RICO Defendants” for purposes of this Count).

        311.    The RICO Defendants are all “persons” under 18 U.S.C. § 1961(3) because they

 are capable of holding, and do hold, “a legal or beneficial interest in property.”

        312.    Section 1962(c) makes it “unlawful for any person employed by or associated with

 any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

 conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

 pattern of racketeering activity.” Section 1962(d), in turn, makes it unlawful for “any person to

 conspire to violate.”

        313.    For many years now, the RICO Defendants have aggressively sought to increase

 the sales of Fraudulent Vehicles in an effort to bolster revenue, augment profits, and increase GM’s

 share of the diesel truck market. Finding it impossible to achieve their goals lawfully, however,

 the RICO Defendants resorted instead to orchestrating a fraudulent scheme and conspiracy. In

 particular, the RICO Defendants, along with other entities and individuals, created and/or

 participated in the affairs of an illegal enterprise (“Clean Diesel Fraud Enterprise”) whose direct

 purpose was to deceive the regulators and the public into believing the Fraudulent Vehicles were



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 “clean” and “environmentally friendly.” As explained in greater detail below, the RICO

 Defendants’ acts in furtherance of the Clean Diesel Fraud Enterprise violate Section 1962(c) and

 (d).

        1.     The members of the Clean Diesel Fraud Enterprise

        314.   Upon information and belief, the Clean Diesel Fraud Enterprise consisted of at least

 the following entities and individuals: GM, Robert Bosch GmbH, and Robert Bosch LLC.

        315.   Robert Bosch GmbH and Robert Bosch LLC tested, manufactured, and sold the

 electronic control module (ECM) that managed the emissions control system used by GM in the

 Fraudulent Vehicles. This particular ECM is more formally referred to as the Electronic Diesel

 Control Unit 17.

        316.   Defendant Bosch GmbH is a multinational engineering and electronics company

 headquartered in Gerlingen, Germany, which has hundreds of subsidiaries and companies. It

 wholly owns defendant Bosch LLC, a Delaware limited liability company headquartered in

 Farmington Hills, Michigan. As explained above, Bosch’s sectors and divisions are grouped by

 subject matter, not location. Mobility Solutions (formerly Automotive Technology) is the Bosch

 sector at issue, particularly its Diesel Services division, and it encompasses employees of Bosch

 GmbH and Bosch LLC. These individuals were responsible for the design, manufacture,

 development, customization, and supply of the defeat device to GM for use in the Fraudulent

 Vehicles.

        317.   Bosch worked with GM, Volkswagen, Mercedes, and FCA to develop and

 implement a specific and unique set of software algorithms to surreptitiously evade emissions

 regulations. Bosch customized their EDC Unit 17s for installation in the Fraudulent Vehicles with




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 unique software code to detect when it was undergoing emissions testing, as described above, and

 did so for other vehicles with defeat devices in Volkswagen and Mercedes vehicles. 61

        318.    Bosch’s conduct with respect to Volkswagen and other manufacturers, outlined

 below, adds plausibility to its participation in the enterprise described herein. For example, Bosch

 was well aware that the EDC Unit 17 would be used by automobile manufacturers, including GM,

 to cheat on emissions testing. Bosch was also critical to the concealment of the defeat device in

 communications with U.S. regulators and went even further to actively lobby U.S. lawmakers on

 behalf of Volkswagen and its “clean diesel” vehicles.

        319.    EDC Unit 17 could not effectively lower NOx emissions to legal levels during

 normal operating conditions. In order to pass the emissions test, then, EDC Unit 17 is equipped

 with a “defeat device,” which is software that allows the vehicle to determine whether it is being

 operated under normal conditions or testing conditions.

        320.    The EDC 17 ECU was manufactured by Bosch GmbH and sold to GM. Bosch built

 the ECU hardware and developed the software running in the ECU. Bosch developed a “function

 sheet” that documents the functional behavior of a particular release of the ECU firmware. All

 function sheets used in the GM EDC, on information and belief, bear a “Robert Bosch GmbH”

 copyright.

        321.    As was publicly reported, the Bosch defendants, seeking to conceal their

 involvement in the unlawful Clean Diesel Fraud Enterprise, sent a letter to Volkswagen AG in

 2007 stating that Volkswagen Diesels could not be lawfully operated if the LNT or SCR after-




 61
   Exhibit 24 to the Duramax Class Complaint, Dkt 18-25, Michael Taylor, EPA Investigating Bosch over
 VW Diesel Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/ epa-
 investigating-bosch-over-vw-diesel-cheater-software/.

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 treatment system was disabled. 62 The exact same logic applies to the GM Fraudulent Vehicles—

 i.e., they could not be lawfully operated with the defeat device.

        322.    Indeed, notwithstanding their knowledge that the Volkswagen Diesels could not be

 lawfully operated if the emissions system was disabled, the Bosch defendants, driven to cement

 their position as a leading supplier of diesel emissions equipment, went on to sell approximately

 eleven million EDC Unit 17s to Volkswagen over an eight-year period and sold hundreds of

 thousands of EDC units to GM for use in Fraudulent Vehicles, as well as hundreds of thousands

 of units to Mercedes and FCA. 63

        323.    The persons and entities described in the preceding section are members of and

 constitute an “association-in-fact” enterprise.

        324.    At all relevant times, the Clean Diesel Fraud Enterprise: (a) had an existence

 separate and distinct from each Defendant; (b) was separate and distinct from the pattern of

 racketeering in which the RICO Defendants engaged; and (c) was an ongoing organization

 consisting of legal entities, including GM, the Bosch defendants, and other entities and individuals

 associated for the common purpose of designing, manufacturing, distributing, testing, and selling

 the Fraudulent Vehicles through fraudulent COCs and EOs, false emissions tests, deceptive and

 misleading marketing and materials, and deriving profits and revenues from those activities. Each

 member of the Clean Diesel Fraud Enterprise shared in the bounty generated by the enterprise—

 i.e., by sharing the benefit derived from increased sales revenue generated by the scheme to defraud

 consumers and franchise dealers alike nationwide.


 62
    Exhibit 49 to the Duramax Class Complaint, Dkt 18-50, Stef Shrader, Feds Are Now Investigating
 Volkswagen Supplier Bosch Over Dieselgate, Jalopnik (Nov. 19, 2015), http://jalopnik.com/feds-are-now-
 investigating-volkswagen-supplier-bosch-ov-1743624448.
 63
    Exhibit 24 to the Duramax Class Complaint, Dkt 18-25, Michael Taylor, EPA Investigating Bosch over
 VW Diesel Cheater Software, Car and Driver (Nov. 23, 2015), http://blog.caranddriver.com/ epa-
 investigating-bosch-over-vw-diesel-cheater-software/.

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        325.    The Clean Diesel Fraud Enterprise functioned by selling vehicles and component

 parts to the consuming public. Many of these products are legitimate, including vehicles that do

 not contain defeat devices and software capable of allowing the engine to manipulate the software

 such that the emissions system is turned on or off at certain times. However, the RICO Defendants

 and their co- conspirators, through their illegal Enterprise, engaged in a pattern of racketeering

 activity, which involves a fraudulent scheme to increase revenue for Defendants and the other

 entities and individuals associated-in-fact with the Enterprise’s activities through the illegal

 scheme to sell the Fraudulent Vehicles.

        326.    The Clean Diesel Fraud Enterprise engaged in and its activities affected interstate

 and foreign commerce because it involved commercial activities across state boundaries, such as

 the marketing, promotion, advertisement and sale or lease of the Fraudulent Vehicles throughout

 the country and the receipt of monies from the sale of the same.

        327.    Within the Clean Diesel Fraud Enterprise, there was a common communication

 network by which co-conspirators shared information on a regular basis. The Clean Diesel Fraud

 Enterprise used this common communication network for the purpose of manufacturing,

 marketing, testing, and selling the Fraudulent Vehicles to the general public nationwide.

        328.    Each participant in the Clean Diesel Fraud Enterprise had a systematic linkage to

 each other through corporate ties, contractual relationships, financial ties, and continuing

 coordination of activities. Through the Clean Diesel Fraud Enterprise, the RICO Defendants

 functioned as a continuing unit with the purpose of furthering the illegal scheme and their common

 purposes of increasing their revenues and market share, and minimizing losses.

        329.    The RICO Defendants participated in the operation and management of the Clean

 Diesel Fraud Enterprise by directing its affairs, as described herein. While the RICO Defendants



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 participated in, and are members of, the enterprise, they have a separate existence from the

 enterprise, including distinct legal statuses, different offices and roles, bank accounts, officers,

 directors, employees, individual personhood, reporting requirements, and financial statements.

        330.    GM exerted substantial control and participated in the affairs of the Clean Diesel

 Fraud Enterprise by:

        a.      Designing in conjunction with Robert Bosch GmbH the Fraudulent
                Vehicles with defeat devices;

        b.      Failing to correct or disable the defeat devices;

        c.      Manufacturing, distributing, and selling the Fraudulent Vehicles
                that emitted greater pollution than allowable under the applicable
                regulations;

        d.      Misrepresenting and omitting (or causing such misrepresentations
                and omissions to be made) vehicle specifications on COC and EO
                applications;

        e.      Introducing the Fraudulent Vehicles into the stream of U.S.
                commerce without a valid COC and/or EO;

        f.      Concealing the existence of the defeat devices and the unlawfully
                high emissions from regulators and the public;

        g.      Persisting in the manufacturing, distribution, and sale of the
                Fraudulent Vehicles even after questions were raised about the
                emissions testing and discrepancies concerning the same;

        h.      Misleading government regulators as to the nature of the defeat
                devices and the defects in the Fraudulent Vehicles;

        i.      Misleading the driving public as to the nature of the defeat devices
                and the defects in the Fraudulent Vehicles;

        j.      Designing and distributing marketing materials that misrepresented
                and concealed the defects in the vehicles;

        k.      Otherwise misrepresenting or concealing the defective nature of the
                Fraudulent Vehicles from the public and regulators; and




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        l.      Illegally selling and/or distributing the Fraudulent Vehicles;
                collecting revenues and profits from the sale of such products; and
                ensuring that the other RICO Defendants and unnamed co-
                conspirators complied with the fraudulent scheme.


        331.    Bosch also participated in, operated, and/or directed the Clean Diesel Fraud

 Enterprise. Bosch participated in the fraudulent scheme by manufacturing, installing, testing,

 modifying, and supplying the EDC Unit 17 which operated as a “defeat device” in the Fraudulent

 Vehicles. Bosch exercised tight control over the coding and other aspects of the defeat device

 software and closely collaborated with GM to develop, customize, and calibrate the defeat devices.

 Additionally, Bosch continuously cooperated with GM to ensure that the EDC Unit 17 was fully

 integrated into the Fraudulent Vehicles. Bosch also participated in the affairs of the Enterprise by

 concealing the defeat devices on U.S. documentation and in communications with U.S. regulators.

 Bosch collected tens of millions of dollars in revenues and profits from the hidden defeat devices

 installed in the Fraudulent Vehicles.

        332.    Without the RICO Defendants’ willing participation, including Bosch’s active

 involvement in developing and supplying the critical defeat devices for the Fraudulent Vehicles,

 the Clean Diesel Fraud Enterprise’s scheme and common course of conduct would not have been

 successful.

        333.    The RICO Defendants directed and controlled the ongoing organization necessary

 to implement the scheme at meetings and through communications of which Plaintiffs cannot fully

 know at present because such information lies in the Defendants’ and others’ hands.

        334.    The members of the Clean Diesel Fraud Enterprise all served a common purpose;

 namely, to outsell their law-abiding competitors and increase their revenues through the sale of as

 many Fraudulent Vehicles (including the emissions components made and sold by Bosch) as



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 possible. Each member of the Clean Diesel Fraud Enterprise shared the bounty generated by the

 enterprise—i.e., by sharing the benefit derived from increased sales revenue generated by the

 scheme to defraud. GM sold more Fraudulent Vehicles by utilizing an emissions control system

 that was cheaper to install and allowed for generous performance and efficiency tuning, all while

 charging consumers a premium for purportedly “clean” and “fuel efficient” Fraudulent Vehicles.

 The Bosch defendants, in turn, sold more EDC Units because GM manufactured and sold more

 Fraudulent Vehicles. The RICO Defendants achieved their common purpose by repeatedly

 misrepresenting and concealing the nature of the Fraudulent Vehicles and the ability of the

 emissions control systems (including the Bosch-supplied parts) to effectively reduce toxic

 emissions during normal operating conditions.

        335.    The RICO Defendants continued their enterprise even after the Volkswagen

 scandal became public in September 2015. GM continued to manufacture and sell 2016 Fraudulent

 Vehicles. Assuming top executives at GM did not know of the defeat devices in its vehicles (an

 assumption not true of Volkswagen or Bosch), a responsible chief executive would have inquired:

 Do we have a diesel problem? Either top executives at GM failed to ask questions or they agreed

 to continue a cover-up because GM did not stop selling Fraudulent Vehicles and has continued to

 conceal the truth.

        2.      The Predicate Acts

        336.    To carry out, or attempt to carry out, the scheme to defraud, the RICO Defendants

 conducted or participated in the conduct of the affairs of the Clean Diesel Fraud Enterprise through

 a pattern of racketeering activity that employed the use of mail and wire facilities, in violation of

 18 U.S.C. §§ 1341 (mail fraud) and 1343 (wire fraud).




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        337.    Specifically, the RICO Defendants participated in the scheme to defraud by using

 mail, telephone, and the Internet to transmit writings travelling in interstate or foreign commerce.

        338.    The RICO Defendants’ use of the mails and wires include but are not limited to the

 transmission, delivery, or shipment of the following by the RICO Defendants or third parties that

 were foreseeably caused to be sent as a result of Defendants’ illegal scheme:

        a.      Application for certificates submitted to the EPA and CARB;

        b.      The Fraudulent Vehicles themselves;

        c.      Component parts for the defeat devices;

        d.      Essential hardware for the Fraudulent Vehicles;

        e.      Falsified emission tests;

        f.      Fraudulently-obtained COCs and EOs;

        g.      Vehicle registrations and plates as a result of the fraudulently-
                obtained COCs and EOs;

        h.      Documents and communications that facilitated the falsified
                emission tests;

        i.      False or misleading communications intended to lull the public and
                regulators from discovering the defeat devices and/or other auxiliary
                devices;

        j.      Sales and marketing materials, including advertising, websites,
                product packaging, brochures, and labeling, which misrepresented
                and concealed the true nature of the Fraudulent Vehicles;

        k.      Documents intended to facilitate the manufacture and sale of the
                Fraudulent Vehicles, including bills of lading, invoices, shipping
                records, reports and correspondence;

        l.      Documents to process and receive payment for the Fraudulent
                Vehicles by unsuspecting franchise dealers, including invoices and
                receipts;

        m.      Payments to Bosch;



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        n.      Deposits of proceeds;

        o.      SEC filings where GM has failed to disclose the scheme and has
                continued to do so post the Volkswagen scandal; and

        p.      Other documents and things, including electronic communications.


        339.    The RICO Defendants utilized the interstate and international mail and wires for

 the purpose of obtaining money or property by means of the omissions, false pretense, and

 misrepresentations described therein.

        340.    The RICO Defendants also used the Internet and other electronic facilities to carry

 out the scheme and conceal the ongoing fraudulent activities. Specifically, GM made

 misrepresentations about the Fraudulent Vehicles on GM websites, YouTube, and through ads

 online, all of which were intended to mislead regulators and the public about the fuel efficiency,

 emissions standards, and other performance metrics.

        341.    The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

 and by interstate electronic mail with various other affiliates, regional offices, divisions,

 dealerships, and other third-party entities in furtherance of the scheme.

        342.    The mail and wire transmissions described herein were made in furtherance of

 Defendants’ scheme and common course of conduct to deceive regulators and consumers and lure

 consumers into purchasing the Fraudulent Vehicles, which Defendants knew or recklessly

 disregarded as emitting illegal amounts of pollution, despite their advertising campaign that the

 Fraudulent Vehicles were “clean” diesel cars or vehicles with a “remarkable reduction in

 emission.”

        343.    Many of the precise dates of the fraudulent uses of U.S. Mail and interstate wire

 facilities have been deliberately hidden and cannot be alleged without access to Defendants’ books



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 and records. However, Plaintiffs have described the types of, and in some instances, occasions on

 which the predicate acts of mail and/or wire fraud occurred. They include thousands of

 communications to perpetuate and maintain the scheme, including the things and documents

 described in the preceding paragraphs.

        344.    The RICO Defendants have not undertaken the practices described herein in

 isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d), the

 RICO Defendants conspired to violate 18 U.S.C. § 1962(c), as described herein. Various other

 persons, firms, and corporations, including third-party entities and individuals not named as

 defendants in this Complaint, have participated as co-conspirators with the RICO Defendants in

 these offenses and have performed acts in furtherance of the conspiracy to increase or maintain

 revenues, increase market share, and/or minimize losses for the Defendants and their unnamed co-

 conspirators throughout the illegal scheme and common course of conduct.

        345.    The RICO Defendants aided and abetted others in the violations of the above laws,

 thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

        346.    To achieve their common goals, the RICO Defendants hid from the general public

 the unlawfulness and emission dangers of the Fraudulent Vehicles and obfuscated the true nature

 of the defect even after regulators raised concerns. The RICO Defendants suppressed and/or

 ignored warnings from third parties, whistleblowers, and governmental entities about the

 discrepancies in emissions testing and the defeat devices present in the Fraudulent Vehicles.

        347.    The RICO Defendants and each member of the conspiracy, with knowledge and

 intent, have agreed to the overall objectives of the conspiracy and participated in the common

 course of conduct to commit acts of fraud and indecency in designing, manufacturing, distributing,




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 marketing, testing, and/or selling the Fraudulent Vehicles (and the defeat devices contained

 therein).

         348.   Indeed, for the conspiracy to succeed, each of the RICO Defendants and their co-

 conspirators had to agree to implement and use the similar devices and fraudulent tactics—

 specifically, complete secrecy about the defeat devices in the Fraudulent Vehicles.

         349.   The RICO Defendants knew and intended that government regulators, as well as

 Plaintiffs, would rely on the material misrepresentations and omissions made by them about the

 Fraudulent Vehicles. The RICO Defendants knew and intended that Plaintiffs would incur costs

 and damages as a result. As fully alleged herein, Plaintiffs relied upon Defendants’ representations

 and omissions that were made or caused by them. Plaintiffs’ reliance is made obvious by the fact

 that: (1) they purchased hundreds of thousands of vehicles that never should have been introduced

 into the U.S. stream of commerce and whose worth is far less than was paid. In addition, the EPA,

 CARB, and other regulators relied on the misrepresentations and material omissions made or

 caused to be made by the RICO Defendants; otherwise, GM could not have obtained valid COCs

 and EOs to sell the Fraudulent Vehicles.

         350.   The RICO Defendants’ conduct in furtherance of this scheme was intentional.

 Plaintiffs were harmed as a result of the RICO Defendants’ intentional conduct. Plaintiffs,

 regulators, and consumers, among others, relied on the RICO Defendants’ material

 misrepresentations and omissions.

         351.   As described herein, the RICO Defendants engaged in a pattern of related and

 continuous predicate acts for many years. The predicate acts constituted a variety of unlawful

 activities, each conducted with the common purpose of defrauding Plaintiffs and obtaining

 significant monies and revenues from them and through them while providing Fraudulent Vehicles



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 worth significantly less than the invoice price paid. The predicate acts also had the same or similar

 results, participants, victims, and methods of commission. The predicate acts were related and not

 isolated events.

        352.    The predicate acts all had the purpose of generating significant revenue and profits

 for the RICO Defendants at the expense of Plaintiffs and consumers. The predicate acts were

 committed or caused to be committed by the RICO Defendants through their participation in the

 Clean Diesel Fraud Enterprise and in furtherance of its fraudulent scheme, and were interrelated

 in that they involved obtaining Plaintiffs’ funds, artificially inflating the brand and dealership

 goodwill values, and avoiding the expenses associated with remediating the Fraudulent Vehicles.

        353.    During the design, manufacture, testing, marketing, and sale of the Fraudulent

 Vehicles, the RICO Defendants shared technical, marketing, and financial information that plainly

 revealed the emissions control systems in the Fraudulent Vehicles as the ineffective, illegal, and

 fraudulent piece of technology they were and are. Nevertheless, the RICO Defendants shared and

 disseminated information that deliberately represented Fraudulent Vehicles as “clean,”

 “environmentally friendly,” and “fuel efficient.”

        354.    By reason of and as a result of the conduct of the RICO Defendants, and in

 particular its pattern of racketeering activity, Plaintiffs have been injured in multiple ways,

 including but not limited to:

        a.          Overpayment for Fraudulent Vehicles, in that Plaintiffs at the time of purchase

                    believed they were paying for vehicles that met certain emission and fuel

                    efficiency standards and obtained vehicles that did not meet these standards and

                    were worth less than what was paid;




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        b.       The value of the Fraudulent Vehicles has diminished, thus reducing their sale and

                 resale value, and has resulted in a loss of property for Plaintiffs; and

        c.       Plaintiffs have been wrongfully deprived of their property in that the price for their

                 vehicles was artificially inflated by deliberate acts of false statements, omissions

                 and concealment and by Defendants’ acts of racketeering.

        355.    The RICO Defendants’ violations of 18 U.S.C. § 1962(c) and (d) have directly and

 proximately caused injuries and damages to Plaintiffs, and Plaintiffs are entitled to bring this action

 for three times their actual damages, as well as injunctive/equitable relief, costs, and reasonable

 attorneys’ fees pursuant to 18 U.S.C. § 1964(c). Each of the RICO Defendants knew, understood,

 and intended for Plaintiffs to acquire the Fraudulent Vehicles, and knew, understood, and foresaw

 that revelation of the truth would injure Plaintiff.

                                       STATE LAW CLAIMS

                                            OKLAHOMA

        356.    Plaintiffs Chandry Abney, Rodney Bailey, Candice Bailey, Frank Baker, Mark

 Banik, Darren Bartosovsky, Jeff Brandon, Kevin Burch, Brad Burris, Kimberly Clark, Scotty Cox,

 Mary Cox, Gary Coyle, Calvin Cureington, Adam Davidson, Marshall DeJear, Donavan Dudley,

 Denessa Dudley, Bruce Duncan, Monty Ervin, Chad Estes, Mike Estes, David Finch, Joseph

 Foster, Garyl Henderson, Gayle Henderson, Rocky Hinchey, Charlie Horning, Clark Hughes, Brad

 Humphries, Larry Jackson, Charles Jewell, Ted Johnson, Foothill Consulting, LLC, Duane Keeler,

 Tammy Keeler, Henry Killion, Cody Koch, Matt Ladd, Darlene Lehman, Chris Lemer, Todd

 Mankin, John Marsh, Charles McFall, Rick Meason, Lacey Meason, Billy Meier, Kona Meier,

 Timothy Melton, Forrest Mize, Robert Morrow, Heath Newland, Jim Olivas, Brian Pfeiff, Gary

 Richardson, Wilma Richardson, Brandon Ristau, Jan Schumann Russell, Billy Savoie, Richard



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 Shadduck, Robert Sharp, Clayton Simon, Harry Simpson, L. Elaine Simpson, Robert Specht,

 Frank Speed, Jay Standifer, Steve Stockton, Scott Taunton, Kevin Thacker, Landon Thacker, Erick

 Walker, Randall Ward, Melinda Ward, Daniel Weskamp, EJ Williams, Terry Wilson, Bonnie

 Wilson, Jerome Yeargain, Royce Zybach, and DeLois Zybach (collectively, the “Oklahoma

 Plaintiffs”) acquired their Fraudulent Vehicles while in the State of Oklahoma.

                   OKLAHOMA COUNT 1- FRAUD BY CONCEALMENT
                         (On behalf of the Oklahoma Plaintiffs)

        357.     The Oklahoma Plaintiffs incorporate by reference all paragraphs as though fully set

 forth herein.

        358.     GM committed fraud by installing and calibrating emission control devices in the

 Fraudulent Vehicles, which were unlawfully concealed from consumers.

        359.     GM concealed and suppressed material facts concerning the quality and

 characteristics of its vehicles and the emissions system in the Fraudulent Vehicles.

        360.     GM intentionally concealed that the NOx reduction system in the Fraudulent

 Vehicles turns off or is limited during normal driving conditions, that the Fraudulent Vehicles had

 defective emissions controls, emitted pollutants at a higher level than gasoline-powered vehicles,

 emitted pollutants higher than a reasonable consumer would expect in light of GM’s advertising

 campaign, and emitted high levels of pollutants such as NOx, or GM acted with reckless disregard

 for the truth and denied the Oklahoma Plaintiffs information that was highly relevant to their

 purchasing decision.

        361.     GM further affirmatively misrepresented to the Oklahoma Plaintiffs in advertising

 and other forms of communication, including standard and uniform material provided with each

 car and on its website, that the Fraudulent Vehicles it was selling had no significant defects, were

 Earth-friendly and low emission vehicles, and would perform and operate properly when driven


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 in normal usage. The Oklahoma Plaintiffs reasonably relied on GM’s material representations that

 the Fraudulent Vehicles they were purchasing were reduced emission vehicles, efficient, and free

 from defects.

        362.     GM knew these representations were false when made.

        363.     The Fraudulent Vehicles purchased or leased by the Oklahoma Plaintiffs were, in

 fact, defective, emitting pollutants at a much higher rate than gasoline-powered vehicles and at a

 much higher rate than a reasonable consumer would expect in light of GM’s advertising campaign,

 and unreliable because the NOx reduction system in the Fraudulent Vehicles turns off or is limited

 during normal driving conditions. A reasonable consumer would not have expected that the

 emission treatment technology in the Fraudulent Vehicles de-activated under real-world driving

 conditions or that the Fraudulent Vehicles would spew unmitigated pollution during normal

 operation.

        364.     As alleged in this Complaint, at all relevant times, GM has held out the Fraudulent

 Vehicles to be reduced emissions. GM disclosed certain details about the GM Clean Diesel engine,

 but nonetheless, GM intentionally failed to disclose the important facts that the NOx reduction

 system in the Fraudulent Vehicles turns off or is limited during normal driving conditions and that

 the Fraudulent Vehicles had defective emissions controls, deploy a “Defeat Device,” emitted

 higher levels of pollutants than expected by a reasonable consumer, and emitted high levels of

 pollutants, making other disclosures about the emission system deceptive.

        365.     GM had a duty to disclose that the NOx reduction system in the Fraudulent Vehicles

 turns off or is limited during normal driving conditions and that these Fraudulent Vehicles were

 defective, employed a “Defeat Device,” emitted pollutants at a much higher rate than gasoline-




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 powered vehicles, that the emissions far exceeded those expected by a reasonable consumer, and

 were unreliable.

        366.    GM had a duty to disclose the aforementioned facts because the truth about the

 defective emissions controls and GM’s manipulations of those controls, high emissions, and the

 “Defeat Device” was known only to GM; the Oklahoma Plaintiffs did not know of these facts and

 GM actively concealed these facts from the Oklahoma Plaintiffs. The Oklahoma Plaintiffs had no

 way of knowing that GM’s representations were false, misleading, or incomplete. As consumers,

 the Oklahoma Plaintiffs did not, and could not, unravel GM’s deception on their own. Rather, GM

 intended to deceive the Oklahoma Plaintiffs by concealing the true facts about the Fraudulent

 Vehicles.

        367.    GM also had a duty to disclose the aforementioned facts because it made general

 affirmative representations about the qualities of its vehicles with respect to emissions, starting

 with references to them as reduced emissions diesel cars which were misleading, deceptive, and

 incomplete without the disclosure of the additional facts set forth above regarding the actual

 emissions of its vehicles, its actual philosophy with respect to emissions, and its actual practices

 with respect to the vehicles at issue. GM made partial representations about the environmental

 friendliness, fuel economy, and performance of the Fraudulent Vehicles that were misleading

 without disclosure of the fact that the Fraudulent Vehicles contained hidden emission cheating

 components that caused the Fraudulent Vehicles to pollute excessively in real-world driving

 conditions. Having volunteered to provide information to the Oklahoma Plaintiffs, GM had the

 duty to disclose not just the partial truth, but the entire truth. These omitted and concealed facts

 were material because they directly impact the value of the Fraudulent Vehicles purchased or

 leased by the Oklahoma Plaintiffs. Whether a manufacturer’s products pollute and whether that



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 manufacturer tells the truth with respect to such pollution are material concerns to a consumer.

 GM represented to the Oklahoma Plaintiffs that they were purchasing or leasing reduced emission

 diesel vehicles, when in fact, they were purchasing or leasing defective, high emission vehicles.

        368.    GM further had a duty to disclose the emissions defect, defective design of the

 emissions controls, and violations with respect to the Fraudulent Vehicles because details of the

 true facts were known and/or accessible only to GM, because GM had exclusive knowledge as to

 such facts, and because GM knew these facts were not known to or reasonably discoverable by the

 Oklahoma Plaintiffs. GM employed an artifice or trick to conceal the true nature of the Fraudulent

 Vehicles because it used the Defeat Device to deceive consumers into believing that the Fraudulent

 Vehicles were low emissions vehicles. GM used the Defeat Device to conceal the defective nature

 of the Fraudulent Vehicles and their true characteristics. The Defeat Device prevented consumers

 from making further independent inquiry into the true nature of the vehicles because it made the

 Fraudulent Vehicles appear to be performing as represented when in fact they were not.

        369.    GM also concealed and suppressed material facts concerning what is evidently the

 true culture of GM—one characterized by an emphasis on profits and sales above the environment

 and reduced emissions. It also emphasized profits and sales above the trust that the Oklahoma

 Plaintiffs placed in its representations. Consumers buy diesel cars from GM because they feel they

 are clean diesel cars. They do not want to be spewing noxious gases into the environment. And

 yet, that is precisely what the Fraudulent Vehicles are doing.

        370.    GM’s false representations were material to consumers, because they concerned the

 quality of the Fraudulent Vehicles and also because the representations played a significant role in

 the value of the vehicles. As GM well knew, its customers, including the Oklahoma Plaintiffs




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 highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel

 cars with reduced emissions, and they paid accordingly.

        371.      GM actively concealed and/or suppressed these material facts, in whole or in part,

 to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

 vehicles, which perception would hurt the brand’s image and cost GM money, and it did so at the

 expense of the Oklahoma Plaintiffs.

        372.      When confronted about the defective nature of the Fraudulent Vehicles by

 consumers, GM denied the existence of the defect. GM has still not made full and adequate

 disclosures, and continues to defraud the Oklahoma Plaintiffs by concealing material information

 regarding the emissions qualities of its referenced vehicles

        373.      The Oklahoma Plaintiffs reasonably relied upon GM’s representations, omissions,

 and deception.

        374.      The Oklahoma Plaintiffs were unaware of the omitted material facts referenced

 herein, and they would not have acted as they did if they had known of the concealed and/or

 suppressed facts, in that they would not have acquired purportedly reduced emissions diesel cars

 manufactured by GM, and/or would not have continued to drive their heavily Fraudulent Vehicles,

 or would have taken other affirmative steps in light of the information concealed from them. The

 Oklahoma Plaintiffs’ actions were justified. GM was in exclusive control of the material facts, and

 such facts were not generally known to the public or the Oklahoma Plaintiffs.

        375.      Because of the concealment and/or suppression of the facts, the Oklahoma

 Plaintiffs have sustained damage because they acquired vehicles that are diminished in value as a

 result of GM’s concealment of the true quality and quantity of those vehicles’ emissions and GM’s

 failure to timely disclose the defect or defective design of the GM Clean Diesel engine system, the



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 actual emissions qualities and quantities of GM-branded vehicles, and the serious issues

 engendered by GM’s corporate policies. Had the Oklahoma Plaintiffs been aware of the true

 emissions facts with regard to the Fraudulent Vehicles, and the Company’s disregard for the truth,

 the Oklahoma Plaintiffs would have paid less for their vehicles or would not have acquired them

 at all.

           376.   The value of the Oklahoma Plaintiffs’ vehicles has diminished as a result of GM’s

 fraudulent concealment of the defective emissions controls of the Fraudulent Vehicles and of the

 high emissions of the Fraudulent Vehicles, all of which has greatly tarnished the GM brand name

 attached to the Oklahoma Plaintiffs’ vehicles and made any reasonable consumer reluctant to

 purchase any of the Fraudulent Vehicles, let alone pay what otherwise would have been fair market

 value for the vehicles.

           377.   Accordingly, GM is liable to the Oklahoma Plaintiffs for damages in an amount to

 be proven at trial.

           378.   Defendant is liable to the Oklahoma Plaintiffs for damages, including economic

 and non-economic damages (including, without limitation, damages for embarrassment,

 humiliation, inconvenience, mental anguish and emotional distress) in an amount to be proven at

 trial, for which the Oklahoma Plaintiffs sue Defendant. Defendant engaged in conduct that was

 or amounted to fraud, oppression, gross negligence, malice (actual or presumed), evil intent, and/or

 reckless and wanton disregard of another’s rights. Defendant’s conduct thus warrants the award

 of substantial exemplary damages in an amount to be determined at trial, for which the Oklahoma

 Plaintiffs sue Defendant.




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                           OKLAHOMA COUNT 2
          VIOLATION OF THE OKLAHOMA CONSUMER PROTECTION ACT
                      (OKLA. STAT. TIT. 15, § 751 ET SEQ.)

        379.    The Oklahoma Plaintiffs hereby incorporate by reference the allegations contained

 in the preceding paragraphs of this complaint.

        380.    The Oklahoma Consumer Protection Act (Oklahoma CPA) declares unlawful, inter

 alia, the following acts or practices when committed in the course of business: making a

 “misrepresentation, omission or other practice that has deceived or could reasonably be expected

 to deceive or mislead a person to the detriment of that person” and “any practice which offends

 established public policy or if the practice is immoral, unethical, oppressive, unscrupulous or

 substantially injurious to consumers.” OKLA. STAT. TIT. 15, §§ 752–753. Defendants’

 aforementioned conduct violated this statute.

        381.    The Oklahoma Plaintiffs are “persons” under OKLA. STAT. TIT. 15, § 752.

        382.    Each Defendant is a “person,” “corporation,” or “association” within the meaning

 of OKLA. STAT. TIT. 15, § 15-751(1).

        383.    The sale or lease of a Fraudulent Vehicle to each Plaintiff was a “consumer

 transaction” within the meaning of OKLA. STAT. TIT. 15, § 752 and each Defendants’ actions as

 set forth herein occurred in the conduct of trade or commerce.

        384.    Defendants’ acts were made knowingly, intentionally, and with malice. Defendants

 demonstrated a complete lack of care and were in reckless disregard for the rights of the Oklahoma

 Plaintiffs. The Oklahoma Plaintiffs are therefore entitled to an award of punitive damages to the

 extent permitted under applicable law.

        385.    Defendants’ conduct as alleged herein was unconscionable because (1) Defendants,

 knowingly or had reason to know, took advantage of consumers reasonably unable to protect their



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 interests because of their ignorance of GM’s fraudulent omissions and representations; (2) at the

 time the consumer transaction was entered into, Defendants knew or had reason to know that price

 the consumers were charged grossly exceeded the price at which they would have paid if they had

 known of the Defendants’ scheme, and (3) Defendant knew or had reason to know that the

 transaction Defendants induced the consumers to enter into was excessively one-sided in favor of

 each Defendant.

         386.    Because Defendants’ unconscionable conduct caused injury to the Oklahoma

 Plaintiffs, the Oklahoma Plaintiffs seek recovery of actual damages, discretionary penalties up to

 $2,000 per violation, and reasonable attorneys’ fees and costs, under OKLA. STAT. TIT. 15, §

 761.1. The Oklahoma Plaintiffs further seek any other just and proper relief available under the

 Oklahoma CPA.

                                         RHODE ISLAND

         387.    Plaintiffs Eric Morrow and David Sutton (collectively, the “Rhode Island

 Plaintiffs”) acquired their Fraudulent Vehicles while in the State of Rhode Island.

                     RHODE ISLAND COUNT 1- FRAUD BY CONCEALMENT
                            (On behalf of the Rhode Island Plaintiffs)

         388.    The Rhode Island Plaintiffs incorporate by reference all paragraphs as though fully

 set forth herein.

         389.    GM committed fraud by installing and calibrating emission control devices in the

 Fraudulent Vehicles, which were unlawfully concealed from consumers.

         390.    GM concealed and suppressed material facts concerning the quality and

 characteristics of its vehicles and the emissions system in the Fraudulent Vehicles.

         391.    GM intentionally concealed that the NOx reduction system in the Fraudulent

 Vehicles turns off or is limited during normal driving conditions, that the Fraudulent Vehicles had


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 defective emissions controls, emitted pollutants at a higher level than gasoline-powered vehicles,

 emitted pollutants higher than a reasonable consumer would expect in light of GM’s advertising

 campaign, and emitted high levels of pollutants such as NOx, or GM acted with reckless disregard

 for the truth and denied the Rhode Island Plaintiffs information that was highly relevant to their

 purchasing decision.

        392.    GM further affirmatively misrepresented to the Rhode Island Plaintiffs in

 advertising and other forms of communication, including standard and uniform material provided

 with each car and on its website, that the Fraudulent Vehicles it was selling had no significant

 defects, were Earth-friendly and low emission vehicles, and would perform and operate properly

 when driven in normal usage. The Rhode Island Plaintiffs reasonably relied on GM’s material

 representations that the Fraudulent Vehicles they were purchasing were reduced emission vehicles,

 efficient, and free from defects.

        393.    GM knew these representations were false when made.

        394.    The Fraudulent Vehicles purchased or leased by the Rhode Island Plaintiffs were,

 in fact, defective, emitting pollutants at a much higher rate than gasoline-powered vehicles and at

 a much higher rate than a reasonable consumer would expect in light of GM’s advertising

 campaign, and unreliable because the NOx reduction system in the Fraudulent Vehicles turns off

 or is limited during normal driving conditions. A reasonable consumer would not have expected

 that the emission treatment technology in the Fraudulent Vehicles de-activated under real-world

 driving conditions or that the Fraudulent Vehicles would spew unmitigated pollution during

 normal operation.

        395.    As alleged in this Complaint, at all relevant times, GM has held out the Fraudulent

 Vehicles to be reduced emissions. GM disclosed certain details about the GM Clean Diesel engine,



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 but nonetheless, GM intentionally failed to disclose the important facts that the NOx reduction

 system in the Fraudulent Vehicles turns off or is limited during normal driving conditions and that

 the Fraudulent Vehicles had defective emissions controls, deploy a “Defeat Device,” emitted

 higher levels of pollutants than expected by a reasonable consumer, and emitted high levels of

 pollutants, making other disclosures about the emission system deceptive.

        396.    GM had a duty to disclose that the NOx reduction system in the Fraudulent Vehicles

 turns off or is limited during normal driving conditions and that these Fraudulent Vehicles were

 defective, employed a “Defeat Device,” emitted pollutants at a much higher rate than gasoline-

 powered vehicles, that the emissions far exceeded those expected by a reasonable consumer, and

 were unreliable.

        397.    GM had a duty to disclose the aforementioned facts because the truth about the

 defective emissions controls and GM’s manipulations of those controls, high emissions, and the

 “Defeat Device” was known only to GM; the Rhode Island Plaintiffs did not know of these facts

 and GM actively concealed these facts from the Rhode Island Plaintiffs. The Rhode Island

 Plaintiffs had no way of knowing that GM’s representations were false, misleading, or incomplete.

 As consumers, the Rhode Island Plaintiffs did not, and could not, unravel GM’s deception on their

 own. Rather, GM intended to deceive the Rhode Island Plaintiffs by concealing the true facts about

 the Fraudulent Vehicles.

        398.    GM also had a duty to disclose the aforementioned facts because it made general

 affirmative representations about the qualities of its vehicles with respect to emissions, starting

 with references to them as reduced emissions diesel cars which were misleading, deceptive, and

 incomplete without the disclosure of the additional facts set forth above regarding the actual

 emissions of its vehicles, its actual philosophy with respect to emissions, and its actual practices



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 with respect to the vehicles at issue. GM made partial representations about the environmental

 friendliness, fuel economy, and performance of the Fraudulent Vehicles that were misleading

 without disclosure of the fact that the Fraudulent Vehicles contained hidden emission cheating

 components that caused the Fraudulent Vehicles to pollute excessively in real-world driving

 conditions. Having volunteered to provide information to the Rhode Island Plaintiffs, GM had the

 duty to disclose not just the partial truth, but the entire truth. These omitted and concealed facts

 were material because they directly impact the value of the Fraudulent Vehicles purchased or

 leased by the Rhode Island Plaintiffs. Whether a manufacturer’s products pollute and whether that

 manufacturer tells the truth with respect to such pollution are material concerns to a consumer.

 GM represented to the Rhode Island Plaintiffs that they were purchasing or leasing reduced

 emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

 vehicles.

        399.    GM further had a duty to disclose the emissions defect, defective design of the

 emissions controls, and violations with respect to the Fraudulent Vehicles because details of the

 true facts were known and/or accessible only to GM, because GM had exclusive knowledge as to

 such facts, and because GM knew these facts were not known to or reasonably discoverable by the

 Rhode Island Plaintiffs.    GM employed an artifice or trick to conceal the true nature of the

 Fraudulent Vehicles because it used the Defeat Device to deceive consumers into believing that

 the Fraudulent Vehicles were low emissions vehicles. GM used the Defeat Device to conceal the

 defective nature of the Fraudulent Vehicles and their true characteristics. The Defeat Device

 prevented consumers from making further independent inquiry into the true nature of the vehicles

 because it made the Fraudulent Vehicles appear to be performing as represented when in fact they

 were not.



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        400.    GM also concealed and suppressed material facts concerning what is evidently the

 true culture of GM—one characterized by an emphasis on profits and sales above the environment

 and reduced emissions. It also emphasized profits and sales above the trust that the Rhode Island

 Plaintiffs placed in its representations. Consumers buy diesel cars from GM because they feel they

 are clean diesel cars. They do not want to be spewing noxious gases into the environment. And

 yet, that is precisely what the Fraudulent Vehicles are doing.

        401.    GM’s false representations were material to consumers, because they concerned the

 quality of the Fraudulent Vehicles and also because the representations played a significant role in

 the value of the vehicles. As GM well knew, its customers, including the Rhode Island Plaintiffs

 highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel

 cars with reduced emissions, and they paid accordingly.

        402.    GM actively concealed and/or suppressed these material facts, in whole or in part,

 to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

 vehicles, which perception would hurt the brand’s image and cost GM money, and it did so at the

 expense of the Rhode Island Plaintiffs.

        403.    When confronted about the defective nature of the Fraudulent Vehicles by

 consumers, GM denied the existence of the defect. GM has still not made full and adequate

 disclosures, and continues to defraud the Rhode Island Plaintiffs by concealing material

 information regarding the emissions qualities of its referenced vehicles

        404.    The Rhode Island Plaintiffs reasonably relied upon GM’s representations,

 omissions, and deception.

        405.    The Rhode Island Plaintiffs were unaware of the omitted material facts referenced

 herein, and they would not have acted as they did if they had known of the concealed and/or



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 suppressed facts, in that they would not have acquired purportedly reduced emissions diesel cars

 manufactured by GM, and/or would not have continued to drive their heavily Fraudulent Vehicles,

 or would have taken other affirmative steps in light of the information concealed from them. The

 Rhode Island Plaintiffs’ actions were justified. GM was in exclusive control of the material facts,

 and such facts were not generally known to the public or the Rhode Island Plaintiffs.

           406.   Because of the concealment and/or suppression of the facts, the Rhode Island

 Plaintiffs have sustained damage because they acquired vehicles that are diminished in value as a

 result of GM’s concealment of the true quality and quantity of those vehicles’ emissions and GM’s

 failure to timely disclose the defect or defective design of the GM Clean Diesel engine system, the

 actual emissions qualities and quantities of GM-branded vehicles, and the serious issues

 engendered by GM’s corporate policies. Had the Rhode Island Plaintiffs been aware of the true

 emissions facts with regard to the Fraudulent Vehicles, and the Company’s disregard for the truth,

 the Rhode Island Plaintiffs would have paid less for their vehicles or would not have acquired them

 at all.

           407.   The value of the Rhode Island Plaintiffs’ vehicles has diminished as a result of

 GM’s fraudulent concealment of the defective emissions controls of the Fraudulent Vehicles and

 of the high emissions of the Fraudulent Vehicles, all of which has greatly tarnished the GM brand

 name attached to the Rhode Island Plaintiffs’ vehicles and made any reasonable consumer reluctant

 to purchase any of the Fraudulent Vehicles, let alone pay what otherwise would have been fair

 market value for the vehicles.

           408.   Accordingly, GM is liable to the Rhode Island Plaintiffs for damages in an amount

 to be proven at trial.




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         409.    The Rhode Island Plaintiffs hereby sue Defendant for damages, including economic

 and non-economic damages (including, without limitation, damages for embarrassment,

 humiliation, inconvenience, mental anguish and emotional distress) in an amount to be proven at

 trial. Defendant engaged in willful, wanton and malicious misconduct. Defendant’s conduct thus

 warrants substantial punitive damages in an amount to be determined at trial, which the Rhode

 Island Plaintiffs hereby sue for.

                         RHODE ISLAND COUNT 2
         VIOLATION OF THE RHODE ISLAND UNFAIR TRADE PRACTICES
        AND CONSUMER PROTECTION ACT (R.I. GEN. LAWS § 6-13.1 ET SEQ.)

         410.    The Rhode Island Plaintiffs hereby incorporate by reference the allegations

 contained in the preceding paragraphs of this complaint.

         411.    Rhode Island’s Unfair Trade Practices and Consumer Protection Act (Rhode Island

 CPA) prohibits “unfair or deceptive acts or practices in the conduct of any trade or commerce,”

 including “[e]ngaging in any act or practice that is unfair or deceptive to the consumer” and

 “[u]sing any other methods, acts or practices which mislead or deceive members of the public in a

 material respect.” R.I. GEN. LAWS § 6-13.1-1(6). Defendants’ aforementioned conduct violated

 this statute.

         412.    Defendants and the Rhode Island Plaintiffs are “persons” within the meaning of

 R.I. GEN. LAWS § 6-13.1-1(3).

         413.    Defendants were engaged in “trade” and “commerce” within the meaning of R.I.

 GEN. LAWS § 6-13.1-1(5).

         414.    The Rhode Island Plaintiffs purchased or leased Fraudulent Vehicles primarily for

 personal, family, or household purposes within the meaning of R.I. GEN. LAWS § 6- 13.1-5.2(a).




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         415.    Pursuant to R.I. Gen. Laws § 6-13.1-5.2(a), the Rhode Island Plaintiffs hereby sue

 Defendants to recover their actual damages plus attorneys’ fees and costs plus any other just and

 proper relief under Rhode Island DTPA. The Rhode Island Plaintiffs also sue for punitive damages

 because Defendants engaged in conduct amounting to a particularly aggravated, deliberate

 disregard of the rights of others.

                                       SOUTH CAROLINA

         416.    Plaintiffs David Akins, Mike Bell, Chris Brock, Preston Burnett, Denny Conley,

 Cody Walters, Janelle Couch, Josh Rex, Alexander Curlington, John Evans, Roy Floyd, Terry

 Garvin, Kyle Hamilton, Kendra Hammons, Samuel Harrelson, Dean Hensley, Craig Kaplenski,

 Barry Kimmons, Janna Kimmons, Greg Leviner, Mark Mack, Tom McCombs, Jason McKay,

 David Milliken, and Tonya Nesbitt (collectively, the “South Carolina Plaintiffs”) acquired their

 Fraudulent Vehicles while in the State of South Carolina.

                SOUTH CAROLINA COUNT 1- FRAUD BY CONCEALMENT
                       (On behalf of the South Carolina Plaintiffs)

         417.    The South Carolina Plaintiffs incorporate by reference all paragraphs as though

 fully set forth herein.

         418.    GM committed fraud by installing and calibrating emission control devices in the

 Fraudulent Vehicles, which were unlawfully concealed from consumers.

         419.    GM concealed and suppressed material facts concerning the quality and

 characteristics of its vehicles and the emissions system in the Fraudulent Vehicles.

         420.    GM intentionally concealed that the NOx reduction system in the Fraudulent

 Vehicles turns off or is limited during normal driving conditions, that the Fraudulent Vehicles had

 defective emissions controls, emitted pollutants at a higher level than gasoline-powered vehicles,

 emitted pollutants higher than a reasonable consumer would expect in light of GM’s advertising


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 campaign, and emitted high levels of pollutants such as NOx, or GM acted with reckless disregard

 for the truth and denied the South Carolina Plaintiffs information that was highly relevant to their

 purchasing decision.

        421.    GM further affirmatively misrepresented to the South Carolina Plaintiffs in

 advertising and other forms of communication, including standard and uniform material provided

 with each car and on its website, that the Fraudulent Vehicles it was selling had no significant

 defects, were Earth-friendly and low emission vehicles, and would perform and operate properly

 when driven in normal usage. The South Carolina Plaintiffs reasonably relied on GM’s material

 representations that the Fraudulent Vehicles they were purchasing were reduced emission vehicles,

 efficient, and free from defects.

        422.    GM knew these representations were false when made.

        423.    The Fraudulent Vehicles purchased or leased by the South Carolina Plaintiffs were,

 in fact, defective, emitting pollutants at a much higher rate than gasoline-powered vehicles and at

 a much higher rate than a reasonable consumer would expect in light of GM’s advertising

 campaign, and unreliable because the NOx reduction system in the Fraudulent Vehicles turns off

 or is limited during normal driving conditions. A reasonable consumer would not have expected

 that the emission treatment technology in the Fraudulent Vehicles de-activated under real-world

 driving conditions or that the Fraudulent Vehicles would spew unmitigated pollution during

 normal operation.

        424.    As alleged in this Complaint, at all relevant times, GM has held out the Fraudulent

 Vehicles to be reduced emissions. GM disclosed certain details about the GM Clean Diesel engine,

 but nonetheless, GM intentionally failed to disclose the important facts that the NOx reduction

 system in the Fraudulent Vehicles turns off or is limited during normal driving conditions and that



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 the Fraudulent Vehicles had defective emissions controls, deploy a “Defeat Device,” emitted

 higher levels of pollutants than expected by a reasonable consumer, and emitted high levels of

 pollutants, making other disclosures about the emission system deceptive.

        425.    GM had a duty to disclose that the NOx reduction system in the Fraudulent Vehicles

 turns off or is limited during normal driving conditions and that these Fraudulent Vehicles were

 defective, employed a “Defeat Device,” emitted pollutants at a much higher rate than gasoline-

 powered vehicles, that the emissions far exceeded those expected by a reasonable consumer, and

 were unreliable.

        426.    GM had a duty to disclose the aforementioned facts because the truth about the

 defective emissions controls and GM’s manipulations of those controls, high emissions, and the

 “Defeat Device” was known only to GM; the South Carolina Plaintiffs did not know of these facts

 and GM actively concealed these facts from the South Carolina Plaintiffs. The South Carolina

 Plaintiffs had no way of knowing that GM’s representations were false, misleading, or incomplete.

 As consumers, the South Carolina Plaintiffs did not, and could not, unravel GM’s deception on

 their own. Rather, GM intended to deceive the South Carolina Plaintiffs by concealing the true

 facts about the Fraudulent Vehicles.

        427.    GM also had a duty to disclose the aforementioned facts because it made general

 affirmative representations about the qualities of its vehicles with respect to emissions, starting

 with references to them as reduced emissions diesel cars which were misleading, deceptive, and

 incomplete without the disclosure of the additional facts set forth above regarding the actual

 emissions of its vehicles, its actual philosophy with respect to emissions, and its actual practices

 with respect to the vehicles at issue. GM made partial representations about the environmental

 friendliness, fuel economy, and performance of the Fraudulent Vehicles that were misleading



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 without disclosure of the fact that the Fraudulent Vehicles contained hidden emission cheating

 components that caused the Fraudulent Vehicles to pollute excessively in real-world driving

 conditions. Having volunteered to provide information to the South Carolina Plaintiffs, GM had

 the duty to disclose not just the partial truth, but the entire truth. These omitted and concealed facts

 were material because they directly impact the value of the Fraudulent Vehicles purchased or

 leased by the South Carolina Plaintiffs. Whether a manufacturer’s products pollute and whether

 that manufacturer tells the truth with respect to such pollution are material concerns to a consumer.

 GM represented to the South Carolina Plaintiffs that they were purchasing or leasing reduced

 emission diesel vehicles, when in fact, they were purchasing or leasing defective, high emission

 vehicles.

         428.    GM further had a duty to disclose the emissions defect, defective design of the

 emissions controls, and violations with respect to the Fraudulent Vehicles because details of the

 true facts were known and/or accessible only to GM, because GM had exclusive knowledge as to

 such facts, and because GM knew these facts were not known to or reasonably discoverable by the

 South Carolina Plaintiffs.    GM employed an artifice or trick to conceal the true nature of the

 Fraudulent Vehicles because it used the Defeat Device to deceive consumers into believing that

 the Fraudulent Vehicles were low emissions vehicles. GM used the Defeat Device to conceal the

 defective nature of the Fraudulent Vehicles and their true characteristics. The Defeat Device

 prevented consumers from making further independent inquiry into the true nature of the vehicles

 because it made the Fraudulent Vehicles appear to be performing as represented when in fact they

 were not.

         429.    GM also concealed and suppressed material facts concerning what is evidently the

 true culture of GM—one characterized by an emphasis on profits and sales above the environment



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 and reduced emissions. It also emphasized profits and sales above the trust that the South Carolina

 Plaintiffs placed in its representations. Consumers buy diesel cars from GM because they feel they

 are clean diesel cars. They do not want to be spewing noxious gases into the environment. And

 yet, that is precisely what the Fraudulent Vehicles are doing.

        430.    GM’s false representations were material to consumers, because they concerned the

 quality of the Fraudulent Vehicles and also because the representations played a significant role in

 the value of the vehicles. As GM well knew, its customers, including the South Carolina Plaintiffs

 highly valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel

 cars with reduced emissions, and they paid accordingly.

        431.    GM actively concealed and/or suppressed these material facts, in whole or in part,

 to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel

 vehicles, which perception would hurt the brand’s image and cost GM money, and it did so at the

 expense of the South Carolina Plaintiffs.

        432.    When confronted about the defective nature of the Fraudulent Vehicles by

 consumers, GM denied the existence of the defect. GM has still not made full and adequate

 disclosures, and continues to defraud the South Carolina Plaintiffs by concealing material

 information regarding the emissions qualities of its referenced vehicles

        433.    The South Carolina Plaintiffs reasonably relied upon GM’s representations,

 omissions, and deception.

        434.    The South Carolina Plaintiffs were unaware of the omitted material facts referenced

 herein, and they would not have acted as they did if they had known of the concealed and/or

 suppressed facts, in that they would not have acquired purportedly reduced emissions diesel cars

 manufactured by GM, and/or would not have continued to drive their heavily Fraudulent Vehicles,



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 or would have taken other affirmative steps in light of the information concealed from them. The

 South Carolina Plaintiffs’ actions were justified. GM was in exclusive control of the material facts,

 and such facts were not generally known to the public or the South Carolina Plaintiffs.

         435.   Because of the concealment and/or suppression of the facts, the South Carolina

 Plaintiffs have sustained damage because they acquired vehicles that are diminished in value as a

 result of GM’s concealment of the true quality and quantity of those vehicles’ emissions and GM’s

 failure to timely disclose the defect or defective design of the GM Clean Diesel engine system, the

 actual emissions qualities and quantities of GM-branded vehicles, and the serious issues

 engendered by GM’s corporate policies. Had the South Carolina Plaintiffs been aware of the true

 emissions facts with regard to the Fraudulent Vehicles, and the Company’s disregard for the truth,

 the South Carolina Plaintiffs would have paid less for their vehicles or would not have acquired

 them at all.

         436.   The value of the South Carolina Plaintiffs’ vehicles has diminished as a result of

 GM’s fraudulent concealment of the defective emissions controls of the Fraudulent Vehicles and

 of the high emissions of the Fraudulent Vehicles, all of which has greatly tarnished the GM brand

 name attached to the South Carolina Plaintiffs’ vehicles and made any reasonable consumer

 reluctant to purchase any of the Fraudulent Vehicles, let alone pay what otherwise would have

 been fair market value for the vehicles.

         437.   Accordingly, GM is liable to the South Carolina Plaintiffs for damages in an

 amount to be proven at trial.

         438.   Defendant is liable to the South Carolina Plaintiffs for damages, including

 economic and non-economic damages (including, without limitation, damages for embarrassment,

 humiliation, inconvenience, mental anguish and emotional distress) in an amount to be proven at



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 trial, for which the South Carolina Plaintiffs sue Defendant. Defendant’s misconduct was willful,

 wanton, and in reckless disregard of the South Carolina Plaintiffs’ rights. Defendant’s conduct

 thus warrants the award of substantial punitive damages in an amount to be determined at trial, for

 which the South Carolina Plaintiffs sue Defendant.

                        SOUTH CAROLINA COUNT 2
     VIOLATION OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                     (S.C. CODE ANN. § 39-5-10 ET SEQ.)

        439.    The South Carolina Plaintiffs hereby incorporate by reference the allegations

 contained in the preceding paragraphs of this complaint.

        440.    The South Carolina Unfair Trade Practices Act (South Carolina UTPA) prohibits

 “unfair or deceptive acts or practices in the conduct of any trade or commerce.” S.C. CODE ANN.

 § 39-5-20(a). Defendants’ aforementioned conduct violated this statute.

        441.    Each Defendant is a “person” under S.C. CODE ANN. § 39-5-10. 622.

        442.    Pursuant to S.C. CODE ANN. § 39-5-140(a), the South Carolina Plaintiffs seek

 monetary relief to recover their economic losses. Because Defendants’ actions were willful and

 knowing, the South Carolina Plaintiffs’ damages should be trebled. The South Carolina Plaintiffs

 further seek attorneys’ fees and costs plus any other just and proper relief available under the South

 Carolina UTPA.

        443.    The South Carolina Plaintiffs further allege that Defendants’ malicious and

 deliberate conduct warrants an assessment of punitive damages because Defendants carried out

 despicable conduct with willful and conscious disregard of the rights of others. Defendants’

 unlawful conduct constitutes malice, oppression, and fraud warranting punitive damages.




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                                               TEXAS

        444.     Plaintiffs Joe Russell, Scott Saathoff, John Sackett, Justin Sain, and Carlos Sanchez

 (collectively, the “Plaintiffs”) acquired their Fraudulent Vehicles while in the State of Texas.

                        TEXAS COUNT 1- FRAUD BY CONCEALMENT
                              (On behalf of the Texas Plaintiffs)

        445.     The Texas Plaintiffs incorporate by reference all paragraphs as though fully set

 forth herein.

        446.     GM committed fraud by installing and calibrating emission control devices in the

 Fraudulent Vehicles, which were unlawfully concealed from consumers.

        447.     GM concealed and suppressed material facts concerning the quality and

 characteristics of its vehicles and the emissions system in the Fraudulent Vehicles.

        448.     GM intentionally concealed that the NOx reduction system in the Fraudulent

 Vehicles turns off or is limited during normal driving conditions, that the Fraudulent Vehicles had

 defective emissions controls, emitted pollutants at a higher level than gasoline-powered vehicles,

 emitted pollutants higher than a reasonable consumer would expect in light of GM’s advertising

 campaign, and emitted high levels of pollutants such as NOx, or GM acted with reckless disregard

 for the truth and denied the Texas Plaintiffs information that was highly relevant to their

 purchasing decision.

        449.     GM further affirmatively misrepresented to the Texas Plaintiffs in advertising and

 other forms of communication, including standard and uniform material provided with each car

 and on its website, that the Fraudulent Vehicles it was selling had no significant defects, were

 Earth-friendly and low emission vehicles, and would perform and operate properly when driven

 in normal usage. The Texas Plaintiffs reasonably relied on GM’s material representations that the




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 Fraudulent Vehicles they were purchasing were reduced emission vehicles, efficient, and free from

 defects.

        450.    GM knew these representations were false when made.

        451.    The Fraudulent Vehicles purchased or leased by the Texas Plaintiffs were, in fact,

 defective, emitting pollutants at a much higher rate than gasoline-powered vehicles and at a much

 higher rate than a reasonable consumer would expect in light of GM’s advertising campaign, and

 unreliable because the NOx reduction system in the Fraudulent Vehicles turns off or is limited

 during normal driving conditions. A reasonable consumer would not have expected that the

 emission treatment technology in the Fraudulent Vehicles de-activated under real-world driving

 conditions or that the Fraudulent Vehicles would spew unmitigated pollution during normal

 operation.

        452.    As alleged in this Complaint, at all relevant times, GM has held out the Fraudulent

 Vehicles to be reduced emissions. GM disclosed certain details about the GM Clean Diesel engine,

 but nonetheless, GM intentionally failed to disclose the important facts that the NOx reduction

 system in the Fraudulent Vehicles turns off or is limited during normal driving conditions and that

 the Fraudulent Vehicles had defective emissions controls, deploy a “Defeat Device,” emitted

 higher levels of pollutants than expected by a reasonable consumer, and emitted high levels of

 pollutants, making other disclosures about the emission system deceptive.

        453.    GM had a duty to disclose that the NOx reduction system in the Fraudulent Vehicles

 turns off or is limited during normal driving conditions and that these Fraudulent Vehicles were

 defective, employed a “Defeat Device,” emitted pollutants at a much higher rate than gasoline-

 powered vehicles, that the emissions far exceeded those expected by a reasonable consumer, and

 were unreliable.



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        454.    GM had a duty to disclose the aforementioned facts because the truth about the

 defective emissions controls and GM’s manipulations of those controls, high emissions, and the

 “Defeat Device” was known only to GM; the Texas Plaintiffs did not know of these facts and GM

 actively concealed these facts from the Texas Plaintiffs. The Texas Plaintiffs had no way of

 knowing that GM’s representations were false, misleading, or incomplete. As consumers, the

 Texas Plaintiffs did not, and could not, unravel GM’s deception on their own. Rather, GM intended

 to deceive the Texas Plaintiffs by concealing the true facts about the Fraudulent Vehicles.

        455.    GM also had a duty to disclose the aforementioned facts because it made general

 affirmative representations about the qualities of its vehicles with respect to emissions, starting

 with references to them as reduced emissions diesel cars which were misleading, deceptive, and

 incomplete without the disclosure of the additional facts set forth above regarding the actual

 emissions of its vehicles, its actual philosophy with respect to emissions, and its actual practices

 with respect to the vehicles at issue. GM made partial representations about the environmental

 friendliness, fuel economy, and performance of the Fraudulent Vehicles that were misleading

 without disclosure of the fact that the Fraudulent Vehicles contained hidden emission cheating

 components that caused the Fraudulent Vehicles to pollute excessively in real-world driving

 conditions. Having volunteered to provide information to the Texas Plaintiffs, GM had the duty to

 disclose not just the partial truth, but the entire truth. These omitted and concealed facts were

 material because they directly impact the value of the Fraudulent Vehicles purchased or leased by

 the Texas Plaintiffs. Whether a manufacturer’s products pollute and whether that manufacturer

 tells the truth with respect to such pollution are material concerns to a consumer. GM represented

 to the Texas Plaintiffs that they were purchasing or leasing reduced emission diesel vehicles, when

 in fact, they were purchasing or leasing defective, high emission vehicles.



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        456.    GM further had a duty to disclose the emissions defect, defective design of the

 emissions controls, and violations with respect to the Fraudulent Vehicles because details of the

 true facts were known and/or accessible only to GM, because GM had exclusive knowledge as to

 such facts, and because GM knew these facts were not known to or reasonably discoverable by the

 Plaintiffs. GM employed an artifice or trick to conceal the true nature of the Fraudulent Vehicles

 because it used the Defeat Device to deceive consumers into believing that the Fraudulent Vehicles

 were low emissions vehicles. GM used the Defeat Device to conceal the defective nature of the

 Fraudulent Vehicles and their true characteristics. The Defeat Device prevented consumers from

 making further independent inquiry into the true nature of the vehicles because it made the

 Fraudulent Vehicles appear to be performing as represented when in fact they were not.

        457.    GM also concealed and suppressed material facts concerning what is evidently the

 true culture of GM—one characterized by an emphasis on profits and sales above the environment

 and reduced emissions. It also emphasized profits and sales above the trust that the Texas Plaintiffs

 placed in its representations. Consumers buy diesel cars from GM because they feel they are clean

 diesel cars. They do not want to be spewing noxious gases into the environment. And yet, that is

 precisely what the Fraudulent Vehicles are doing.

        458.    GM’s false representations were material to consumers, because they concerned the

 quality of the Fraudulent Vehicles and also because the representations played a significant role in

 the value of the vehicles. As GM well knew, its customers, including the Texas Plaintiffs highly

 valued that the vehicles they were purchasing or leasing were fuel efficient, clean diesel cars with

 reduced emissions, and they paid accordingly.

        459.    GM actively concealed and/or suppressed these material facts, in whole or in part,

 to pad and protect its profits and to avoid the perception that its vehicles were not clean diesel



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 vehicles, which perception would hurt the brand’s image and cost GM money, and it did so at the

 expense of the Texas Plaintiffs.

        460.    When confronted about the defective nature of the Fraudulent Vehicles by

 consumers, GM denied the existence of the defect. GM has still not made full and adequate

 disclosures, and continues to defraud the Texas Plaintiffs by concealing material information

 regarding the emissions qualities of its referenced vehicles

        461.    The Texas Plaintiffs reasonably relied upon GM’s representations, omissions, and

 deception.

        462.    The Texas Plaintiffs were unaware of the omitted material facts referenced herein,

 and they would not have acted as they did if they had known of the concealed and/or suppressed

 facts, in that they would not have acquired purportedly reduced emissions diesel cars manufactured

 by GM, and/or would not have continued to drive their heavily Fraudulent Vehicles, or would have

 taken other affirmative steps in light of the information concealed from them. The Texas Plaintiffs’

 actions were justified. GM was in exclusive control of the material facts, and such facts were not

 generally known to the public or the Plaintiffs.

        463.    Because of the concealment and/or suppression of the facts, the Texas Plaintiffs

 have sustained damage because they acquired vehicles that are diminished in value as a result of

 GM’s concealment of the true quality and quantity of those vehicles’ emissions and GM’s failure

 to timely disclose the defect or defective design of the GM Clean Diesel engine system, the actual

 emissions qualities and quantities of GM-branded vehicles, and the serious issues engendered by

 GM’s corporate policies. Had the Texas Plaintiffs been aware of the true emissions facts with

 regard to the Fraudulent Vehicles, and the Company’s disregard for the truth, the Texas Plaintiffs

 would have paid less for their vehicles or would not have acquired them at all.



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         464.       The value of the Texas Plaintiffs’ vehicles has diminished as a result of GM’s

 fraudulent concealment of the defective emissions controls of the Fraudulent Vehicles and of the

 high emissions of the Fraudulent Vehicles, all of which has greatly tarnished the GM brand name

 attached to the Texas Plaintiffs’ vehicles and made any reasonable consumer reluctant to purchase

 any of the Fraudulent Vehicles, let alone pay what otherwise would have been fair market value

 for the vehicles.

         465.       Accordingly, GM is liable to the Texas Plaintiffs for damages in an amount to be

 proven at trial.

         466.       Defendant is liable to Texas Plaintiffs for actual damages, including economic and

 non-economic damages (including, without limitation, damages for embarrassment, humiliation,

 mental anguish and emotional distress) in an amount to be proven at trial, for which Texas

 Plaintiffs hereby sue Defendant. Texas Plaintiffs further seek to recover the full purchase price of

 the vehicle, or, alternatively the diminished value of the vehicle (the difference at the time of

 purchase between the value of the Vehicle as accepted and the value the Vehicle would have had

 if it had been as advertised, warranted or represented). Defendant, as set forth herein, is guilty of

 oppression, fraud, and malice, express or implied in the Deceptive Emissions Scheme, including

 the Cheat Device. Defendant’s conduct thus warrants the award of substantial punitive and

 exemplary damages in an amount to be determined at trial, for which Texas Plaintiffs hereby sue

 Defendant.

                          TEXAS COUNT 2
 VIOLATIONS OF THE TEXAS DECEPTIVE TRADE PRACTICES AND CONSUMER
         PROTECTION ACT (TEX. BUS. & COM. CODE § 17.4 ET SEQ.)

         467.       The Texas Plaintiffs incorporate by reference all paragraphs as though fully set

 forth herein.



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         468.   The Texas Plaintiffs are individuals with assets of less than $25 million (or are

 controlled by corporations or entities with less than $25 million in assets). See TEX. BUS. &

 COM. CODE § 17.41.

         469.   The Texas Deceptive Trade Practices-Consumer Protection Act (“Texas DTPA”)

 provides a private right of action to a consumer where the consumer suffers economic damage as

 the result of either (i) the use of false, misleading, or deceptive act or practice specifically

 enumerated in TEX. BUS. & COM. CODE § 17.46(b); or (ii) “an unconscionable action or course

 of action by any person.” TEX. BUS. & COM. CODE § 17.50(a)(2) & (3). The Texas DTPA

 declares several specific actions to be unlawful, including: “(5) Representing that goods or services

 have. sponsorship, approval, characteristics, ingredients, uses, benefits, or qualities that they do

 not have”; “(7) Representing that goods or services are of a particular standard, quality, or grade,

 or that goods are of a particular style or model, if they are of another”; and “(9) advertising goods

 or services with intent not to sell them as advertised.” An “unconscionable action or course of

 action” means “an act or practice which, to a consumer’s detriment, takes advantage of the lack of

 knowledge, ability, experience, or capacity of the consumer to a grossly unfair degree.” TEX.

 BUS. & COM. CODE § 17.45(5). As detailed herein, Defendants have engaged in an

 unconscionable action or course of action and thereby caused economic damages to the Texas

 Plaintiffs.

         470.   In the course of business, Defendants willfully failed to disclose and actively

 concealed the conduct discussed herein and otherwise engaged in activities with a tendency or

 capacity to deceive. Defendants also engaged in unlawful trade practices by employing deception,

 deceptive acts or practices, fraud, misrepresentations, or concealment, suppression, or omission of




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 any material fact with intent that others rely upon such concealment, suppression, or omission, in

 connection with the sale of Fraudulent Vehicles.

         471.   Defendants’ unfair or deceptive acts or practices were likely to and did in fact

 deceive reasonable consumers, including the Texas Plaintiffs, about the true performance of the

 Fraudulent Vehicles, the devaluing of the environmental impacts of its vehicles at GM, and the

 true value of the Fraudulent Vehicles.

         472.   Defendants intentionally and knowingly misrepresented material facts regarding

 the Fraudulent Vehicles with intent to mislead the Texas Plaintiffs.

         473.   Defendants knew or should have known that their conduct violated the Texas

 DTPA.

         474.   Defendants owed the Texas Plaintiffs a duty to disclose the true environmental

 impact, performance, fuel mileage, and reliability of the Fraudulent Vehicles, because Defendants:

                      a.     Possessed exclusive knowledge that they were selling and distributing

                             Fraudulent Vehicles throughout the United States that did not perform

                             as advertised;

                      b.     Intentionally concealed the foregoing from the Texas Plaintiffs;

                             and/or

                      c.     Made     incomplete       representations   about   the   environmental

                             friendliness, fuel mileage, towing capacity, and performance of the

                             Fraudulent Vehicles while purposefully withholding material facts

                             from the Plaintiffs that contradicted these representations.

         475.   Because Defendants fraudulently concealed the defective emissions treatment

 system, the value of the Fraudulent Vehicles has greatly diminished. In light of the stigma attached



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 to the Fraudulent Vehicles by Defendants’ conduct, they are now worth significantly less than they

 otherwise would be.

         476.       Defendants’ omissions and/or misrepresentations about the emissions treatment

 system of the Fraudulent Vehicles were material to the Texas Plaintiffs.

         477.       The Texas Plaintiffs suffered ascertainable loss caused by Defendants’

 misrepresentations and their concealment of and failure to disclose material information. The

 Texas Plaintiffs who purchased the Fraudulent Vehicles either would have paid less for their

 vehicles or would not have purchased or leased them at all but for Defendants’ violations of the

 Texas DTPA.

         478.       Defendants had an ongoing duty to all GM customers to refrain from unfair and

 deceptive practices under the Texas DTPA. All owners of Fraudulent Vehicles suffered

 ascertainable loss in the form of the diminished value of their vehicle as a result of Defendants’

 deceptive and unfair acts and practices made in the course of Defendants’ business.

         479.       Defendants’ violations present a continuing risk to the Texas Plaintiffs as well as

 to the general public. Defendants’ unlawful acts and practices complained of herein affect the

 public interest.

         480.       As a direct and proximate result of Defendants’ violations of the Texas DTPA, the

 Texas Plaintiffs have suffered injury-in-fact and/or actual damage.

         481.       The Texas Plaintiffs have sent a letter complying with TEX. BUS. & COM. CODE

 ANN. § 17.505 to Defendants.

         482.       Pursuant to Tex. Bus. & Com. Code § 17.50, The Texas Plaintiffs seek economic

 damages, additional damages for knowing and intentional violations of the Texas DTPA, mental




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 anguish damages, punitive damages, and attorneys’ fees, costs, and any other just and proper relief

 available under the Texas DTPA.

        483.    Alternatively, or additionally, pursuant to TEX. BUS. & COM. CODE §

 17.50(b)(3) & (4), the Texas Plaintiffs are also entitled to disgorgement or to rescission or to any

 other relief necessary to restore any money or property that was acquired from them based on

 violations of the Texas DTPA or which the Court deems proper.

                                    REQUEST FOR RELIEF

        A.      Restitution, including at the election of Plaintiffs, recovery of the purchase price

                of their Fraudulent Vehicles, or the overpayment or diminution in value of their

                Fraudulent Vehicles;

        B.      Damages, including punitive damages, costs, and disgorgement in an amount to

                be determined at trial;

        C.      An order requiring Defendants to pay both pre- and post-judgment interest on any

                amounts awarded;

        D.      An award of costs and attorneys’ fees; and

        E.      Such other or further relief as may be appropriate.




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 DATED: May 9, 2019.
                                    Respectfully submitted,


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